     Case: 23-10362     Document: 95-4    Page: 1   Date Filed: 04/11/2023




                           No. 23-10362
__________________________________________________________________
        IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


            ALLIANCE FOR HIPPOCRATIC MEDICINE, ET AL.,
                       Plaintiffs-Appellees,
                                 v.
            U.S. FOOD AND DRUG ADMINISTRATION, ET AL.,
                      Defendants-Appellants,
                                    and
                       DANCO LABORATORIES, LLC,
                         Intervenor-Appellant.


  On Appeal from the United States District Court for the Northern
               District of Texas, No. 2:22-cv-00223-Z


   APPENDIX OF EXHIBITS IN OPPOSITION TO AN EMERGENCY STAY
      PENDING APPEAL VOLUME 4 (ALLIANCE.APP. 250-348)


JULIE MARIE BLAKE                        ERIK C. BAPTIST
ALLIANCE DEFENDING FREEDOM               JOHN J. BURSCH
44180 Riverside Pkwy                     ERIN M. HAWLEY
Lansdowne, VA 20176                      MATTHEW S. BOWMAN
(571) 707-4655                           ALLIANCE DEFENDING FREEDOM
jblake@adflegal.org                      440 First Street NW, Suite 600
                                         Washington, DC 20001
                                         (202) 393-8690
                                         ebaptist@adflegal.org
                                         jbursch@adflegal.org
                                         ehawley@adflegal.org
                                         mbowman@adflegal.org
                      Counsel for Plaintiffs-Appellees
       Case: 23-10362     Document: 95-4    Page: 2   Date Filed: 04/11/2023




                             TABLE OF EXHIBITS

Description                                                         App. Page
                                                                    No.
                                    Volume 1
Declaration of Dr. Christina Francis,                               001-010
  ECF No. 1-8, Exhibit 7 to Complaint; MPI App. 191-200
Declaration of Dr. Ingrid Skop,                                     011-020
  ECF No. 1-9, Exhibit 8 to Complaint; MPI App. 211-218
Declaration of Dr. Nancy Wozniak,                                   021-028
  ECF No. 1-10, Exhibit 9 to Complaint; MPI App. 219-224
Declaration of Dr. Steven A. Foley,                                 029-034
  ECF No. 1-11, Exhibit 10 to Complaint; MPI App. 862-868
Defendants’ Opposition to Plaintiffs Motion for a Preliminary       035-086
Injunction, ECF No. 28
Declaration of Dr. Tyler Johnson,                                   087-093
  ECF No. 1-50, Exhibit 49 to Complaint; MPI App. 869-875
Declaration of Dr. Regina Frost-Clark,                              094-100
  ECF No. 1-51, Exhibit 50 to Complaint; MPI App. 876-881
Declaration of Dr. George Delgado,                                  101-106
  ECF No. 1-52, Exhibit 51 to Complaint; MPI App. 882-889
Declaration of Dr. Shaun Jester,                                    107-114
  ECF No. 1-53, Exhibit 52 to Complaint; MPI App. 882-889
                                    Volume 2
2000 Letter from Danco to FDA (Jan. 21, 2000),                      115-121
   ECF No. 121; MPI App. 908-914
FDA, Center for Drug Evaluation and Research, Summary Review        122-150
of Application Number: 020687Orig1s020 (March 29, 2016) (2016
Summary Review),
   ECF No. 1-33, Exhibit 32 to Complaint; MPI App. 624-652
2002 Citizen Petition of Am. Ass’n of Pro-Life Obstetricians &      Part 1
Gynecologists to U.S. Food & Drug Admin. (FDA) (Aug. 20, 2002),     151-174
   ECF No. 1-14, Exhibit 13 to Complaint; MPI App. 280-375
                                    Volume 3
2002 Citizen Petition of Am. Ass’n of Pro-Life Obstetricians &      Part 2
Gynecologists to U.S. Food & Drug Admin. (FDA) (Aug. 20, 2002),     175-246
   ECF No. 1-14, Exhibit 13 to Complaint; MPI App. 280-375
       Case: 23-10362    Document: 95-4    Page: 3   Date Filed: 04/11/2023




2021 FDA Letter to Am. Coll. of Obstetricians & Gynecologists and   247-249
Soc’y for Maternal-Fetal Med. about Mifepristone REMS (Apr. 12,
2021),
   ECF No. 1-40, Exhibit 39 to Complaint; MPI App. 713-715
                                   Volume 4
Declaration of Mario R. Dickerson,                                  250-256
  ECF No. 1-4, Exhibit 3 to Complaint; MPI App. 156-162
Declaration of Dr. Donna Harrison,                                  257-270
  ECF No. 1-5, Exhibit 4 to Complaint; MPI App. 163-176
Declaration of Dr. Jeffrey Barrows,                                 271-277
  ECF No. 1-6, Exhibit 5 to Complaint; MPI App. 177-183
Declaration of Dr. Quentin Van Meter,                               278-284
  ECF No. 1-7, Exhibit 6 to Complaint; MPI App. 184-190
Marrit Niinimaki et al., Immediate Complications After Medical  285-295
Compared With Surgical Termination of Pregnancy, 114 Obstetrics
& Gynecology 795 (2009),
  ECF No. 1-17, Exhibit 16 to Complaint; MPI App. 398-408
James Studnicki et al., A Longitudinal Cohort Study of Emergency    296-307
Room Utilization Following Mifepristone Chemical and Surgical
Abortions, 1999-2015, Health Servs. Rsch. & Managerial
Epidemiology, Nov. 9, 2021,
  ECF No. 1-18, Exhibit 1 to Complaint; MPI App. 409-420
Katherine A. Rafferty & Tessa Longbons, #AbortionChangesYou: A      308-320
Case Study to Understand the Communicative Tensions in
Women's Medication Abortion Narratives. 36 Health Commc’n
1485 (2021),
   ECF No. 1-21, Exhibit 20 to Complaint; MPI App. 434-446
New Drug, Antibiotic, and Biological Drug Product Regulations;      321-340
Accelerated Approval, 57 Fed. Reg. 58,942 (Dec. 11, 1992),
   ECF No. 1-23, Exhibit 22 to Complaint; MPI App.489-508
FDA Letter to Population Council re: NDA (Feb. 18, 2000),           341-348
  ECF No. 1-24, Exhibit 23 to Complaint; MPI App.509-516
       Case: 23-10362    Document: 95-4     Page: 4   Date Filed: 04/11/2023




                                    Volume 5
2003 Citizen Petitioners’ Response to Opposition Comments filed   349-379
by The Population Council, Inc. and Danco Laboratories, LLC (Oct.
10, 2003),
   ECF No. 1-27, Exhibit 26 to Complaint; MPI App. 530-560
Questions and Answers on FDA’s Adverse Event Reporting System        380-384
(FAERS), https://www.fda.gov/drugs/surveillance/questions-and-
answers-fdas-adverse-event-reporting-system-faers,
   ECF No. 1-45, Exhibit 44 to Complaint; MPI App. 770-774
Kathi A. Aultman et al., Deaths and Severe Adverse Events after      385-410
the use of Mifepristone as an Abortifacient from September 2000 to
February 2019, 26 Law & Medicine 3 (2021),
   ECF 1-46, Exhibit 45 to Complaint; MPI App. 775-800
Memorandum from FDA on Review of Supplemental Drug                   411
Applications Proposing Modifications to the Mifepristone REMS
Program (Dec. 23, 2022),
   ECF No. 121; MPI App. 890
Declaration of Dr. Donna Harrison,                                   412-428
   ECF No. 121; MPI App. 891-907
Hannah Levintova, The Abortion Pill’s Secret Money Men, Mother       429-438
Jones, March-April 2023,
   ECF No. 121; MPI App. 929-938
David C. Reardon & John M. Thorp, Pregnancy associated death in      439-455
record linkage studies relative to delivery, termination of
pregnancy, and natural losses: A systematic review with a
narrative synthesis and meta-analysis, 5 SAGE Open Medicine 1
(2017),
   ECF No. 121; MPI App. 939-955
2019 FDA Abbreviated New Drug Application (ANDA) Approval            456-462
Letter to GenBioPro, Inc. (Apr. 11, 2019),
   ECF No. 1-37, Exhibit 36 to Complaint; MPI App. 695
2019 FDA Supplemental Approval Letter to Danco Laboratories,         463-470
LLC (Apr. 11, 2019),
   ECF No. 1-38, Exhibit 37 to Complaint; MPI App. 702
    Case: 23-10362   Document: 95-4 Page: 5 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-4 Filed 11/18/22 Page 1 of 7 PageID 156




                  Exhibit 3
             Declaration of Mario 5Dickerson




                        Alliance.App. 250
     Case: 23-10362   Document: 95-4 Page: 6 Date Filed: 04/11/2023
 Case 2:22-cv-00223-Z Document 1-4 Filed 11/18/22 Page 2 of 7 PageID 157



               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                        AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC
MEDICINE, on behalf of itself, its members,
and their members, and their members’
patients; AMERICAN ASSOCIATION OF
PRO-LIFE OBSTETRICIANS AND
GYNECOLOGISTS, on behalf of itself, its
members, and their patients; AMERICAN         Case No. _____________
COLLEGE OF PEDIATRICIANS, on
behalf of itself, its members, and their
patients; CHRISTIAN MEDICAL &
DENTAL ASSOCIATIONS, on behalf of
itself, its members, and their patients;
SHAUN JESTER, D.O., on behalf of
himself and his patients; REGINA FROST-
CLARK, M.D., on behalf of herself and her
patients; TYLER JOHNSON, D.O., on
behalf of himself and his patients; and
GEORGE DELGADO, M.D., on behalf of
himself and his patients,
              Plaintiffs,

      v.

U.S. FOOD AND DRUG
ADMINISTRATION; ROBERT M.
CALIFF, M.D., in his official capacity as
Commissioner of Food and Drugs, U.S. Food
and Drug Administration; JANET
WOODCOCK, M.D., in her official capacity
as Principal Deputy Commissioner, U.S.
Food and Drug Administration PATRIZIA
CAVAZZONI, M.D., in her official capacity
as Director, Center for Drug Evaluation and
Research, U.S. Food and Drug
Administration; U.S. DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
XAVIER BECERRA, in his official capacity
as Secretary, U.S. Department of Health and
Human Services,
             Defendants.



                                      1
                            Alliance.App. 251
      Case: 23-10362   Document: 95-4 Page: 7 Date Filed: 04/11/2023
  Case 2:22-cv-00223-Z Document 1-4 Filed 11/18/22 Page 3 of 7 PageID 158



                  DECLARATION OF MARIO R. DICKERSON

      I, Mario R. Dickerson, a citizen of the United States and a resident of Willow

Grove, Pennsylvania, declare under penalty of perjury under 28 U.S.C. § 1746 that

the following is true and correct to the best of my knowledge.

   1. I am over eighteen years old and make this declaration on personal

      knowledge.

   2. I serve as the Executive Director of the Catholic Medical Association

      (“CMA”). Given my involvement in CMA, I am familiar with the

      organization’s history, the issues confronting it, and the views of the

      organization and its members concerning various emerging issues, including

      the deregulated use of mifepristone, or RU-486, to accomplish chemical

      abortions. I am also familiar with CMA members and their practices.

   3. CMA is the largest association of Catholic individuals in healthcare. CMA is a

      national, physician-led community that includes about 2700 physicians and

      healthcare professionals nationwide.

   4. CMA is a nonprofit organization incorporated in Virginia, and its registered

      agent is in Virginia.

   5. CMA’s mission is to inform, organize, and inspire its members, in steadfast

      fidelity to the teachings of the Catholic Church, to uphold the principles of the

      Catholic faith in the science and practice of medicine.

   6. CMA seeks to pursue its mission in conformity to Christ the Divine Physician.

      Its members are challenged to be a voice of truth spoken in charity, to show




                                          2
                              Alliance.App. 252
    Case: 23-10362   Document: 95-4 Page: 8 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-4 Filed 11/18/22 Page 4 of 7 PageID 159



   how Catholic teachings on the human person, human rights and the common

   good intersect with and improve the science and practice of medicine, and to

   defend the sacredness and dignity of human life at all stages.

7. CMA is a member of the Alliance for Hippocratic Medicine (AHM).

8. CMA is committed to taking a Catholic and Hippocratic approach to medicine.

9. Consistent with Catholic teaching, CMA and its members are morally and

   ethically opposed to all forms of abortion—chemical or surgical.

10. I have spoken with CMA members who have treated women harmed by

   chemical abortion drugs.

11. The FDA’s unauthorized approval of mifepristone (also known as “Mifeprex”

   and “RU-486”) and subsequent elimination of certain safeguards for the use of

   the dangerous chemical abortion drug regimen, including those found in the

   Risk Evaluation and Mitigation Strategy (REMS) for mifepristone, has led to

   an increasing risk that women and girls may suffer adverse events from

   chemical abortion.

12. The FDA has continued to eliminate safeguards such that the chemical

   abortion drugs can now be administered and dispensed with no in-person

   examination or oversight by a physician. This leaves physicians, including

   CMA members, to treat the complications that women and girls suffer due to

   the actions of the FDA and abortionists.




                                      3
                           Alliance.App. 253
    Case: 23-10362   Document: 95-4 Page: 9 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-4 Filed 11/18/22 Page 5 of 7 PageID 160



13. CMA’s member physicians include OB/GYNs and emergency department

   physicians who have treated women suffering complications from chemical

   abortion.

14. The FDA’s actions harm CMA and its member physicians who are called away

   from other patients to render emergency treatment to women and/or girls who

   present to emergency departments with symptoms, such as heavy bleeding and

   severe pain, and more serious complications, including hemorrhage and sepsis

   caused by chemical abortion drugs. This causes CMA’s member physicians

   much stress and grief, while impeding their ability to perform their practice of

   medicine in the manner that they desire.

15. Often, emergency department doctors do not have a prior relationship with

   these patients and lack access to the patient’s medical history. Sometimes

   these patients were underinformed about the effects of the chemical abortion

   drug regimen, they may not even know what drugs they consumed, or they are

   told to say they are suffering a miscarriage if there is a need for them to seek

   emergency help following a chemical abortion. This leaves doctors at increased

   risk of liability and could impact their ability to render the best care possible

   to the patient—all because of the FDA’s elimination of necessary safeguards.

16. Moreover, the FDA’s removal of necessary safeguards could force CMA

   members to treat women and girls who present to emergency departments

   following an elective chemical abortion requiring those doctors to complete an




                                       4
                           Alliance.App. 254
   Case: 23-10362    Document: 95-4 Page: 10 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-4 Filed 11/18/22 Page 6 of 7 PageID 161



   unfinished elective abortion—terminating the life of an unborn child—in

   violation of their conscience rights.

17. Since 2005, CMA has called upon the FDA to respond to citizens petitions

   calling for removal of RU-486 from the market in an urgent action. CMA

   renewed this resolution in 2015.

18. In 2016, CMA enacted a resolution that called for the FDA to require a central

   registry for all those having a chemical abortion, with mandatory reporting

   from every state and territory of complications and mortalities from chemical

   abortions; that the drug be administered only by a physician with surgical

   privileges at a hospital within 30 minutes of the facility where the drug is

   dispensed; that the dispensing physician be responsible for follow-up and

   handling of complications; and that the patient be informed that the process

   could be stopped without harm to her or the baby.

19. These resolutions are vital to ensure the safety of women and girls, and to

   protect doctors, including CMA members.

20. CMA has spent considerable time, effort and resources challenging the FDA’s

   actions—at the expense of other CMA priorities. For example, to implement

   these resolutions, committees have had to review them, it has taken time

   during General Assembly meetings to discuss them, which takes our members

   away from their other business, and it has taken time for our Executive

   Director and Board to review, taking them away from other priorities such as

   fundraising and membership recruitment and retention.




                                           5
                            Alliance.App. 255
   Case: 23-10362    Document: 95-4 Page: 11 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-4 Filed 11/18/22 Page 7 of 7 PageID 162



21. Due to inadequate adverse event reporting, the true rates of risks associated

   with chemical abortion drugs remain unknown and undercounted. This

   prevents CMA from providing the public, their members, and their members’

   patients with accurate statistics and complete information regarding the risks

   associated with the use of chemical abortion drugs.

22. CMA is a leading national voice on applying the principles of the Catholic faith

   to medicine. CMA creates and organizes educational resources and events;

   advocates for members, the Church, and the medical profession in public

   forums; and provides guidance for bishops and other national leaders on

   healthcare ethics and policy. The inability to share accurate information on the

   risks of chemical abortion frustrates and complicates CMA’s purpose to

   educate doctors, their patients, and the public about these dangers.


   Executed this November ____,
                           12 2022.




                                   By:
                                         Mario R. Dickerson




                                         6
                            Alliance.App. 256
    Case: 23-10362   Document: 95-4 Page: 12 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 1 of 14 PageID 163




                   Exhibit 4
             Declaration of 'UDonna Harrison




                         Alliance.App. 257
    Case: 23-10362   Document: 95-4 Page: 13 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 2 of 14 PageID 164




                         Alliance.App. 258
    Case: 23-10362   Document: 95-4 Page: 14 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 3 of 14 PageID 165




                         Alliance.App. 259
    Case: 23-10362   Document: 95-4 Page: 15 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 4 of 14 PageID 166




                         Alliance.App. 260
    Case: 23-10362   Document: 95-4 Page: 16 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 5 of 14 PageID 167




                         Alliance.App. 261
    Case: 23-10362   Document: 95-4 Page: 17 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 6 of 14 PageID 168




                         Alliance.App. 262
    Case: 23-10362   Document: 95-4 Page: 18 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 7 of 14 PageID 169




                         Alliance.App. 263
    Case: 23-10362   Document: 95-4 Page: 19 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 8 of 14 PageID 170




                         Alliance.App. 264
    Case: 23-10362   Document: 95-4 Page: 20 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 9 of 14 PageID 171




                         Alliance.App. 265
    Case: 23-10362    Document: 95-4 Page: 21 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 10 of 14 PageID 172




                         Alliance.App. 266
    Case: 23-10362    Document: 95-4 Page: 22 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 11 of 14 PageID 173




                         Alliance.App. 267
    Case: 23-10362    Document: 95-4 Page: 23 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 12 of 14 PageID 174




                         Alliance.App. 268
    Case: 23-10362    Document: 95-4 Page: 24 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 13 of 14 PageID 175




                         Alliance.App. 269
    Case: 23-10362    Document: 95-4 Page: 25 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-5 Filed 11/18/22 Page 14 of 14 PageID 176




                         Alliance.App. 270
   Case: 23-10362    Document: 95-4 Page: 26 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22 Page 1 of 7 PageID 177




                  Exhibit 5
            Declaration of 'UJeffrey Barrows




                        Alliance.App. 271
   Case: 23-10362    Document: 95-4 Page: 27 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22 Page 2 of 7 PageID 178




                        Alliance.App. 272
   Case: 23-10362    Document: 95-4 Page: 28 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22 Page 3 of 7 PageID 179




                        Alliance.App. 273
   Case: 23-10362    Document: 95-4 Page: 29 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22 Page 4 of 7 PageID 180




                        Alliance.App. 274
   Case: 23-10362    Document: 95-4 Page: 30 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22 Page 5 of 7 PageID 181




                        Alliance.App. 275
   Case: 23-10362    Document: 95-4 Page: 31 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22 Page 6 of 7 PageID 182




                        Alliance.App. 276
   Case: 23-10362    Document: 95-4 Page: 32 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-6 Filed 11/18/22 Page 7 of 7 PageID 183




                        Alliance.App. 277
   Case: 23-10362    Document: 95-4 Page: 33 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-7 Filed 11/18/22 Page 1 of 7 PageID 184




                  Exhibit 6
           Declaration of 'UQuentin Van Meter




                        Alliance.App. 278
   Case: 23-10362    Document: 95-4 Page: 34 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-7 Filed 11/18/22 Page 2 of 7 PageID 185




                        Alliance.App. 279
   Case: 23-10362    Document: 95-4 Page: 35 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-7 Filed 11/18/22 Page 3 of 7 PageID 186




                        Alliance.App. 280
   Case: 23-10362    Document: 95-4 Page: 36 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-7 Filed 11/18/22 Page 4 of 7 PageID 187




                        Alliance.App. 281
   Case: 23-10362    Document: 95-4 Page: 37 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-7 Filed 11/18/22 Page 5 of 7 PageID 188




                        Alliance.App. 282
   Case: 23-10362    Document: 95-4 Page: 38 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-7 Filed 11/18/22 Page 6 of 7 PageID 189




                        Alliance.App. 283
   Case: 23-10362    Document: 95-4 Page: 39 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-7 Filed 11/18/22 Page 7 of 7 PageID 190




                        Alliance.App. 284
    Case: 23-10362    Document: 95-4 Page: 40 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22 Page 1 of 11 PageID 398




                 Exhibit 16
  MaDrit Niinimäki et al., Immediate Complications
After Medical Compared With Surgical Termination of
 Pregnancy, 114 Obstetrics & Gynecology 795 (2009)




                         Alliance.App. 285
       Case: 23-10362  Document: 95-4 Page: 41 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22 Page 2 of 11 PageID 399




Immediate Complications After Medical
Compared With Surgical Termination of
Pregnancy
Maarit Niinimäki, MD, Anneli Pouta, MD, PhD, Aini Bloigu, Mika Gissler, BSc, PhD,
Elina Hemminki, MD, PhD, Satu Suhonen, MD, PhD, and Oskari Heikinheimo, MD, PhD

OBJECTIVE: To estimate the immediate adverse events                               were more common after medical abortion. The rate of
and safety of medical compared with surgical abortion                             surgical (re)evacuation was 5.9% after medical abortion
using high-quality registry data.                                                 and 1.8% after surgical abortion (P<.001). Although rare,
METHODS: All women in Finland undergoing induced                                  injuries requiring operative treatment or operative com-
abortion from 2000 –2006 with a gestational duration of                           plications occurred more often with surgical termination
63 days or less (nⴝ42,619) were followed up until 42 days                         of pregnancy (0.6% compared with 0.03%, P<.001). No
postabortion using national health registries. The inci-                          differences were noted in the incidence of infections
dence and risk factors of adverse events after medical                            (1.7% compared with 1.7%, Pⴝ.85), thromboembolic
(nⴝ22,368) and surgical (nⴝ20,251) abortion were com-                             disease, psychiatric morbidity, or death.
pared. Univariable and multivariable association models                           CONCLUSION: Both methods of abortion are generally
were used to analyze the risk of the three main compli-                           safe, but medical termination is associated with a higher
cations (hemorrhage, infection, and incomplete abortion)                          incidence of adverse events. These observations are
and surgical (re)evacuation.                                                      relevant when counseling women seeking early abortion.
                                                                                  (Obstet Gynecol 2009;114:795–804)
RESULTS: The overall incidence of adverse events was
fourfold higher in the medical compared with surgical                             LEVEL OF EVIDENCE: II
abortion cohort (20.0% compared with 5.6%, P<.001).
Hemorrhage (15.6% compared with 2.1%, P<.001) and
incomplete abortion (6.7% compared with 1.6%, P<.001)
                                                                                  T   ermination of pregnancy is one of the most com-
                                                                                      mon gynecologic procedures. For instance, in the
                                                                                  United States, nearly half of pregnancies are unin-
From the Department of Obstetrics and Gynecology, Oulu University Hospital,       tended,1 and 22% of all pregnancies (excluding mis-
the Graduate School of Circumpolar Wellbeing, Health and Adaptation, and the
National Institute for Health and Welfare, Oulu, Finland; and the National        carriages) end in termination.2 Abortion practices
Institute for Health and Welfare and the Nordic School of Public Health, the      have changed dramatically in recent years since the
Department of Obstetrics and Gynecology, Helsinki University Central Hospital,    medical method with antiprogestin mifepristone and
Helsinki, Finland.
                                                                                  prostaglandins was introduced. For example, in 2007
Funded by Helsinki University Central Hospital (Drs. Suhonen and Heikin-
heimo), University Hospital of Oulu (Dr. Niinimäki), and The Finnish
                                                                                  in Finland 64%,3 in Sweden 61%,4 and in the United
Cultural Foundation (Dr. Niinimäki).                                             Kingdom 35%5 of all abortions were performed using
The authors thank Matti Kesti for his help with computation.                      the medical method. Thus, the safety of induced
Corresponding author: Dr. Oskari Heikinheimo, Dept Ob&Gyn, Helsinki               abortion in general, especially that of the medical
University Central Hospital, P.O. Box 140, 00029-HUS, Helsinki, Finland;          method, is of great public health interest.
e-mail: oskari.heikinheimo@helsinki.fi.                                                Most previous studies focused on the short-term
Financial Disclosure                                                              complications of induced abortion have been small or
Dr. Suhonen has lectured at meetings organized by Schering Plough (Helsinki,
Finland). Dr. Heikinheimo has been a paid consultant and lecturer for Bayer
                                                                                  have not involved comparison of the two dominant
Schering Pharma AG (Berlin, Germany) and for Schering-Plough (Helsinki,           methods of abortion (medical and surgical). In a large,
Finland). He also belongs to both the international and Finnish advisory boards   register-based study, 5% of the patients had a compli-
for Bayer Schering Pharma. The other authors did not disclose any potential
conflicts of interest.
                                                                                  cation (bleeding, infection, or (re)evacuation) after
© 2009 by The American College of Obstetricians and Gynecologists. Published
                                                                                  surgical abortion during a short-term follow-up period
by Lippincott Williams & Wilkins.                                                 of 2 weeks.6 In a previous meta-analysis in which
ISSN: 0029-7844/09                                                                medical and surgical termination of pregnancy in the


VOL. 114, NO. 4, OCTOBER 2009                                                                         OBSTETRICS & GYNECOLOGY          795


                                                           Alliance.App. 286                                           EX. 16 pg. 01
       Case: 23-10362  Document: 95-4 Page: 42 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22 Page 3 of 11 PageID 400
first trimester were compared, no differences in pelvic           All women who underwent induced abortion by
infection or ongoing pregnancies were noted between          either medical or surgical methods at a gestational age of
the methods. Evidence of different rates of other            63 days or less were included. The duration of gestation
potential side effects or complications between the          was limited to 63 days because, during the study
two abortion techniques could not be confirmed               period of 2000 –2006, medical abortions, for the most
because the trials included were small.7                     part, were performed only up to that time.14 The time
      Only a few randomized controlled trials have           of follow-up after abortion was 42 days (6 weeks).
been performed to compare success rates and com-             Medical abortion was defined as the use of mifepris-
plications between medical and surgical abortion.8 –10       tone alone or in combination with misoprostol or
In a previous, partly randomized study, no difference        other prostaglandins. Surgical abortion included in-
in the number of complications was noted. Although           duced abortions with dilation and curettage or vac-
the rate of complete abortion was significantly higher       uum aspiration. The participants were divided into
in the surgical group (98% compared with 94%), the           two arms of the study according to the primary
surgically treated women had a higher incidence of           abortion method. For women having more than one
antibiotic treatment than did those undergoing med-          abortion, only the first termination of pregnancy
ical abortion.8 In another randomized controlled trial,      during the study period was included.
complete abortion without a second procedure oc-                  The study was based on three national registries:
curred in 98% of cases after surgical abortion and in        the Abortion Registry,3 the Care Registry for Health
95% after medical abortion. Moreover, no differences         Institutions (later renamed the Hospital Registry)15
in the rates of major complications were observed.11         complied by the National Institute for Health and
      The purpose of the present study was to compare        Welfare, and the Cause-of-Death Registry of Statistics
medical and surgical abortion in regard to the inci-         Finland.16 The study participants were selected from
dence and risk factors of immediate (ie, within 42           the Abortion Registry as described in our previous
days after termination of pregnancy) adverse events          study,12 after which the other registries were linked
and complications in a large nationwide cohort. A            with the cohort.
nationwide cohort with high-quality data derived                  We linked information on the study participants
from national health registries offers the possibility to    in the Hospital Registry concerning all hospital-inpa-
estimate extensively the risk of adverse events associ-      tient episodes (all hospitals) and outpatient visits
ated with the two methods of early termination of            (public hospitals) within 42 days after termination of
pregnancy. Using this same cohort, we recently re-           pregnancy to analyze complications related to induced
ported that the risk of repeat abortion after medical        abortion. All of the diagnoses (based on the Interna-
compared with surgical termination of pregnancy              tional Classification of Diseases [ICD]-10, International
depends on various sociodemographic factors but not          Statistical Classification of Diseases and Related Health
on the method of abortion.12                                 Problems17) and codes for surgical procedures (based on
                                                             the Nordic Classification of Surgical Procedures18) found
MATERIALS AND METHODS                                        in the cohort were evaluated to select those considered
This was a cohort study including all women under-           to be of clinical importance.
going termination of pregnancy in Finland between                 Complications were divided into seven catego-
January 1, 2000, and December 31, 2006. According            ries: 1) hemorrhage (all reported hemorrhages), 2)
to the current law on induced abortions, women need          postabortal infections (pelvic inflammatory disease,
permission with legal indication for termination of          endometritis, cervicitis, wound infections, pyrexia of
pregnancy, but the legislation is interpreted liberally.     unknown origin, urinary tract infections, and septice-
The Finnish legislation on induced abortion13 was            mia), 3) incomplete abortion (surgical [re]evacuation,
summarized in our recent study.12                            any reported incomplete abortion), 4) injuries or
     The present study was conducted after receiving         other reasons for surgical operation (all injuries, cer-
approval from the ethics committee of the Northern           vical laceration, uterine perforation, all surgical inter-
Ostrobothnia Hospital District. The Ministry of Social       ventions during the time of follow-up), 5) thrombo-
Affairs and Health and Statistics Finland gave their         embolic disease (pulmonary embolism, deep vein
permission to use the confidential personal-level data       thrombosis), 6) psychiatric morbidity (depression, in-
from the registries. The Data Protection Ombudsman           toxication, psychoses) and 7) death (death from any
was notified regarding the data linkage before the           cause, pregnancy-related death according to the
analyses as required by the national data-protection         World Health Organization definition). The classifi-
legislation.                                                 cation was based on that reported in the Joint Study of


796   Niinimäki et al   Complications After Medical and Surgical Abortion            OBSTETRICS & GYNECOLOGY


                                           Alliance.App. 287                                      EX. 16 pg. 02
       Case: 23-10362  Document: 95-4 Page: 43 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22 Page 4 of 11 PageID 401
the Royal College of General Practitioners and the            homicide (n⫽1), subarachnoid hemorrhage (n⫽1),
Royal College of Obstetricians and Gynaecologists19           and traffic accident (n⫽1).
and modified for the present study.                                When comparing the numbers of women with
     The Cause-of-Death Register kept by Statistics           adverse events or complications, the difference be-
Finland contains data from death certificates and             tween the two groups was notable: 20% of women in
includes all deaths of Finnish citizens and permanent         the medical-abortion group and 5.6% of women in the
residents in Finland classified according to ICD-10           surgical-abortion group had at least one type of
codes.20 All of the early deaths (within 42 days of           adverse event. When looking at the number of com-
termination of pregnancy) were classified as direct,          plications per patient, there were fewer multiple com-
indirect, or unrelated. This classification was based on      plications after surgical abortion (Table 2).
that in an earlier study by Deneux-Tharaux et al.21                We also analyzed the three most common com-
                                                              plications in relation to the duration of gestation (Fig.
     Differences between the groups were assessed
                                                              1). In the medical-abortion cohort, the proportion of
using Student’s t-test for continuous variables and the
                                                              women with hemorrhage decreased with advancing
␹2 test for categorical variables. Logistic regression
                                                              duration of gestation; with surgical abortion it in-
analyses were performed to adjust for the differences
                                                              creased, albeit not significantly. In both groups, the
in background characteristics in the comparisons of           incidence of infection and incomplete abortion in-
medical and surgical abortions. Furthermore, logistic         creased with advancing duration of gestation.
regression was used to identify risk factors for com-              Univariable and multivariable analyses were per-
plications. Variables that showed statistically signifi-      formed concerning the risk factors for three major
cant associations with complications in univariable           classes of complications (hemorrhage, infection, and
analysis were further entered in multivariable analy-         incomplete abortion) and for surgical (re)evacuation,
sis. The estimated risks are presented as odds ratios         separately for the medical and surgical abortion co-
with 95% confidence intervals. The statistical analyses       horts (Table 3), and for the whole cohort combined
were performed by using SPSS 16.0 for Windows                 (Fig. 2). In multivariable analysis, the risk of hemor-
(SPSS Inc., Chicago, IL).                                     rhage after medical abortion was increased in the age
                                                              group of 20 –24 years, among parous women, among
RESULTS                                                       those of lower socioeconomic status, and among those
                                                              living in densely populated or rural areas. The risk
The total number of women in the cohort was
                                                              decreased with advancing duration of gestation. After
42,619. Of these, 22,368 had primary medical and
                                                              surgical termination of pregnancy, an increased risk of
20,251 primary surgical termination of pregnancy.
                                                              hemorrhage was seen in the age groups of 20 –24,
The characteristics of the women in the cohort are
                                                              25–29, 30 –34, and 35–39 years when compared with
presented in Table 1. The women in the medical-               women younger than 20 years. A rural type of residence
abortion cohort were somewhat younger and more                was associated with a decreased risk of hemorrhage.
often primigravid, nulliparous, and single. The                    Multivariable analysis revealed an increased risk
most notable difference between the groups was the            of infection after medical abortion in the age group of
shorter duration of gestation in the cohort under-            20 –24 years and with advanced duration of gestation
going medical abortion; surgical abortions in Fin-            of 50 –56 and 57– 63 days. After surgical abortion, an
land usually are performed after the 6th week of              increased risk of infection was found in the age group of
gestation.                                                    20 –24 years, with increasing duration of gestation, and
     The incidence of various adverse events and              among women of lower socioeconomic class. A de-
complications is shown in Table 2. The most common            creased risk of infection was associated with parity and
adverse events were hemorrhage and incomplete                 with women living in densely populated or rural areas.
abortion, both of which were more common in the                    The risk factors associated with incomplete medical
medical group. The incidence of infection did not             abortion were age of 20 –24 years, parity, previous
differ between the groups. Injuries requiring opera-          abortion, being single, living in a densely populated or
tion were rare but were more common in the surgical           rural area, and advanced duration of gestation. The risk
group. No differences between the two groups were             of experiencing incomplete surgical abortion was as-
noted in the incidence of thromboembolic disease,             sociated with previous abortion, cohabiting or being
psychiatric morbidity, or death, partly because the           single, and with a duration of gestation of 57– 63 days.
overall incidence of these events was low. All of the              In multivariable analysis, the risk of bleeding was
deaths were unrelated to pregnancy: suicide (n⫽3),            almost eightfold higher, the risk of incomplete abor-


VOL. 114, NO. 4, OCTOBER 2009              Niinimäki et al    Complications After Medical and Surgical Abortion   797


                                          Alliance.App. 288                                        EX. 16 pg. 03
       Case: 23-10362  Document: 95-4 Page: 44 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22 Page 5 of 11 PageID 402
Table 1. Characteristics of the Participants Included in the Study
                                             Medical Abortion (nⴝ22,368)         Surgical Abortion (nⴝ20,251)              P
Age (y)
   Median (mean)                                       25.0 (26.3)                          26.0 (27.3)                   ⬍.001
   95% confidence interval                            26.2–26.4                            27.2–27.4
Age category (y)
   Younger than 20                                    5,058 (22.6)                         4,352 (21.5)                   ⬍.001
   20–24                                              5,665 (25.3)                         4,337 (21.4)
   25–29                                              4,098 (18.3)                         3,442 (17.0)
   30–34                                              3,406 (15.2)                         3,393 (16.8)
   35–39                                              2,934 (13.1)                         3,130 (15.5)
   40 or older                                        1,207 (5.4)                          1,596 (7.9)
Parity
   0                                                 12,819 (57.3)                        10,171 (50.2)                   ⬍.001
   1                                                  3,444 (15.4)                         3,384 (16.7)
   2                                                  3,897 (17.4)                         4,125 (20.4)
   3 or more                                          2,207 (9.9)                          2,570 (12.7)
Previous abortions
   0                                                 18,626 (83.3)                        15,461 (76.4)                   ⬍.001
   1                                                  2,856 (12.8)                         3,471 (17.1)
   2                                                    664 (3.0)                            927 (4.6)
   3 or more                                            221 (1.0)                            390 (1.9)
Marital status
   Married                                            4,350 (19.5)                         4,718 (23.3)                   ⬍.001
   Cohabiting                                         3,592 (16.1)                         3,113 (15.4)
   Single                                            14,394 (64.4)                        12,412 (61.3)
Social status
   Upper white-collar worker                          1,595 (7.1)                          1,497 (7.4)                    ⬍.001
   Lower white-collar worker                          4,799 (21.5)                         4,794 (23.7)
   Blue-collar worker                                 2,691 (12.0)                         3,060 (15.1)
   Student                                            7,598 (34.0)                         5,990 (29.6)
   Other                                              1,072 (4.8)                          1,386 (6.8)
   Unknown                                            4,613 (20.6)                         3,524 (17.4)
Type of residence
   Urban                                             16,668 (74.5)                        15,118 (74.7)                   ⬍.001
   Densely populated area                             2,788 (12.5)                         2,286 (11.3)
   Rural                                              2,912 (13.0)                         2,847 (14.1)
Indication for abortion
   Social reasons                                    19,691 (88.0)                        17,175 (84.8)                   ⬍.001
   Age 17 y or younger                                1,507 (6.7)                          1,459 (7.2)
   Age 40 y or older                                    754 (3.4)                          1,076 (5.3)
   Four children or more                                366 (1.6)                            457 (2.3)
   Other                                                 50 (0.2)                             84 (0.4)
Duration of gestation (d)                                                                                                 ⬍.001
   42 or fewer                                        6,012 (26.9)                         1,895 (9.4)
   43–49                                              7,355 (32.9)                         4,724 (23.3)
   50–56                                              6,014 (26.9)                         7,033 (34.7)
   57–63                                              2,987 (13.4)                         6,599 (32.6)
Data are n (%) unless otherwise specified.



tion was fivefold higher, and the risk of (re)evacuation             generally safe. However, the incidence of the two
was twofold higher after medical abortion compared                   most common adverse events (hemorrhage and in-
with surgical abortion. The risk of infection, as de-                complete abortion) were notably higher among
rived from univariable analysis, was not associated                  women undergoing medical abortion, whereas com-
with the method of abortion.                                         plications requiring surgical treatment, although rare,
                                                                     were more common after surgical abortion. The rates
DISCUSSION                                                           of postabortal infection and serious morbidity (such as
In the present study, we found that the two methods                  thromboembolic events) did not differ between the
of pregnancy termination (medical and surgical) are                  two groups. There were no pregnancy-related deaths


798   Niinimäki et al     Complications After Medical and Surgical Abortion                 OBSTETRICS & GYNECOLOGY


                                                  Alliance.App. 289                                       EX. 16 pg. 04
       Case: 23-10362  Document: 95-4 Page: 45 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22 Page 6 of 11 PageID 403
Table 2. Incidence of Adverse Events in the Cohort
                                                           Medical Abortion           Surgical Abortion                       Adjusted OR†
                                                             (nⴝ22,368)                  (nⴝ20,251)                P*           (95% CI)
Hemorrhage                                                     3,487 (15.6)                 433 (2.1)            ⬍.001       7.93 (7.15–8.81)
Hemorrhage with surgical (re)evacuation                          645 (2.9)                  173 (0.9)            ⬍.001
Infection                                                        383 (1.7)                  342 (1.7)             .85        1.15 (0.98–1.34)
Infection with surgical (re)evacuation                           172 (0.8)                  122 (0.6)             .02
Incomplete abortion                                            1,495 (6.7)                  323 (1.6)            ⬍.001       5.37 (4.49–6.28)
Incomplete abortion with surgical (re)evacuation               1,320 (5.9)                   77 (0.4)            ⬍.001
Injury                                                             6 (0.03)                 122 (0.60)           ⬍.001             NA‡
Thromboembolic disease                                            18 (0.08)                  17 (0.08)            .90              NA
Psychiatric morbidity                                              2 (0.009)                  1 (0.005)           .62              NA
Death                                                              2 (0.009)                  4 (0.020)           .35              NA
Women with adverse events                                      4,479 (20.0)               1,127 (5.6)            ⬍.001       4.23 (3.94–4.54)
Surgical (re)evacuation                                        1,320 (5.9)                  363 (1.8)            ⬍.001       3.58 (3.18–4.03)
Number of adverse events per woman
   0                                                          17,889 (80.0)              19,124 (94.4)           ⬍.001
   1                                                           3,624 (16.2)               1,021 (5.0)
   2                                                             796 (3.6)                   97 (0.5)
   3                                                              59 (0.26)                   9 (0.04)
OR, odds ratio; CI, confidence interval; NA, not applicable.
Data are n (%) unless otherwise specified.
* Chi-square test for comparison between medical and surgical cohort.
†
  Surgical cohort as a reference adjusted for age, parity, previous abortion, social status, marital status, type of residence, and duration of
    gestation.
†
  Not applicable owing to small number of patients in one or both groups.


in our data. Because medical abortion is being used                       tion has been proven to be identical to that in medical
increasingly in several countries, it is likely to result in              records.22 However, the reliability of diagnoses and
an elevated incidence of overall morbidity related to                     interventions can vary, and underreporting or over-
termination of pregnancy.                                                 reporting by physicians cannot be ruled out. In
    The present study covers almost all of the in-                        addition, the Hospital Registry, which was used as a
duced abortions performed in Finland during the                           data source, contains data concerning hospital care
years 2000 –2006 and thus is a unique data source                         only. Thus, adverse events dealt with outside the
regarding even uncommon adverse events. However,                          public hospital system, especially those treated in
the validity of the data is a potential problem in                        primary health care, will have been missed. More-
register-based studies such as the present one. In the                    over, a single patient may have various diagnoses and
Registry of Induced Abortions, 95% of the informa-                        complications, such as incomplete abortion and
                                                                          bleeding, and thus may have been registered more
                                                                          than once. The participants, however, each had a
                                                                          unique personal identification number, and we were
                                                                          able to eliminate double counting in our study.
                                                                               It is important to note that the severity of the
                                                                          diagnoses found in the Hospital Registry may vary
                                                                          substantially. Thus, another problem in this kind of
                                                                          study is the definition of criteria for complications and
                                                                          adverse events. We evaluated all the ICD-10 diag-
                                                                          noses and codes for surgical procedures included in
                                                                          the Hospital Registry and classified them into seven
                                                                          categories.19 In addition, women choosing surgical
                                                                          and medical abortion differed subtly in several re-
                                                                          spects and thus may be prone to different types of
                                                                          adverse events.
Fig. 1. Complications according to the duration of gestation
in the medical and surgical cohorts (%).                                       The rate of consultation related to a diagnosis of
Niinimäki. Complications After Medical and Surgical Abortion.            hemorrhage was high and eight times more common
Obstet Gynecol 2009.                                                      after medical termination of pregnancy. Because


VOL. 114, NO. 4, OCTOBER 2009                        Niinimäki et al      Complications After Medical and Surgical Abortion              799


                                                   Alliance.App. 290                                                    EX. 16 pg. 05
       Case: 23-10362  Document: 95-4 Page: 46 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22 Page 7 of 11 PageID 404
Table 3. Results of the Multivariable Analysis in Three Major Complications and Surgical (Re)Evacuation
                                                       Hemorrhage                                               Infection

                                             Medical                   Surgical                  Medical                    Surgical
Age (y)                                  1.00 (0.96–1.04)
Age category (y)
   Younger than 20                               1                         1                         1                           1
   20–24                                 1.26 (1.00–1.58)          1.72 (1.25–2.37)          1.37 (1.03–1.83)           1.72 (1.13–2.62)
   25–29                                 1.29 (0.88–1.91)          1.82 (1.30–2.54)          1.31 (0.95–1.80)           1.31 (0.77–2.23)
   30–34                                 1.47 (0.83–2.58)          2.01 (1.45–2.79)          0.82 (0.56–1.19)           1.77 (1.02–3.08)
   35–39                                 1.17 (0.56–2.46)          1.79 (1.28–2.52)          1.10 (0.77–1.58)           1.05 (0.54–2.01)
   40 or older                           1.01 (0.40–2.56)          0.50 (0.26–0.95)          0.95 (0.56–1.61)           1.54 (0.74–3.20)
Parity
   None                                          1                                                                              1
   Yes                                   1.25 (1.08–1.45)                                                              0.80 (0.56–1.14)
Previous abortion
   None                                          1
   Yes                                   1.07 (0.93–1.22)
Social status
   Upper white-collar worker                     1                                                                              1
   Lower white-collar worker             1.14 (0.92–1.40)                                                              3.21 (1.38–7.46)
   Blue-collar worker                    1.54 (1.23–1.93)                                                              4.40 (1.87–10.36)
   Student                               1.50 (1.19–1.88)                                                              3.47 (1.44–8.36)
   Other                                 1.58 (1.20–2.08)                                                              4.50 (1.80–11.27)
Marital status
   Married                                       1
   Cohabiting                            1.12 (0.94–1.34)
   Single                                1.05 (0.90–1.22)
Residence
   Urban                                         1                         1                                                    1
   Densely populated                     1.43 (1.23–1.66)          0.98 (0.72–1.33)                                    0.85 (0.55–1.32)
   Rural                                 1.25 (1.07–1.45)          0.71 (0.51–0.98)                                    0.54 (0.33–0.87)
Duration of gestation (d)
   42 or fewer                                   1                                                   1                           1
   43–49                                 0.93 (0.82–1.05)                                    1.33 (0.98–1.80)           1.03 (.0.59–1.80)
   50–56                                 0.74 (0.64–0.85)                                    1.91 (1.42–2.56)           1.15 (0.68–1.94)
   57–63                                 0.63 (0.51–0.76)                                    2.26 (1.62–3.15)           1.15 (0.68–1.96)
Data are odds ratio (95% confidence interval).
Only those variables that showed a statistically significant association with a complication in univariable analysis (data not shown) were
   entered in multivariable analysis.



medical abortion is associated with uterine bleeding                   abortion, reported from centers with extensive expe-
lasting approximately 2 weeks,23 the high rate of                      rience of the technique, are up to 98%.11,25 However,
consultation is not surprising. Uterine bleeding re-                   it is reassuring to note that a high rate of complete
quiring surgical evacuation probably better reflects                   abortion, approaching those reported from centers
the severity of bleeding after termination of preg-                    with extensive experience, was reached in the present
nancy. The incidence of such bleeding was relatively                   national cohort.
low, but it was more common in the medical-abortion                         One of our key findings was that the rates of
group. In earlier studies, an average of 10% of women                  infectious morbidity were similar after medical and
who underwent medical abortion complained of ex-                       surgical abortion. In a previous survey, the need for
cessive bleeding.24                                                    postabortal antibiotics for suspected endometritis was
     In line with uterine bleeding, the rate of incom-                 higher after surgical abortion.26 Moreover, the use of
plete abortion was higher in the cohort undergoing                     medical abortion previously has been associated with
medical abortion. Surgical evacuation performed be-                    rare cases of severe infectious morbidity and mortal-
cause of incomplete abortion occurred in approxi-                      ity.27 Reassuringly, only two cases with serious infec-
mately 6% of women having medical termination of                       tions (septicemia caused by Staphylococcus aureus and
pregnancy. The highest rates of complete medical                       Streptococcus) occurred in the present cohort, one in


800   Niinimäki et al     Complications After Medical and Surgical Abortion                         OBSTETRICS & GYNECOLOGY


                                                 Alliance.App. 291                                                 EX. 16 pg. 06
       Case: 23-10362  Document: 95-4 Page: 47 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22 Page 8 of 11 PageID 405

               Incomplete Abortion                                                     Surgical (Re)Evacuation

   Medical                            Surgical                              Medical                              Surgical
1.04 (0.99–1.10)                                                         1.05 (0.99–1.11)

        1                                                                        1
1.14 (0.80–1.62)                                                         1.15 (0.79–1.67)
1.05 (0.60–1.86)                                                         1.03 (0.56–1.88)
0.89 (0.40–2.00)                                                         0.89 (0.38–2.09)
0.66 (0.23–1.88)                                                         0.66 (0.22–2.00)
0.41 (0.11–1.52)                                                         0.39 (0.10–1.57)

        1                                                                        1
1.65 (1.33–2.03)                                                         1.59 (1.27–1.98)

        1                                  1                                     1
1.34 (1.11–1.60)                   1.38 (1.08–1.76)                      1.30 (1.08–1.58)

        1                                                                        1
0.97 (0.75–1.24)                                                         0.97 (0.74–1.28)
0.83 (0.62–1.11)                                                         0.88 (0.65–1.20)
1.04 (0.77–1.40)                                                         1.02 (0.74–1.40)
0.74 (0.50–1.08)                                                         0.84 (0.57–1.25)

        1                                  1                                     1
1.07 (0.84–1.35)                   1.46 (1.00–2.13)                      1.10 (0.86–1.41)
0.94 (0.76–1.15)                   1.46 (1.09–1.97)                      0.92 (0.74–1.14)

        1                                                                        1                                   1
1.40 (1.13–1.74)                                                         1.43 (1.14–1.79)                    0.75 (0.52–1.08)
1.38 (1.12–1.70)                                                         1.48 (1.19–1.84)                    0.68 (0.48–0.96)

        1                                  1                                     1                                   1
0.96 (0.78–1.16)                   1.64 (0.97–2.75)                      1.01 (0.81–1.24)                    1.63 (0.97–2.73)
1.34 (1.12–1.66)                   1.59 (0.96–2.62)                      1.41 (1.14–1.75)                    1.92 (1.17–3.15)
1.55 (1.22–1.98)                   1.91 (1.16–3.14)                      1.77 (1.38–2.28)                    2.23 (1.36–3.65)




the medical and one in the surgical group. However,              causes of injury and poisoning (including unintentional
as previously reported, cases of Clostridium sordellii           and intentional injuries, suicides, and homicides) are
septicemia occurred at a rate of 1 per 100,00027; even           significantly more common in women after induced
the present cohort is too small to assess the incidence          abortion compared with nonpregnant women or
of such a rare infection.                                        women after birth.30 In the present cohort also, five out
    Injuries and surgical interventions for other rea-           of six cases of death were the result of external causes. In
sons were relatively rare in both groups. Not surpris-           addition, psychiatric diagnoses, such as depression and
ingly, the incidence of postabortal surgical interven-           psychoses, were identified, but the rates of these com-
tion was lower among women undergoing medical                    plications did not differ between the two cohorts. Simi-
abortion. Some other serious and rare complications              larly, in an earlier, partly randomized study, no differ-
were identified as well. These included thromboem-               ences between women with medically or surgically
bolic and psychiatric complications as well as some              performed abortions emerged in regard to postabortal
deaths. The incidence of thromboembolic complica-                anxiety, depression, or self-esteem.31 Naturally, the
tions is in line with earlier reports of an increased risk       present kind of study setting (register-based study) gives
during pregnancy.28,29 In a previous register-based              only a crude idea of short-term psychiatric morbidity
study, it was concluded that deaths from external                associated with termination of pregnancy.


VOL. 114, NO. 4, OCTOBER 2009                 Niinimäki et al    Complications After Medical and Surgical Abortion      801


                                           Alliance.App. 292                                           EX. 16 pg. 07
       Case: 23-10362  Document: 95-4 Page: 48 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22 Page 9 of 11 PageID 406




Fig. 2. Risk factors regarding three major complications (bleeding [A], infection [B], and incomplete abortion [C]) among the
entire cohort (medical and surgical cohorts combined). OR, odds ratio; CI, confidence interval. *OR for infections is derived
from univariable analysis.
Niinimäki. Complications After Medical and Surgical Abortion. Obstet Gynecol 2009.



802   Niinimäki et al    Complications After Medical and Surgical Abortion                OBSTETRICS & GYNECOLOGY


                                               Alliance.App. 293                                       EX. 16 pg. 08
        Case: 23-10362  Document: 95-4 Page: 49                                            Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22                                          Page 10 of 11 PageID 407
     The most important risk factor with regard to the                   10. Henshaw RC, Naji SA, Russell IT, Templeton AA. A compar-
                                                                             ison of medical abortion (using mifepristone and gemeprost)
two most common adverse events (hemorrhage and                               with surgical vacuum aspiration: efficacy and early medical
incomplete abortion) was the method of abortion. Other                       sequelae. Hum Reprod 1994;9:2167–72.
risk factors were, for the most part, in line with those                 11. Ashok PW, Templeton A, Wagaarachchi PT, Flett GM. Fac-
reported previously—advanced gestational age, parity,                        tors affecting the outcome of early medical abortion: a review
and previous induced abortions.11,32–34 For unknown                          of 4132 consecutive cases. BJOG 2002;109:1281–9.
reasons, the risk of hemorrhage after medical abortion                   12. Niinimaki M, Pouta A, Bloigu A, Gissler M, Hemminki E,
                                                                             Suhonen S, et al. Frequency and risk factors for repeat
diminished with advancing duration of gestation. Toler-                      abortions after surgical compared with medical termination of
ance of bleeding—a natural part of medical abortion—                         pregnancy. Obstet Gynecol 2009;113:845–52.
varies from one woman and physician to another and                       13. Finlex. http://www.finlex.fi/fi/laki/ajantasa/1970/19700239?
also depends on preabortion counseling. Other expla-                         search%5Btype%5D⫽pika&search%5Bpika%5D⫽raskau%2A.
nations, such as possible bias in reporting the events in                    Retrieved January 21, 2009.
the registry, are possible but cannot be verified in the                 14. Finnish Gynecological Association’s task force. Abortion. Duo-
                                                                             decim 2001;117:2084–94.
present study. We included all cases requiring consulta-
                                                                         15. National Institute for Health and Welfare: Institutional health
tion in specialized health care because they are regis-
                                                                             care. Available at: http://www.stakes.fi/EN/tilastot/statisticsby
tered uniformly in Finland. In addition, every such visit                    topic/healthservices/institutionlahealthcare.htm. Accessed Janu-
adds to the costs of the health care system. More                            ary 27, 2009.
detailed analysis of all health care costs related to                    16. Statistics Finland. Available at: www.stat.fi. Accessed January
termination of pregnancy and its complications, accord-                      27, 2009.
ing to the method, is needed.                                            17. World Health Organization. Available at: http://www.who.int/
                                                                             classifications/icd/en/. Accessed January 27, 2009.
     In conclusion, termination of pregnancy by
                                                                         18. Nordic Centre for Classifications in Health Care. http://www.
means of either medical or surgical methods is asso-                         nordclass.uu.se/. Accessed January 27, 2009.
ciated with a low level of serious complications. On                     19. Induced abortion operations and their early sequelae. Joint
the basis of the present data, however, it appears that                      study of the Royal College of General Practitioners and the
medical abortion results in an increased incidence of                        Royal College of Obstetricians and Gynaecologists. J R Coll
                                                                             Gen Pract 1985;35:175–80.
adverse events.
                                                                         20. Gissler M, Berg C, Bouvier-Colle MH, Buekens P. Pregnancy-
                                                                             associated mortality after birth, spontaneous abortion, or
REFERENCES                                                                   induced abortion in Finland, 1987-2000. Am J Obstet Gynecol
 1. Finer B, Henshaw SK. Disparities in rates of unintended                  2004;190:422–7.
    pregnancy in the United States, 1994 and 2001. Perspect Sex          21. Deneux-Tharaux C, Berg C, Bouvier-Colle MH, Gissler M,
    Reprod Health 2006;38:90–6.                                              Harper M, Nannini A, et al. Underreporting of pregnancy-
 2. Jones RK, Zolna MR, Henshaw SK, Finer LB. Abortion in the                related mortality in the United States and Europe [published
    United States: incidence and access to services, 2005. Perspect          erratum appears in Obstet Gynecol 2005;107:209]. Obstet
    Sex Reprod Health 2008;40:6–16.                                          Gynecol 2005;106:684–92.
 3. National Institute for Health and Welfare: Induced abortions.        22. Gissler M, Ulander VM, Hemminki E, Rasimus A. Declining
    Available at: http://www.stakes.fi/EN/tilastot/statisticsbytopic/        induced abortion rate in Finland: data quality of the Finnish
    reprodution/abortions.htm. Retrieved February 5, 2009.                   abortion register. Int J Epidemiol 1996;25:376–80.
 4. The National Board of Health and Welfare. Available at:              23. Spitz IM, Bardin CW, Benton L, Robbins A. Early pregnancy
    http://www.socialstyrelsen.se/. Accessed February 5, 2009.               termination with mifepristone and misoprostol in the United
                                                                             States. N Engl J Med 1998;338:1241–7.
 5. Department of Health. Available at: www.dh.gov.uk. Accessed
    February 5, 2009.                                                    24. Sitruk-Ware R. Mifepristone and misoprostol sequential regi-
                                                                             men side effects, complications and safety. Contraception
 6. Zhou W, Nielsen GL, Moller M, Olsen J. Short-term compli-
                                                                             2006;74:48–55.
    cations after surgically induced abortions: a register-based
    study of 56 117 abortions. Acta Obstet Gynecol Scand 2002;           25. Ashok PW, Penney GC, Flett GM, Templeton A. An effective
    81:331–6.                                                                regimen for early medical abortion: a report of 2000 consecu-
                                                                             tive cases. Hum Reprod 1998;13:2962–5.
 7. Say L, Kulier R, Gulmezoglu M, Campana A. Medical versus
    surgical methods for first trimester termination of pregnancy.       26. Cameron ST, Glasier AF, Logan J, Benton L, Baird DT. Impact
    The Cochrane Database of Systemic Reviews 2005, Issue 1.                 of the introduction of new medical methods on therapeutic
    Art.No.:CD003037.DOI:DOI:10.1002/14651858.CD003037.                      abortions at the Royal Infirmary of Edinburgh. Br J Obstet
    pub2.                                                                    Gynaecol 1996;103:1222–9.
 8. Rorbye C, Norgaard M, Nilas L. Medical versus surgical               27. Fischer M, Bhatnagar J, Guarner J, Reagan S, Hacker JK, Van
    abortion efficacy, complications and leave of absence com-               Meter SH, et al. Fatal toxic shock syndrome associated with
    pared in a partly randomized study. Contraception 2004;70:               clostridium sordellii after medical abortion. N Engl J Med
    393–9.                                                                   2005;353:2352–60.
 9. Ashok PW, Kidd A, Flett GM, Fitzmaurice A, Graham W,                 28. Heit JA, Kobbervig CE, James AH, Petterson TM, Bailey KR,
    Templeton A. A randomized comparison of medical abortion                 Melton LJ, 3rd. Trends in the incidence of venous thrombo-
    and surgical vacuum aspiration at 10-13 weeks gestation. Hum             embolism during pregnancy or postpartum: a 30-year popula-
    Reprod 2002;17:92–8.                                                     tion-based study. Ann Intern Med 2005;143:697–706.




VOL. 114, NO. 4, OCTOBER 2009                         Niinimäki et al    Complications After Medical and Surgical Abortion              803


                                                   Alliance.App. 294                                                 EX. 16 pg. 09
        Case: 23-10362  Document: 95-4 Page: 50                                         Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-17 Filed 11/18/22                                       Page 11 of 11 PageID 408
29. James AH, Jamison MG, Brancazio LR, Myers ER. Venous              32. Bartley J, Tong S, Everington D, Baird DT. Parity is a major
    thromboembolism during pregnancy and the postpartum peri-             determinant of success rate in medical abortion: a retrospective
    od: incidence, risk factors, and mortality. Am J Obstet Gynecol       analysis of 3161 consecutive cases of early medical abortion
    2006;194:1311–5.                                                      treated with reduced doses of mifepristone and vaginal
30. Gissler M, Berg C, Bouvier-Colle MH, Buekens P. Injury                gemeprost. Contraception 2000;62:297–303.
    deaths, suicides and homicides associated with pregnancy,         33. Allen RH, Westhoff C, De Nonno L, Fielding SL, Schaff EA.
    Finland 1987-2000. Eur J Public Health 2005;15:459–63.                Curettage after mifepristone-induced abortion: frequency, tim-
31. Henshaw R, Naji S, Russell I, Templeton A. Psychological              ing, and indications. Obstet Gynecol 2001;98:101–6.
    responses following medical abortion (using mifepristone and      34. Child TJ, Thomas J, Rees M, MacKenzie IZ. A comparative
    gemeprost) and surgical vacuum aspiration. A patient-cen-             study of surgical and medical procedures: 932 pregnancy
    tered, partially randomised prospective study. Acta Obstet            terminations up to 63 days gestation. Hum Reprod 2001;16:
    Gynecol Scand 1994;73:812–8.                                          67–71.




804   Niinimäki et al     Complications After Medical and Surgical Abortion                        OBSTETRICS & GYNECOLOGY


                                                  Alliance.App. 295                                             EX. 16 pg. 010
    Case: 23-10362    Document: 95-4 Page: 51 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 1 of 12 PageID 409




                 Exhibit 17
James Studnicki et al., A Longitudinal Cohort Study of
 Emergency Room Utilization Following Mifepristone
 Chemical and Surgical Abortions, 1999-2015, Health
Servs. Rsch. & Managerial Epidemiology, Nov. 9, 2021




                         Alliance.App. 296
            Case: 23-10362    Document: 95-4 Page: 52 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 2 of 12 PageID 410
Original Research
                                                                                                                                   Health Services Research and
                                                                                                                                   Managerial Epidemiology
A Longitudinal Cohort Study of Emergency                                                                                           Volume 8: 1-11
                                                                                                                                   © The Author(s) 2021
                                                                                                                                   Article reuse guidelines:
Room Utilization Following Mifepristone                                                                                            sagepub.com/journals-permissions
                                                                                                                                   DOI: 10.1177/23333928211053965
Chemical and Surgical Abortions, 1999–2015                                                                                         journals.sagepub.com/home/hme




James Studnicki1 , Donna J. Harrison2, Tessa Longbons1                                                       ,
Ingrid Skop1, David C. Reardon3, John W. Fisher1,
Maka Tsulukidze4, and Christopher Craver1


Abstract
Introduction: Existing research on postabortion emergency room visits is sparse and limited by methods which underestimate
the incidence of adverse events following abortion. Postabortion emergency room (ER) use since Food and Drug Administration
approval of chemical abortion in 2000 can identify trends in the relative morbidity burden of chemical versus surgical procedures.
Objective: To complete the ﬁrst longitudinal cohort study of postabortion emergency room use following chemical and surgical
abortions.
Methods: A population-based longitudinal cohort study of 423 000 conﬁrmed induced abortions and 121,283 subsequent ER
visits occurring within 30 days of the procedure, in the years 1999-2015, to Medicaid-eligible women over 13 years of age with at
least one pregnancy outcome, in the 17 states which provided public funding for abortion.
Results: ER visits are at greater risk to occur following a chemical rather than a surgical abortion: all ER visits (OR 1.22, CL 1.19-
1.24); miscoded spontaneous (OR 1.88, CL 1.81-1.96); and abortion-related (OR 1.53, CL 1.49-1.58). ER visit rates per 1000
abortions grew faster for chemical abortions, and by 2015, chemical versus surgical rates were 354.8 versus 357.9 for all ER visits;
31.5 versus 8.6 for miscoded spontaneous abortion visits; and 51.7 versus 22.0 for abortion-related visits. Abortion-related visits
as a percent of total visits are twice as high for chemical abortions, reaching 14.6% by 2015. Miscoded spontaneous abortion visits
as a percent of total visits are nearly 4 times as high for chemical abortions, reaching 8.9% of total visits and 60.9% of abortion-
related visits by 2015.
Conclusion: The incidence and per-abortion rate of ER visits following any induced abortion are growing, but chemical abortion
is consistently and progressively associated with more postabortion ER visit morbidity than surgical abortion. There is also a
distinct trend of a growing number of women miscoded as receiving treatment for spontaneous abortion in the ER following
a chemical abortion.

Keywords
induced abortion, mifepristone, medical abortion, emergency room, Medicaid


Introduction
Since its fast-track approval by the USA Food and Drug
Administration (FDA) in September 2000, induced abortion                           1
                                                                                     Charlotte Lozier Institute, Arlington, VA, USA
by the administration of mifepristone and misoprostol (ie,                         2
                                                                                     American Association of Pro-Life Obstetricians and Gynecologists, Eau
chemical abortion) has grown to over 50% of all induced abor-                        Claire, MI, USA
tions in the United States and may, in fact, be responsible for                    3
                                                                                     Elliot Institute, Springﬁeld, IL, USA
                                                                                   4
ending a long-term decline in the number of induced abortions                        Florida Gulf Coast University, Fort Myers, FL, USA
in the United States1                                                              Corresponding Author:
   Research on the safety of induced abortion, and particularly                    James Studnicki, Charlotte Lozier Institute, Arlington, VA, USA.
those that are chemically induced, continues to be handicapped                     Email: jstudnicki@lozierinstitute.org


                Creative Commons Non Commercial CC BY-NC: This article is distributed under the terms of the Creative Commons Attribution-NonCommercial 4.0 License
                (https://creativecommons.org/licenses/by-nc/4.0/) which permits non-commercial use, reproduction and distribution of the work without further permission
                provided the original work is attributed as speciﬁed on the SAGE and Open Access page (https://us.sagepub.com/en-us/nam/open-access-at-sage).




                                                           Alliance.App. 297                                                                   EX. 17 pg. 01
            Case: 23-10362    Document: 95-4 Page: 53 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 3 of 12 PageID 411
2                                                                                Health Services Research and Managerial Epidemiology


in the United States by the absence of a comprehensive national        utilized in existing research. Therefore, the objective of this
reporting system of pregnancy outcomes. The Centers for                research was to complete the ﬁrst population based longitudinal
Disease Control and Prevention (CDC) Abortion Surveillance             cohort study of the trajectory of postabortion emergency room
Reports are derived from a profoundly ﬂawed system in                  utilization following both chemical and surgical abortions in
which reporting by the states is voluntary, with many states           order to test the hypothesis that chemical abortion results in
reporting intermittently and some not at all. The reporting of         higher emergency room utilization. We selected a longitudinal
speciﬁc data elements is similarly piecemeal and, most disap-          cohort design because of its superiority to cross-sectional
pointing, no event-level data is actually available for any rigor-     approaches in suggesting causation. Uniquely, our methodology
ous analytical purposes. Adverse events which may be related           includes ﬁrst a conﬁrmation of the actual provision of either a
to an induced abortion such as a death, incomplete abortion,           chemical or surgical abortion and, only after conﬁrmation, iden-
severe bleeding, or infection are often underreported because          tiﬁes broadly all emergency room utilization before disaggregat-
there is no certain way to link the adverse event to the precipi-      ing abortion-related ER use. In the absence of a national abortion
tating abortion. Further, the FDA’s adverse event reporting            registry, this analysis is intended to provide the most comprehen-
requirements for mifepristone extend only to deaths.2 Large            sive view of postabortion-related morbidity in the years follow-
population-based record-linkage studies from nations with              ing the FDA approval of mifepristone abortion, as well as a
comprehensive reproductive history data linked to adverse              glimpse of what we might expect in the future.
events provide the best opportunity to overcome many of
these data limitations and ﬁnd a much higher overall incidence
of adverse events in the chemical compared with the surgical           Methods
cohort.3,4 By contrast, USA studies of chemical abortion               Data were obtained from the enrollee-level Medicaid Analytic
safety are frequently conducted on opportunity samples of              eXtract ﬁles licensed through the Centers for Medicare and
women who have recently undergone an induced abortion.                 Medicaid Services (CMS) Chronic Condition Data Warehouse’s
Already limited by the nonrandom nature of patient selection,          Medicaid data. The analytic dataset is comprised of enrollees
these studies are frequently subject to design limitations such        from the 17 states whose ofﬁcial policies applied state funds to
as the exclusion of an incomplete abortion as a complication,          most abortions not covered by federal Medicaid during the
or an unacceptably high percentage of women lost to                    period 1999 through 2015. Not all states funded abortion consis-
follow-up.5,6                                                          tently or to the same extent during the study period. Despite
    The emergency room (ER) visit is a particularly insightful event   their ofﬁcial policies, Arizona and Illinois funded relatively few
by which to assess and compare the relative safety of chemical and     abortions during this period, and Alaska experienced a short inter-
surgical abortions for 2 reasons. First, adverse events following a    ruption to its abortion coverage.10 Not all states had provided
mifepristone abortion are more likely to be experienced at home        claims data through 2015 due to differing reporting timeframes.
in the absence of a physician, increasing the likelihood of an ER      The latest year of data relative to each state was 2013 for
visit. Second, the ER visit can be for any number of complications     Arkansas, Illinois, Maryland, Montana, and New Mexico; 2014
and is, therefore, a broad proxy indicator for abortion-related mor-   for Arizona, Hawaii, Massachusetts, and Washington; and 2015
bidity. One major concern is that ER secondary data describes treat-   for California, Connecticut, Minnesota, New Jersey, New York,
ment for a condition (eg, hemorrhage) which may be attributed to a     Oregon, Vermont, and West Virginia.
prior event (eg, abortion), but, as we have seen, the prior event is      The study population was made up of enrollees over 13 years
often missed. For example, a study of abortion-related emergency       of age with at least one identiﬁable pregnancy outcome from
room visits in the United States, using the Nationwide Emergency       1999 through the latest year of data available for each state.
Department Sample, categorized whether visits were abortion            For each beneﬁciary, all unique pregnancy outcomes were iden-
related based only on information taken from the ER visit record.      tiﬁed using International Classiﬁcation of Diseases, Ninth
There was no independent conﬁrmation from a different source           Revision (ICD-9) codes. Additionally, Current Procedural
that an abortion had occurred. Therefore, a woman who was expe-        Terminology, fourth Edition (CPT4) and Healthcare Common
riencing excessive bleeding following a chemical abortion but did      Procedure Coding System (HCPCS) codes were used to
not reveal the abortion to the ER physician would not be identiﬁed     conﬁrm pregnancy outcomes.
as an abortion-related visit. Not surprisingly, the study found an        These codes were used to allocate all pregnancy outcomes
extraordinarily low percentage (0.01%) of abortion-related visits      into 4 categories: live birth (ICD-9V27.0, V27.2, and V27.5),
among all ER visits to women age 15 to 49.7 For all the reasons        natural fetal loss (ICD-9V27.1, V27.4, V27.7, 630, 631, 633,
related to data availability and quality, as well as methodological    634), induced abortion (ICD-9 635.xx, CPT4 59840, 59841,
inadequacies, evidence suggests that postabortion complications        59850, 59851, 59852, 59855, 59856, 59857, and HCPCS:
are substantially underreported.8,9                                    S0199, S2260, S2265, S2266, S2267, X7724, X7726, S0190,
    As we have described, research on adverse events following         S0191), and undetermined (ICD-9 636.xx, 637.xx, 638.xx).
induced abortion varies by procedure, protocols to detect compli-      In order to identify each unique pregnancy, multiple diagnostic
cation, length of follow-up and the sources and quality of data.       or treatment codes within 30 days of a pregnancy loss (natural,
The emergency room visit as a comprehensive marker for post-           induced, or undetermined) or within 180 days of a live birth
abortion complications has been infrequently and inadequately          were counted as a single pregnancy outcome using the ﬁrst


                                                   Alliance.App. 298                                                  EX. 17 pg. 02
            Case: 23-10362    Document: 95-4 Page: 54 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 4 of 12 PageID 412
Studnicki et al                                                                                                                        3


date associated with that series of Medicaid claims. Twins and       Copyright (2019) SAS Institute Inc. All comparative analyses
higher order gestations that resulted in a combination of live       were completed using Microsoft Excel (version 16).
birth and fetal loss were excluded from the analysis.                  The study has been exempted from Institutional Review
   The analytic strategy was composed of 3 phases. First, we         Board (IRB) review pursuant to the USA Department of
identiﬁed every conﬁrmed surgical induced abortion (ICD/             Health and Human Services Policy for Protection of Human
CPT codes—CPT4 59840, 59841, 59850, 59851, 59852,                    Research Subjects at C.F.R. 46.101(b). See IRB ID: 7269,
59855, 59856, 59857) and every conﬁrmed chemical induced             www.sterlingirb.com.
abortion (HCPCS codes S0190, S0191) in each speciﬁc year
1999 to 2015 (index abortion). Codes S0190 and S0191 were
added by CMS on January 1, 2001, so chemical abortions               Findings
prior to that date could have been missed; however, because          From 1999 to 2015, there was a total of 423 000 conﬁrmed
mifepristone did not receive approval from the FDA until             induced abortion Medicaid procedures, 361 924 surgical and
September 28, 2000, the number of mifepristone abortions             61,706 chemical. Surgical abortions increased from 4479 in
not captured here is likely minimal. Additionally, as an explan-     1999 to a peak of 36 204 in 2012, declined in 2013 to 2014
atory variable, we determined whether there was a prior induced      to 28 101, and concluded 2015 at 29 558. Chemical abortions
abortion or live birth in the 12 months preceding the index abor-    had no Medicaid claims in the study population in 1999 to
tion procedure. Second, we identiﬁed every emergency room            2000 and only 15 in 2001. From 2002 when there were 352,
visit occurring within thirty days of the index abortion proce-      chemical abortions increased to 8768 in 2012, followed by a
dure (Place of Service code 23 [emergency room]), including          2013 to 2014 decline similar to that experienced by surgical
multiple visits for each patient. We further disaggregated ER        abortion. Following inclusion of California chemical abortions
visits into 3 categories: all-cause, abortion-related codes          in 2015, the chemical abortion number more than doubled to
(ICD-9, 630-639) and spontaneous abortion code (ICD-9,               15 279. As the result, mifepristone abortions grew from 4.4%
634). We mapped and adjusted the appropriate codes during            of total abortions in 2002 to 34.1% in 2015 (Table 1 and
the last two quarters of calendar year 2015 to reﬂect the transi-    Figure 1).
tion from ICD-9 to ICD-10. The following descriptive metrics            Similarly, emergency room visits within 30 days of an
were calculated: chemical abortions as a percent of total            induced abortion increased during the study observation
induced abortions; ER visits following chemical abortions as         period for both surgical and chemical abortions. Emergency
a percent of total ER visits following total induced abortions;      room visits following chemical abortions grew consistently as
coded abortion-related visits as a percent of total ER visits fol-   a percentage of all ER visits within 30 days of the procedure:
lowing an induced abortion; miscoded spontaneous abortion            3.5% (36 ÷ [36 + 977]) in 2002; 6.9% (452 ÷ [452 + 6060])
ER visits as a percent of total ER visits following an induced       in 2007; 22.0% (3220 ÷ [3220 + 11,401]) in 2012; and 33.9%
abortion; miscoded spontaneous abortion ER visits as a               (5421 ÷ [5421 + 10,578]) in 2015 (Table 1). The steeper
percent of abortion-related ER visits following an induced abor-     growth in total and abortion-related ER visits for mifepristone
tion; and abortion ER visit rates per 1000 speciﬁed induced          abortions are apparent in the comparison of Figure 2 (surgical)
abortions for all-cause, coded abortion-related, and miscoded        and Figure 3 (chemical). Total ER visits during the study period
spontaneous abortion visit categories. Comparisons of the            totaled 121,283, 99,928 surgical and 21,355 chemical.
1999 to 2015 longitudinal trajectory of these descriptive               There are clear differences for surgical and chemical abor-
metrics are displayed in a series of 9 ﬁgures.                       tions in terms of the reason for the ER visits following the pro-
   Third, we performed logistic regression models to identify        cedure. Abortion-related visits (ICD-9 630-639) remain stable
the association of selected predictor variables with the likeli-     at 4% to 5% of total ER visits for surgical abortions, reaching
hood of experiencing each of the 3 deﬁned categories of ER           a high of 6.2% in 2015. This percentage is 8% to 9%
visits following an induced abortion. The outcome variable in        between 2002 and 2013 for chemical abortions, with increases
each equation was the dichotomous indication (yes/no) of the         in 2014 to 2015 peaking at 14.6%. Abortion-related ER visits
speciﬁc type of ER visit. The predictor variables were as            represent a higher percentage of total ER visits for chemical
follows: surgical abortion; chemical abortion; age at induced        abortions (Figure 4).
abortion; race; months of Medicaid eligibility at induced abor-         ER visits miscoded as a spontaneous abortion following a
tion; prior (within a calendar year of induced abortion) birth;      chemical abortion range between 2% and 3% of total visits
and prior (within a calendar year of induced abortion)               from 2003 to 2012, increasing abruptly between 2013 and
induced abortion. The odds ratios were calculated for the            2015 reaching 8.9%. ER visits miscoded as a spontaneous abor-
entire 17-year study period and, with the disproportional            tion following a conﬁrmed surgical abortion averaged less than
growth of chemical abortions over time, underestimate the            1% of all ER visits until 2008, 1.2%-1.3% from 2009 to 2014,
current advantage of chemical abortion (vs surgical) in eliciting    and peaked at 2.4% in 2015. Therefore, from 2005 to 2015,
emergency room visits in the later years of the study observa-       visits miscoded for spontaneous abortion treatment in the ER
tion period.                                                         as a percent of all visits, went from 2 to 4 times as likely follow-
   Summary analytic tables were created using (SAS/STAT)             ing a chemical abortion as compared to a surgical abortion
software, version (10) of the SAS system for (Unix).                 (Figure 5).


                                                  Alliance.App. 299                                                  EX. 17 pg. 03
            Case: 23-10362    Document: 95-4 Page: 55 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 5 of 12 PageID 413
4                                                                               Health Services Research and Managerial Epidemiology


Table 1. Chemical and Surgical Induced Abortions and ER Visits Within 30 Days, 1999-2015.

            Chemical                                                          Surgical

Year        Abortions        All ER Visits      630 to 639         634        Abortions           All ER Visits   630 to 639        634

1999            0                                                               4479                  351             15             5
2000            0                                                               7248                  598             31            11
2001           15                  1                                            9986                  732             20             7
2002          352                  36                3              0           7729                  977             41            10
2003          803                 108                6              2          13 012                1792             70            12
2004          1319                198               17              1          18 463                2871             99            14
2005          1360                316               29              9          19 226                4178            170            42
2006          1192                351               23              6          20 558                5042            218            51
2007          1521                452               37              13         21 244                6060            263            53
2008          1988                799               50              14         22 125                6954            313            66
2009          3032               1121               100             27         25 764                7879            358            91
2010          4848               1702               147             48         30 019                8820            386            114
2011          6834               2787               233             99         32 394               10 044           465            104
2012          8768               3220               277             88         36 204               11 401           536            150
2013          6856               2401               219             94         35 814               11 681           558            142
2014          6909               2442               270            117         28 101                9970            466            120
2015         15 279              5421               790            481         29 558               10 578           651            254


    As a percent of abortion-related visits (ICD-9, 630-639),        ER miscoded as for spontaneous abortion is consistently and
visits miscoded for spontaneous abortion treatments (ICD-9,          progressively more likely following a chemical abortion than
634) following a conﬁrmed mifepristone abortion averaged             following a surgical abortion.
approximately 30% between 2003 and 2012 and increased                   All-cause ER visit rates within 30 days of an abortion have
between 2013 and 2015, reaching 60.9%. ER visits miscoded            increased consistently throughout the study period for all types
as treatment for spontaneous abortion as a percent of abortion-      of induced abortion. There were 78.4 all-cause visits per 1000
related visits following a conﬁrmed surgical abortion are a con-     surgical abortions in 1999 and 357.9 in 2015, an increase of
sistently lower percentage than for those following a chemical       356% in the rate. Using 2002 as the initial year with sufﬁcient
abortion, peaking at 39% in 2015 (Figure 6). Treatment in the        abortion and ER visit counts to calculate a rate, the chemical




Figure 1. Medicaid abortions (surgical and chemical), 1999–2015, and chemical abortion % total.


                                                  Alliance.App. 300                                                 EX. 17 pg. 04
            Case: 23-10362    Document: 95-4 Page: 56 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 6 of 12 PageID 414
Studnicki et al                                                                                                                     5




Figure 2. Emergency room (ER) use following surgical abortion, 1999-2015.


abortion rate increased from 102.3 in 2002 to 354.8, a rate             A summary of the logistic regression analyses is in Table 2.
increase of 247%. When the surgical rate increase is calculated      All 3 types of ER visits during the study observation period are
from 2002 (126.4) and 2015 (357.9), the rate increase is 183%.       more likely to occur following a chemical abortion than follow-
Both the consistent increase in the rate of ER visits per abortion   ing a surgical abortion: all-cause (OR 1.22, CL 1.19-1.24);
procedure and the higher chemical rate relative to the surgical      abortion-related (OR 1.53, CL 1.49-1.58); and spontaneous
rate after 2004 are apparent in Figure 7.                            abortion (OR 1.88, CL 1.81-1.96). Prior pregnancy outcomes
    Abortion-related ER visits (ICD-9 630-639) per abortion          increase the likelihood of any type of subsequent ER visit.
exhibit a similar upward trend in rates for both surgical and        However, an ER visit is signiﬁcantly more likely to occur fol-
chemical abortions, but, beginning in 2002, a growing diver-         lowing a prior chemical abortion than following a prior surgical
gence by type of abortion is evident. The surgical abortion to       abortion: all-cause (OR 2.54, CL 2.38-2.70 vs OR 1.78, CL
abortion-related visit rate increases from 5.3 in 2002 to 22.0       1.73-1.82); abortion-related (OR 1.80, CL 1.65-1.97 vs OR
in 2015, an increase of 315%. Chemical abortion visit rates          1.35, CL 1.29-1.41); and spontaneous abortion (OR 1.74, CL
during the same period went from 8.5 to 51.7, an increase of         1.54-1.96 vs OR 1.43, CL 1.35-1.52). A prior live birth is a
507% (Figure 8).                                                     lower risk factor for post abortion ER visits than is either a
    ER visit rates miscoded as for spontaneous abortion (ICD-9       chemical or surgical induced abortion: all-cause (OR 1.52,
634) within 30 days of a surgical abortion show a declining          CL 1.48-1.56); abortion-related (OR 1.09, CL 1.04-1.15); and
pattern from a peak of 1.5 in 2000 to a low point of 0.8 in          spontaneous abortion (OR 1.12, CL 1.04-1.20).
2004, a gradual increase between 2.2 and 4.3 from 2005 to               Hispanics are slightly more likely than whites to experience
2014, and a doubling to 8.6 in 2015. By contrast, ER visit           any type of post abortion ER visit: all-cause (OR 1.07, CL
rates miscoded as for spontaneous abortion treatment follow-         1.05-1.10); abortion-related (OR 1.03, CL 1.00-1.07); and
ing a chemical abortion show a consistent increase from              spontaneous abortion (OR 1.03, CL 0.98-1.09). Blacks, by con-
8.55 in 2007, the ﬁrst year ER visits in this category               trast, are consistently less likely than whites to experience any
reached double digits, to 31.5 in 2015. Between 2007 and             type of post abortion ER visit: all-cause (OR 0.59, CL
2015, the ER visit rate miscoded for spontaneous abortion            0.58-0.61); abortion-related (OR 0.68, CL 0.66-0.71); and
increased 244% following surgical abortion and 268% follow-          spontaneous abortion (OR 0.72, CL 0.68-0.76). Age at time
ing chemical abortion (Figure 9). Caution previously noted           of the abortion and years of Medicaid eligibility are not impor-
regarding the coding and classiﬁcation of these visits is simi-      tant risk factors in predicting post abortion emergency room
larly warranted here.                                                use.


                                                  Alliance.App. 301                                                EX. 17 pg. 05
            Case: 23-10362    Document: 95-4 Page: 57 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 7 of 12 PageID 415
6                                                                                   Health Services Research and Managerial Epidemiology




Figure 3. Emergency room (ER) use following chemical abortion, 1999–2015.


Discussion                                                             increased consistently throughout the study period following
                                                                       both types of induced abortion, but the rates for mifepristone
Regression analysis deﬁnitively supports the hypothesis that
                                                                       abortion visits grew faster, especially for abortion-related
chemical abortion is associated with more frequent emergency
                                                                       visits. By 2015, mifepristone versus surgical ER rates were:
room visits of all kinds for the entire study period. In addition,
                                                                       all visits (354.8 vs 357.9); miscoded spontaneous abortion
we found that ER visit rates per 1000 abortion procedures




Figure 4. Abortion-related visits as a percent of all emergency room (ER) visits.


                                                    Alliance.App. 302                                                 EX. 17 pg. 06
            Case: 23-10362    Document: 95-4 Page: 58 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 8 of 12 PageID 416
Studnicki et al                                                                                                                    7




Figure 5. Miscoded spontaneous abortion visits as a percent of all emergency room (ER) visits.



(31.5 vs 8.6); and abortion-related (51.7 vs 22.0). The reasons      visit.13 Results of our research summarized for the same 2 years
for the increasing rate of ER visits following mifepristone abor-    found 4.8 times (30.7%) the number of total ER visits and 1.8
tions are not readily apparent but may be inﬂuenced by mifep-        times (1.56%) the number of abortion-related visits within our
ristone abortion providers who are unable or unskilled to handle     shorter 30-day postabortion observation period. We were able
complications after chemical abortions. This ﬁnding would be         to detect this more accurate number of complications because
consistent with an analysis of FDA Adverse Event Reports             the women were included in our study based on a CPT code
which showed that abortion providers only managed slightly           payment for mifepristone abortion, thus eliminating the need
over half of the dilation and curettage procedures (D&Cs)            for the treating physician to recognize a complication from a
required for hemorrhage and retained tissue, and the remainder       chemical abortion.
were handled by the emergency room.11 Further research is               The ﬁnding that many ER visits following known induced
needed to delineate whether there is a difference between ER         abortions are misclassiﬁed as postmiscarriage complications is
visit utilization after abortions performed by those abortion pro-   particularly noteworthy. Abortion studies in the United States
viders untrained in surgical procedures (ie, midwives, advance       consistently report lower postabortion complication rates than
practice clinicians, Family Medicine providers and other types       are documented in the international scientiﬁc literature. There
of providers). This ﬁnding is also of signiﬁcance when consid-       are likely multiple reasons for this discrepancy, but among
ering the implications of removing a requirement for in-person       them are the miscoding of abortion-related complications by
medical supervision of mifepristone abortion as is currently         the provider and the nondisclosure of prior abortion history
under consideration by the FDA.12                                    by the patient. Women obtaining chemical abortions must
    These ﬁndings are especially consequential because they are      sign a patient agreement indicating they will bring with
derived directly from all paid medical claims records, unlike        them the mifepristone medication guide if seeking emergency
most other studies of abortion complications which involve vol-      care, but some abortion advocates encourage women to with-
untary survey reporting and/or a more limited query of a select      hold information if seeking treatment for an adverse
set of treatment codes. The more comprehensive examination of        event.14,15 Our study demonstrated ER visits misclassiﬁed or
all ER codes associated with conﬁrmed abortion events under-         miscoded as spontaneous abortion grew for both types of
taken in this research requires reconsideration of previous ﬁnd-     induced abortion, reaching 39% of abortion-related visits fol-
ings which now appear to have understated the full range of          lowing surgical abortion and 60.9% of visits following chem-
risks associated with abortion. For example, previous research       ical abortion in 2015. These mifepristone abortion
on only fee-for-service California Medicaid beneﬁciaries and         complications would have been invisible to previous research-
using only a single code (ICD-9 635.xx) in 2009 to 2010 con-         ers, resulting in a large underestimation of actual mifepristone
cluded that 6.4% of all abortions were followed by any ER visit      abortion complications. Our more accurate estimation has sig-
within 6 weeks and 0.87% were followed by an abortion-related        niﬁcant implications for the evaluation of risks communicated


                                                  Alliance.App. 303                                               EX. 17 pg. 07
            Case: 23-10362    Document: 95-4 Page: 59 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 9 of 12 PageID 417
8                                                                               Health Services Research and Managerial Epidemiology




Figure 6. Miscoded spontaneous abortion visits as a percent of abortion-related emergency room (ER) visits.


to women in the process of informed consent prior to abor-           care utilization to carefully follow the ramiﬁcations of ER
tion, as well as in policy making regarding mifepristone             utilization.
abortion.                                                                There are limitations related to the use of Medicaid claims
    Consistent with CDC reports, we found the percentage of          data. Medicaid-eligible beneﬁciaries are by deﬁnition ﬁnan-
abortions performed by means of mifepristone and misoprostol         cially disadvantaged and are not representative of all women
increased from 4.4% of total abortions in 2002 to 34.1% in           experiencing abortion. Conversely, a data set composed entirely
2015. Similarly, ER visits following mifepristone abortion           of low-income women may also be considered an advantage
grew from 3.6% of all postabortion visits in 2002 to 33.9% of        since results are unlikely to be explained by differences in
all postabortion visits in 2015. The trend toward increasing use     income or other factors strongly associated with income. The
of mifepristone abortion requires all concerned with health          lower risk of any ER visit following induced abortion among




Figure 7. Total emergency room (ER) visits per 1000 abortions.


                                                  Alliance.App. 304                                               EX. 17 pg. 08
            Case: 23-10362   Document: 95-4 Page: 60 Date Filed: 04/11/2023
       Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 10 of 12 PageID 418
Studnicki et al                                                                                                                  9




Figure 8. Miscoded spontaneous abortion emergency room (ER) visits per 1000 abortions.


Black women suggests that a more granular analysis of the          Administrative data are also subject to limitations regarding
inﬂuence of race is warranted. Services received by eligible       coding errors, inconsistent coding, and the exclusion of codes
women but paid by another source (eg, out of pocket) are not       considered nonessential for billing.16,17 There are inconsisten-
included in the claims data. Services received when the            cies in coding which may vary state by state. Our data extrac-
women were not eligible are similarly not included.                tion protocol required both an ICD code and CPT code to




Figure 9. Abortion-related emergency room (ER) visits per 1000 abortions.


                                                 Alliance.App. 305                                              EX. 17 pg. 09
             Case: 23-10362   Document: 95-4 Page: 61 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 11 of 12 PageID 419
10                                                                                    Health Services Research and Managerial Epidemiology


Table 2. Logistic Regression Odds Ratio Estimates (OR) and (Wald)          Funding
Conﬁdence Limits (CLs).
                                                                           The author(s) disclosed receipt of the following ﬁnancial support for
                                     Abortion-         Spontaneous         the research, authorship, and/or publication of this article: This work
                  Any ER Visit       Related Visit     Abortion Visit      was supported by the Charlotte Lozier Institute.

                          95%                95%               95%
                  OR      CLs        OR      CLs       OR      CLs
                                                                           ORCID iDs
                                                                           James Studnicki      https://orcid.org/0000-0003-2958-7493
Chemical          1.22    1.19 to    1.53    1.49 to   1.88    1.81 to     Tessa Longbons       https://orcid.org/0000-0003-0479-9166
 versus                     1.24               1.58              1.96
 Surgical
 Abortion                                                                  References
Race                                                                        1. Longbons T. U.S. abortion trends: 2019 and preliminary 2020.
  Black versus    0.59    0.58 to    0.68    0.66 to   0.72    0.68 to         Charlotte Lozier Institute. American Reports Series Issue 19,
 White                      0.61               0.71              0.76          September 2021. Accessed September 10, 2021. https://
  Hispanic        1.07    1.05 to    1.03    1.00 to   1.03    0.98 to         lozierinstitute.org/us-abortion-trends-2019-and-preliminary-2020/
 versus                     1.10               1.07              1.09
                                                                            2. U.S. Government Accountability Ofﬁce. Food and Drug
 White
  Other           0.91    0.89 to    0.88    0.85 to   0.85    0.81 to         Administration: Information on mifeprex labeling changes and
 versus                     0.93               0.91              0.89          ongoing monitoring efforts. GAO-18-292. Published March 28,
 White                                                                         2018. Accessed September 9, 2021.
Pregnancy 365    d prior versus no                                          3. Niinimäki M, Pouta A, Bloigu A, et al. Immediate complica-
  Prior            1.78    1.73 to   1.35    1.29 to   1.43    1.35 to         tions after medical compared with surgical termination of
 surgical                    1.82              1.41              1.52          pregnancy. Obstet Gynecol. 2009;114(4):795-804. doi: 10.
 abortion                                                                      1097/AOG.0b013e3181b5ccf9
  Prior           2.54    2.38 to    1.80    1.65 to   1.74    1.54 to      4. Carlsson I, Breding K, Larsson P-G. Complications related to
 chemical                   2.70               1.97              1.96
                                                                               induced abortion: a combined retrospective and longitudinal
 abortion
                                                                               follow-up study. BMC Women’s Health. 2018;18(1):158. doi:
  Prior live      1.52  1.48 to      1.09  1.04 to     1.12  1.04 to
 birth                    1.56               1.15              1.20            10.1186/s12905-018-0645-6
Age               0.993 0.992        1.003 1.001       1.000 0.997          5. Cleland K, Creinin MD, Nucatola D, Nshom M, Trussell J. Signiﬁcant
                          to                 to                to              adverse events and outcomes after medical abortion. Obstet Gynecol.
                          0.994              1.004             1.003           2013;121(1):166-171. doi: 10.1097/aog.0b013e3182755763
Months            1.008 1.007        1.006 1.005       1.006 1.006          6. Ireland LD, Gatter M, Chen AY. Medical compared with surgical
 Medicaid                 to                 to                to              abortion for effective pregnancy termination in the ﬁrst trimester.
 Eligibility              1.008              1.007             1.006           Obstet Gynecol. 2015;126(1):22-28. doi: 10.1097/AOG.
                                                                               0000000000000910
                                                                            7. Upadhyay UD, Johns NE, Barron R, et al. Abortion-related emer-
                                                                               gency department visits in the United States: an analysis of a
identify beneﬁciaries who had an induced abortion. To the                      national emergency department sample. BMC Med.
extent that some states or individual providers do not code an                 2018;16(1):88. doi: 10.1186/s12916-018-1072-0
abortion with an ICD code, our study population may under-                  8. Studnicki J, Reardon D, Harrison D, Fisher J, Skop I. Improving the
count the number of abortions. This undercount would likely                    metrics and data reporting for maternal mortality: a challenge to
be due to a random variation in coding protocols and is unlikely               public health surveillance and effective prevention. Online J Public
to affect the trends related in our ﬁndings.                                   Health Inform. 2019;11(2):e17. doi: 10.5210/ojphi.v11i2.10012
   In summary, mifepristone abortion is consistently and                    9. Schaible B. Improving the accuracy of maternal mortality and
progressively associated with increased morbidity in the                       pregnancy related death. Issues Law Med. 2014;29(2):231-242.
form of postabortion emergency room utilization among                      10. New MJ. Hyde @ 40: analyzing the impact of the Hyde amend-
the population of women with publicly funded abortions.                        ment. Charlotte Lozier Institute, On Point Series 12. 2016.
The determination of the causes and potential means of pre-                    Accessed September 9, 2021. https://s27589.pcdn.co/wp-content/
vention for this burden of illness should have the highest pri-                uploads/2016/09/OP_hyde_9.28.3.pdf
ority of our health agencies and elected ofﬁcials. Additional              11. Aultman K, Cirucci CA, Harrison DJ, Beran BD, Lockwood MD,
research is necessary to investigate the prevalence and type                   Seiler S. Deaths and severe adverse events after the use of mifep-
of effects beyond 30 days.                                                     ristone as an abortifacient from September 2000 to February 2019.
                                                                               Issues Law Med. 2021;36(1):3-26.
                                                                           12. Joint Mot. to Stay Case Pending Agency Review, Chelius
Declaration of Conﬂicting Interests                                            v. Becerra, Civ. No. 1:17-00493 JAO-RT (D. Haw.).
The author(s) declared no potential conﬂicts of interest with respect to   13. Upadhyay UD, Desai S, Zlidar V, et al. Incidence of emergency
the research, authorship, and/or publication of this article.                  department visits and complications after abortion. Obstet


                                                       Alliance.App. 306                                                    EX. 17 pg. 010
              Case: 23-10362   Document: 95-4 Page: 62 Date Filed: 04/11/2023
         Case 2:22-cv-00223-Z Document 1-18 Filed 11/18/22 Page 12 of 12 PageID 420
Studnicki et al                                                                                                                                   11


      Gynecol. 2015;125(1):175-183. doi: 10.1097/AOG.0000000000               Institute Associate Scholar and Chairman of the American
      000603                                                                  Association of Pro-Life Obstetricians and Gynecologist's Maternal
14.   Safe2Choose. Will medical staff be able to notice that I am having      Mortality Committee. She is the Board Chairman of Any Woman
      an abortion? Accessed September 9, 2021. https://safe2choose.org/       Can Pregnancy Resource Center-which specializes in free mental
      faq/medical-abortion-faq/during-abortion-with-pills/will-medical-       health counseling and is a board member of The Source for
      staff-be-able-to-notice-that-i-am-having-an-abortion                    Women-a consortium of holistic women's health care centers in
15.   Plan C. Abortion pills FAQ: Can I get in trouble for using abortion     Texas. She is married to a physician and is the proud mother of
      pills? Accessed September 9, 2021. https://www.plancpills.org/          two sons and a daughter.
      guide-how-to-get-abortion-pills#faq
                                                                              David C. Reardon is the director of Elliot Institute, a biomedical eth-
16.   Hicks J. The Potential of Claims Data to Support the
                                                                              icist, and a lead author on numerous studies and books examining the
      Measurement of Health Care Quality. Dissertation, RAND; 2003.
                                                                              risk factors and effects of pregnancy loss on women and families.
17.   Romano PS. Using administrative data to identify associations between
      implanted medical devices and chronic diseases. Ann Epidemiol.          John W. Fisher is currently an Associate Scholar at the Charlotte
      2000;10(4):197-199. doi: 10.1016/s1047-2797(00)00041-7                  Lozier Institute. Following a 22 year career as a nuclear submarine
                                                                              ofﬁcer, he served as the Director of Life Support and engineering at
Author Biographies                                                            the Florida Aquarium, Chief Financial Ofﬁcer of Technology
                                                                              Transfer Services, and 10 years as an Assistant Professor at the
James Studnicki is currently Vice President and Director of Data
                                                                              University of North Carolina at Charlotte College of Health and
Analytics at the Charlotte Lozier Institute in Arlington, Virginia.
                                                                              Human Services. He holds a PhD in Information Systems and
Over a span of four decades, he held academic appointments at the
                                                                              Decision Sciences from the University of South Florida, a JD from
Johns Hopkins University School of Hygiene and Public Health,
                                                                              Massachusetts School of Law, and Master's degrees from the
the University of South Florida College of Public Health, and the
                                                                              Massachusetts Institute of Technology (Ocean Engineering),
University of North Carolina, Charlotte, where for ten years he
                                                                              University of Notre Dame (Administration), Indiana University
served as the Irwin Belk Endowed Chair in Health Services
                                                                              (Business Administration), and the United States Naval War College
Research. He holds Doctor of Science (ScD) and Master of Public
                                                                              (National Security Policy). He is currently a member of the bar in
Health (MPH) degrees from Johns Hopkins and a Master of
                                                                              New Hampshire and Massachusetts.
Business Administration (MBA) from the George Washington
University.                                                                   Maka Tsulukidze, MD, PhD, MPH is an Assistant Professor at the
                                                                              Florida Gulf Coast University, Marieb College of Health & Human
Donna J. Harrison, M.D. dip ABOG received her M.D. from the
                                                                              Services. Before joining FGCU, she was a Postdoctoral Fellow at
University of Michigan and completed ObGyn residency at a
                                                                              the Dartmouth Center for Health Care Delivery Science. She has
University of Michigan Afﬁliate hospital (St. Joseph Mercy
                                                                              earned a PhD degree from the University of North Carolina at
Hospital). She is currently CEO of the American Association of Pro-
                                                                              Charlotte and MD from Tbilisi Medical Academy. Previously she
Life Obstetricians and Gynecologists.
                                                                              was a UNICEF National Consultant to the Parliament of Georgia,
Tessa Longbons is a research associate with the Charlotte Lozier              Short-Term Consultant at PAHO/WHO and Senior Expert at the
Institute. Her research focuses on abortion statistics at the state and       Parliament of Georgia, Committee on Health and Social Issues. She
national levels and the changing landscape of abortion policy, provi-         has also worked as a Deputy Chair/Project Manager for the Task
sion, and access in the United States. She received her B.A. from             Force for Prevention of Micronutrient Malnutrition and Food
Thomas Edison State University.                                               Fortiﬁcation Initiatives established under the Parliament of Georgia,
                                                                              Committee on Health and Social Issues.
Ingrid Skop, M.D., F.A.C.O.G. has been a practicing obstetrician-gyne-
cologist in San Antonio, Texas for 24 years. She received her Bachelor of     Christopher Craver is an independent health services researcher afﬁl-
Science in physiology from Oklahoma State University and her medical          iated with the Charlotte Lozier Institute focused on the use of secon-
doctorate from Washington University School of Medicine. She com-             dary healthcare data sources in population based scientiﬁc research.
pleted her residency in obstetrics and gynecology at the University of        He is widely published in many healthcare topics including cancer
Texas Health Science Center at San Antonio. She is a Fellow of the            treatment, rare disease populations, and the efﬁcacy of surgical
American College of Obstetrics and Gynecology, a Charlotte Lozier             services.




                                                         Alliance.App. 307                                                     EX. 17 pg. 011
    Case: 23-10362    Document: 95-4 Page: 63 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-21 Filed 11/18/22 Page 1 of 13 PageID 434




                 Exhibit 20
       Katherine A. Rafferty & Tessa Longbons,
#AbortionChangesYou: A Case Study to Understand the
   Communicative Tensions in Women's Medication
 Abortion Narratives. 36 Health Commc’n 1485 (2021)




                         Alliance.App. 308
            Case: 23-10362    Document: 95-4 Page: 64 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-21 Filed 11/18/22 Page 2 of 13 PageID 435


See discussions, stats, and author profiles for this publication at: https://www.researchgate.net/publication/341823567



#AbortionChangesYou : A Case Study to Understand the Communicative
Tensions in Women’s Medication Abortion Narratives

ArticleddinddHealth Communication · June 2020
DOI: 10.1080/10410236.2020.1770507



CITATIONS                                                                                              READS
6                                                                                                      1,678

2 authors, including:

            Katherine Rafferty
            Iowa State University
            17 PUBLICATIONSddd123 CITATIONSddd

                SEE PROFILE




Some of the authors of this publication are also working on these related projects:


              End-of-Life Communication View project




 All content following this page was uploaded by Katherine Rafferty on 09 June 2020.

 The user has requested enhancement of the downloaded file.
                                                                                       Alliance.App. 309                  EX. 20 pg. 01
    Case: 23-10362    Document: 95-4 Page: 65 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-21 Filed 11/18/22 Page 3 of 13 PageID 436
                                     




                     ! "# !       $%




     &  "' (" "
          )* + ,
  -"  &.    )

  /    &!0## '1*2 . 

  *              
     !" !  ! ## $ %     &# '( ! $     
  )  % *+ ,## $  *-./00120304506676

  * 3                  




                   



             !" # $ %  & $



             ' ($ $ %



             ' () "$* $$




                          +,"-)    .$%%$ %$.  $
                    ((($ .  % " $%  & $/. "$ 0& $) 1

                                           Alliance.App. 310                                EX. 20 pg. 02
              Case: 23-10362    Document: 95-4 Page: 66 Date Filed: 04/11/2023
          Case 2:22-cv-00223-Z Document 1-21 Filed 11/18/22 Page 4 of 13 PageID 437
HEALTH COMMUNICATION
https://doi.org/10.1080/10410236.2020.1770507




#AbortionChangesYou: A Case Study to Understand the Communicative Tensions in
Women’s Medication Abortion Narratives
Katherine A. Raffertya and Tessa Longbonsb
a
Iowa State University; bCharlotte Lozier Institute



    ABSTRACT
    One out of four women in the United States will have an abortion by age 45. While abortion rates are
    steadily declining in the United States, the rate of medication abortions continues to increase, with 39%
    of all abortions being medication abortions. Our study is one of the first to analyze women’s narratives
    after having had a medication abortion. Using relational dialectics theory, we conducted a case study of
    the nonpartisan website, Abortion Changes You. Our contrapuntal analysis rendered four sites of
    dialectical tension found across women’s blog posts: only choice vs. other alternatives, unprepared vs.
    knowledgeable, relief vs. regret, and silence vs. openness. Each site of struggle characterized a different
    noteworthy moment within a woman’s medication abortion experience: the decision, the medication
    abortion process, identity after abortion, and managing the stigmatizing silence before and after the
    abortion. We discuss theoretical and practical implications about how the larger politicized discourses
    prevalent within the abortion debate impact the liminality of women who are contemplating
    a medication abortion and affect their own narrative construction about the medication abortion
    experience.




One out of four women will undergo an abortion procedure                        to a protocol where most of the abortion occurs individually
in the United States by age 45 (R. K. Jones & Jerman, 2017),                    at home with limited clinician assistance (Biggs et al., 2019).
and 862, 320 reported abortions occur each year (Jones et al.,                  Given the privatization of abortion provision, research is
2019). Despite its frequency, abortion remains a highly con-                    needed to examine the distinct experiences of women who
tested and stigmatized biopolitical public health issue in the                  have undergone this type of abortion. After all, researchers
United States (Altshuler et al., 2017). The historic Roe v. Wade                have found that women often elect to have a medication
case has resulted in two nationalized political movements –                     abortion over a surgical abortion because of more privacy,
Right to Life and Right to Choice – that have juxtaposed                        convenience, and the perception of having more control
stances on the legality of abortion. However, the stigma and                    (Newton et al., 2016). However, medication abortion has
shame associated with abortion precede and transcend this                       been found to have a higher complication rate that results in
historic case. Stormer (2010) concluded that a collective mem-                  more emergency department visits post-medication abortion
ory of secrets and shame has characterized the topic of abor-                   compared to post-surgical abortion (Upadhyay et al., 2015).
tion since Planned Parenthood’s 1955 conference, “Abortion                          Medication abortion practices in the U.S. adhere to the
in the United States”.                                                          following evidence-based guidelines: using mifepristone in
   While abortion rates are steadily declining in the U.S.                      combination with a prostaglandin to carry success rates up
(Jones et al., 2019), the rate of medication abortions continues                to 99% for early pregnancy termination with rare occurrence
to increase. In 2000, the U.S. Food and Drug Administration                     of serious adverse events. However, the focus of this research
(FDA) approved mifepristone to be used in combination with                      is on successful terminations, increases in abortion access, and
misoprostol as a form of medication abortion. Since then, the                   reductions of in-person clinic visits (H. E. Jones et al., 2017).
annual number of medication abortions has risen steadily: less                  There remains a dearth of research, particularly in the U.S.,
than 6% of all abortions in 2001 to 39% of all abortions in                     that examines women’s personal experiences with having this
2017 (Jones et al., 2019, 2008). Between 2014–2017, the num-                    type of abortion procedure (e.g., acknowledging their emo-
ber of medication abortions provided at facilities other than                   tions, understanding their self-efficacy with completing the
hospitals increased by 25% (Jones et al., 2019). Presently, over                abortion at home, being aware of whether they are adequately
one-third of all reported abortions in the U.S. are medication                  informed about the process). To our knowledge, the only
abortions (Jones et al., 2019). In 2016, the FDA protocol                       study is from Sweden; researchers used semi-structured tele-
expanded provider eligibility for dispensing mifepristone to                    phone interviews with 119 women who had a medication
women. Thus, abortion provision is transitioning from for-                      abortion (Hedqvist et al., 2016). They found that almost half
malized medical procedures conducted in health care settings                    (43%) experienced more bleeding than expected, and one-

CONTACT Katherine A. Rafferty         rafferty@iastate.edu   Communication Studies Program, Department of Psychology, Iowa State University, USA

                                                             Alliance.App. 311                                                     EX. 20 pg. 03
© 2020 Taylor & Francis Group, LLC
                 Case: 23-10362         Document: 95-4 Page: 67 Date Filed: 04/11/2023
2       Case     2:22-cv-00223-Z
        K. A. RAFFERTY AND T. LONGBONS Document 1-21 Filed 11/18/22 Page 5 of 13 PageID 438

fourth (26%) bled for more than four weeks. In addition, one-       Relational Dialectics Theory (RDT)
third (34%) stated that they received insufficient information      Because talking about one’s abortion experience remains stig-
about what to expect. Women who had never had an abortion           matized and muted (Cockrill & Nack, 2013), examining
nor had gone through childbirth were more likely to feel            women’s stories after having had a medication abortion may
misinformed.                                                        illuminate the competing discourses surrounding this debated
   Scholars know that the medication abortion process is            moral and social issue (e.g., largely evident in the two polar-
distinct from surgical abortions, with the features of medica-      ized movements: Right to Choice v. Right to Life), as well as
tion abortion (e.g., lack of medical presence, time required for    some of the larger dominant discourses from the polarized
abortion completion, personal experiences with pain and             political movements that influence how women tell their own
bleeding) influencing women’s perception and satisfaction           medication abortion story. Given this goal, RDT (Baxter,
(Newton et al., 2016). Yet, this research on women’s satisfac-      2011) is a relevant framework to assess the competing cultural
tion with medication abortion is often conflicting (Kimport         norms and expectations, which are also referred to as dis-
et al., 2012) and limited (Hedqvist et al., 2016). Given that       courses. At any given moment, discourses may be dominant/
women increasingly prefer medication abortion over surgical         centripetal or marginalized/centrifugal (i.e., anything that
abortion (Newton et al., 2016), the need for studying women’s       deviates from the dominant discourse). Scholars use RDT as
experiences post-medication abortion becomes imperative.            a framework to examine the interplay between certain dis-
                                                                    courses that then construct social meaning and reality for
                                                                    individuals. Within the theory, there are four types of utter-
Importance of analyzing unsolicited blogging narratives             ances (i.e., speaking chains) from which dialectical tensions
about one’s abortion                                                (i.e., centripetal vs. centrifugal) may stem: distal already-
                                                                    spokens – utterances reflecting the cultural meaning and dis-
To understand women’s medication abortion experiences, it is        courses that cultural members give voice to in their talk;
important to study platforms where women engage in unsoli-          proximal already-spokens – utterances conveying past mean-
cited talk. Unsolicited talk is ideal for collecting formative      ings and discourses within a given relationship; proximal not-
research that can be studied to explore individual and cultural     yet-spokens – immediate response from the hearer in the
experiences (Baxter, 2011). First, the audience of these texts is   interaction; and distal not-yet-spokens – anticipated responses
a “generalized other” (Mead, 1982), or culture, rather than         of a generalized other within the culture. The purpose of this
a specific individual with whom the author has a relationship       paper is to examine how, if at all, these four types of utterance
(Langellier & Peterson, 2004). The absence of a specific audi-      chains are present within women’s medication abortion
ence encourages narrators to provide an unadulterated account       narratives.
of their experience, rather than tailor their story to specific         A second aspect of RDT (Baxter, 2011) is to understand
individuals (e.g., a friend who has had a certain stance on the     how social reality is created discursively through power.
abortion issue). Similarly, anonymity allows for potentially        Power is located in the struggle between marginalized/centri-
muted or stigmatized groups to post information without fear        fugal and dominant/centripetal discourses. There are three
of sanctioning. In a culture where abortion remains highly          ways that power can be located within discourses: diachronic
contested and talk about having had an abortion is often            separation, synchronic interplay, and discursive transforma-
muted or stigmatized (Altshuler et al., 2017), it is likely that    tion. Diachronic separation occurs when discourses emerge in
women may prefer to self-disclose their medication abortion         different texts or locations. Synchronic interplay is when dis-
experiences online rather than via face-to-face channels.           courses negate (total rejection of a competing discourse),
Furthermore, because women traditionally constitute a co-           counter (offer limited legitimacy to a discourse), and/or enter-
culture who have historically been muted and must strategically     tain (consider multiple worldviews/discourses or general
use communication to participate in a dominant patriarchal          ambivalence toward discourses) one another. Finally, discur-
society (M. Orbe, 2005; M. P. Orbe, 1998), scholars must study      sive transformations occur when the interplay of competing
platforms where women are sharing unsolicited stories in back-      discourses creates new meanings rather than remaining in
channel outlets (e.g., online blogs).                               opposition to one another (Baxter, 2011). This current study
                                                                    will focus on examining the synchronic interplay among the
Online blogs as a platform for unsolicited talk                     centripetal and centrifugal discourses.
One backchannel platform of unsolicited talk is online blogs.
Blogs provide a computer-mediated platform where people
                                                                    A case study of women who have experienced medication
can self-disclose their personal thoughts, feelings, and experi-
                                                                    abortion
ences to others online. The proliferation of blogs in the last
decade has transformed the way that we, as a society, “share,       To analyze women’s personal narratives and the larger dis-
create, and curate information with individuals and commu-          courses influencing their talk about their own medication
nities” (Becker & Freburg, 2014, p. 415). Blogs often resemble      abortion, we conducted a case study of the website www.
online personal journal entries that enable writers to freely       abortionchangesyou.com. We selected this website for sev-
express themselves in ways that may be less face-threatening        eral reasons: it is not openly politicized, bloggers do not
or stigmatizing (M. Jones & Alony, 2008). One of the many           interact with others, bloggers post anonymously, bloggers
applications and uses of blogs is to share experiences and          do not need to create an account in order to post, and the
events through storytelling.                                        platform is a space for unsolicited stories with no reward or
                                                 Alliance.App. 312                                             EX. 20 pg. 04
            Case: 23-10362    Document: 95-4 Page: 68 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-21 Filed 11/18/22 Page 6 of HEALTH
                                                                    13 PageID      439
                                                                           COMMUNICATION                                              3


compensation to those who post. Furthermore, from                    Data analysis and synthesis
a strategic storytelling standpoint (Tyler, 2007), it is impor-
tant to study women’s blogs from an organization that                The case study approach allows for different data analysis
recognizes and respects each woman’s individual narrative,           strategies (Norander & Brandhorst, 2017). Because the pur-
as opposed to propagating narratives that openly align with          pose of our case study is to develop a thick description of the
the agenda of only one political movement. The woman                 case, using an interpretive analytic strategy is most prudent.
who created this website has had an abortion herself and             We selected Baxter’s (2011) contrapuntal analysis to study the
openly shares this information on the “About Us” page. The           meanings circulating around individual and relational identi-
naming of her own abortion experience grounds co-cultural            ties evidenced within the language choices of the women
theorizing (M. Orbe, 2005; M. P. Orbe, 1998) such that               blogging about their own medication abortion. Given the
other women who feel muted may be empowered and cap-                 larger competing discourses about the legality of abortion in
able of finding similar language strategies.                         the U.S., we felt that the struggle of competing and contra-
    In this case study, we explore the complexity and conse-         dictory discourses would likely be apparent in women’s per-
quentiality of women’s language choices with anonymously             sonal blogging narratives. Further, contrapuntal analysis
telling their own medication abortion story, as well as offer        (Baxter, 2011) offered a critical perspective to our analysis as
the potential to capture the interplay of individual, organiza-      we studied the voices of marginalized women (e.g., women
tional, and social discourses surrounding the abortion debate.       who have had a medication abortion) whose perspectives are
The current divisiveness surrounding the socio-political cli-        often muted and stigmatized in society.
mate in the U.S. about abortion provides further exigency and            To understand the competing discourses and how meaning
credence for this research. Our critical analysis is rooted in the   was constructed through their interplay, we conducted the
interpretive paradigm with the purpose of explaining, describ-       first stages of thematic analysis to identify the discourses
ing, and illustrating the stories that women share on this           evident within each blog post (Braun & Clarke, 2006). This
website (Tracy, 2013). The following research questions              process required the three coders to independently familiarize
guide our iterative analysis:                                        themselves with the entire data set: reading the blogs several
                                                                     times and conducting line-by-line coding that captured the
RQ1: What topics are women disclosing to the “generalized            essence of the story in each line. Many of the inductive
other” in their blog?                                                analytic codes applied to the text were descriptive (e.g., uncer-
                                                                     tainty; not ready), process (e.g., discovering pregnancy, taking
RQ2: What (if any) sites of struggle characterize women’s            the pills), or in vivo codes (e.g., wanted baby; alone; Saldaña,
abortion narrative?                                                  2013). The coders met regularly for five months to discuss the
                                                                     codes independently applied to each blog post. During this
                                                                     time, codes emerged into themes as processes were identified
Methods                                                              in the data and repetitively noticed by all three coders (e.g.,
We conducted a case study approach (Arden Ford et al., 2014)         changing self perception, silence, responsibility, good parent-
of one website, www.abortionchangesyou.com. Case studies             ing). Discrepancies in coding were discussed during coding
are a contextual examination used to understand                      meetings and resolved through group consensus (Strauss &
a phenomenon within a particular context “and with respect           Corbin, 1990).
to multiple perspectives within that context” (Arden Ford                During the third and fourth months of data analysis, we went
et al., 2014, p. 118). By employing a case study approach, we        back to the data set to identify where discourses competed (e.g.,
were able to draw on multiple perspectives (e.g., 98 different       culpability; justification). Here, we paid particular attention to
blog stories) that were rooted in a specific context. This           where the bloggers used instances of negating (e.g., claiming
methodological choice is common in other communication               another discourse as irrelevant or rejecting it), countering (e.g.,
research, where the unit of analysis is an organization and the      offering a particular discursive position in replacement of
goals are to provide an in-depth understanding of the unique         another), and entertaining (e.g., not completely rejecting
particulars and complexities of the case within a larger social      a discourse, but instead noting the potential possibilities with
context (Norander & Brandhorst, 2017).                               different discourses; Baxter, 2011). Women used negating when
   Our case study included 98 blogs from women who have              saying, “can’t,” “not,” “couldn’t,” and “never.” Examples of
had a medication abortion and shared their story on the              countering were most apparent when women used the word
website. We included all blogs posted between                        “but.” Entertaining often occurred when women used the
October 2007 – February 2018. This date range reflects the           words “possibility” and “could have.” Finally, we identified
time period between the submission of the first medication           where and how competing discourses interpenetrated (Baxter,
abortion blog on the website in 2007, and the point at which         2011). Dialogically contractive discursive practices are silenced
we extracted our data for analysis in 2018. Women’s blogs            discourses. Examples of these discursive practices included
ranged in length from one paragraph to three pages of text,          negating talk, such as: “can’t talk about the abortion,” or “there
single-spaced (the average number of words for the 98 blogs          was no other choice.” In contrast, dialogically expansive discur-
was 655 words). All 98 blogs included content about one’s            sive practices are discourses that are encouraged and amplified.
own medication abortion; the vast majority (91 women; 93%)           Women used these discourses when saying things like: “I don’t
also discussed the events and emotions experienced before            want the procedure, but I don’t want the baby” or “hoping for
and after their medication abortion.                                 a brighter future now that it is over.”
                                                  Alliance.App. 313                                               EX. 20 pg. 05
                 Case: 23-10362         Document: 95-4 Page: 69 Date Filed: 04/11/2023
4       Case     2:22-cv-00223-Z
        K. A. RAFFERTY AND T. LONGBONS Document 1-21 Filed 11/18/22 Page 7 of 13 PageID 440

    Data were analyzed until the point of theoretical saturation     The decision: Only choice vs. other alternatives
(i.e., no new thematic categories were present in the blog
                                                                     Part of women’s narratives included a detailed account of
posts; Strauss & Corbin, 1990), which occurred after the 54th
                                                                     their decision to have a medication abortion. This decision
blog post. However, we continued to analyze the remaining
                                                                     was described as being rife with contradiction, and not
blog posts in an effort to verify that our analysis of the
                                                                     a flippant choice. Women enumerated various reasons that
discourses evident in the 54 posts accurately reflected all of
                                                                     were influential in their decision-making process: bad tim-
the posts within the entire data set. Further, we wanted to
                                                                     ing, financial instability, relationship problems, lack of
extract the best exemplars from the entire case study and
                                                                     family support, not married, too young, too many other
desired that quotations within all posts be considered for
                                                                     children, not prepared to be a parent yet, and/or best deci-
representation. Clear and concise exemplars of competing
                                                                     sion given the circumstances. After stating one of the afore-
discourses within women’s narratives were then selected and
                                                                     mentioned reasons, 92 women (94%) also explained that
agreed upon by all coders.
                                                                     abortion was the only or best option given the circum-
                                                                     stances. For example, one woman said: “I felt the child
                                                                     growing inside of me. I was rubbing my stomach without
Trustworthiness and rigor
                                                                     me even knowing. I felt the doubt in my heart, but kept
Evaluation of the quality of case study research should be           telling myself this is the best decision I needed to make”
determined by criteria associated within the naturalistic para-      (6–18-17). A different woman recounted:
digm (Arden Ford et al., 2014). Trustworthiness is the criter-
                                                                        “I always leaned more towards keeping the baby and my boy-
ion that assesses the credibility, transferability, dependability,      friend more towards abortion. I knew I could have the baby but it
and confirmability of the data collection and analysis pro-             would be difficult. We both work jobs that barely pay over mini-
cesses (Lincoln & Guba, 1985). We upheld these principles               mum wage and we both were scared to grow up and care for
when conducting this study by beginning with a careful                  a child” (10-24-17).
design that clearly defined its purpose, research questions,         Collectively, these exemplars illustrate how any possibility of
and notion of “boundedness” (i.e., establishing the limits           keeping the baby was negated by one of the reasons that
and context of the case; Arden Ford et al., 2014). Second,           warranted the need for having a medication abortion. Many
we spent sufficient time developing and analyzing the case:          of the reasons women cited for choosing abortion align with
our analysis transpired over five months. Third, we upheld the       the discourses from the Right to Choice movement: “A preg-
principles of reflexivity by using inductive coding for all blog     nancy to a woman is perhaps one of the most determinative
posts and writing individual and group memos throughout              aspects of her life. It disrupts her body. It disrupts her educa-
the entire coding process as a way to remain transparent and         tion. It disrupts her employment. And it often disrupts her
keep a data audit. Fourth, we had a team of three female             entire family life” (Roe v. Wade).
coders, which allowed for the presence of multiple feminine             However, the decision to have a medication abortion was
perspectives.                                                        not always independently made by the woman. In fact, 52
                                                                     women (53%) reported that the father to their child or other
                                                                     family members (e.g., parents) negated women’s own desires
Findings                                                             to keep the baby. For example, one woman said:
Our research questions focused on the topics that women                 “I remember my husband telling me, ‘well, don’t expect me to be too
discussed in their personal online blogging narrative posted            happy with the idea of having it if you decide to keep it. I won’t be
to www.abortionchangesyou.com (RQ1), and what (if any)                  too loving.’ That was a knife through my heart and I made the tough
sites of struggle were evident in these narratives (RQ2). Our           decision to go through with the abortion” (7-6-12).
contrapuntal analysis (Baxter, 2011) rendered four sites of
                                                                     Other family members also influenced women’s medication
dialectical tension: only choice vs. other alternatives, unpre-
                                                                     abortion decision, albeit her own desires to keep her baby:
pared vs. knowledgeable, relief vs. regret, and silence vs.
openness. Each site of struggle characterized a different               “But my father on the other hand was a different story. He is an
noteworthy moment within a woman’s medication abortion                  old school Puerto Rican who told me that I had to leave if I kept
                                                                        the baby. I had 2 weeks to get an abortion or else he would disown
experience: the decision, the medication abortion process,
                                                                        me forever” (3-8-2018).
identity after the abortion, and managing the stigmatizing
silence before and after the abortion. When recounting their         In both accounts, women communicated their personal
decision to have an abortion, women referenced the struggle          choice to have their baby; yet, their choice was negated by
of only choice vs. other alternatives. As women discussed the        family and friends who advocated that abortion was neces-
medication abortion process, the competing discourse of              sary. Centrifugal discourses about others influencing or pres-
unprepared vs. knowledgeable was evidenced. Women’s nar-             suring women to have an abortion are marginalized
ratives about their identity after the abortion indicated the        discourses.
dialectical struggle of relief vs. regret. Finally, the challenges      Finally, when making their decision, 48 women (49%)
with managing the tension between silence vs. openness               reported vacillating between keeping their baby and having
pervaded women’s narratives. Below we discuss each site              a medication abortion. Ultimately, outside circumstances or
of struggle using exemplar quotes from women’s blogs.                other people influenced their decision to abort. As mentioned
Quotes were not edited from their original post.                     earlier, 92 women (94%) shared that abortion was the best or
                                                  Alliance.App. 314                                                    EX. 20 pg. 06
             Case: 23-10362    Document: 95-4 Page: 70 Date Filed: 04/11/2023
         Case 2:22-cv-00223-Z Document 1-21 Filed 11/18/22 Page 8 of HEALTH
                                                                     13 PageID      441
                                                                            COMMUNICATION                                                            5


only option available given the circumstances. In many of                     were pulled out slowly. I collapsed screaming on my bathroom
these narratives, women did not believe nor realize that                      floor, sweat, tears, blood, vomit, and shit all over me” (10-9-09).
other alternatives, besides abortion, were tenable options                 Similarly, a different woman recounted:
until after having the abortion. For instance, one woman said:
                                                                              “They told me, if you by chance are in pain you can take these
   “They all tell you ‘it’s your choice’ in the moment, but you don’t         pain relievers. If by chance I’m in pain? That sounded like the
   feel that it is. Being unable to afford it, unable to tell your loved      process would be easy and not so painful. Well NO that was not
   ones, not having the help or feeling unable to support a child.            the case, within 30 minutes I felt really bad cramping. It just kept
   When your partner doesn’t want it like you do. All these things            getting worse and worse. I was crying and moaning from the pain.
   push you, blind you to a decision that you don’t realize will              I literally thought I was dying” (9-2-17).
   destroy you” (8-23-17).
                                                                           In both instances, women’s personal abortion experiences did
Similarly, another woman recounted: “I was kind of excited                 not align with the proximal-already-spoken messages (e.g.,
but I was so scared to tell my family …. I told my mom and                 “it’s just a pill”) that they were told by their medical providers.
her first response was I hope you’re getting an abortion.                      When women’s personal experiences contradicted what
You’re going to be a terrible mom” (11-5-17). Both exemplars               they were originally told by health care providers, family, or
illustrate the distal and proximal already-spoken discourses               friends women felt deceived. One woman communicated her
that influenced each woman’s decision to have a medication                 frustration by saying: “They told me it wouldn’t hurt and
abortion. Ultimately, these centripetal discourses (coming                 I wouldn’t feel a thing. THAT WAS SUCH A LIE. I felt
from society, the pro-choice movement, other people in                     everything, I heard everything, I seen everything. I ended up
their lives, or their own fears) negated the centrifugal dis-              blacking out from the pain and puking all over myself” (11-
course that other alternatives (adoption or keeping their baby)            5-17). Similarly, another woman said:
were justifiable options available to them.
                                                                              “We were told we would go back to normal and it won’t affect us
                                                                              but they were wrong!!! All I feel is emptiness and hatred. I used to
                                                                              be the happiest most positive girl. All I want is to take it back”
The medication abortion process: Unprepared vs.                               (12-15-14).
knowledgeable
                                                                           Even if women did not explicitly report feeling deceived,
Medication abortions where women undergo most of the                       many women stated that they were inadequately prepared
process individually at home with limited assistance from                  about what to expect. For instance, one woman said: “I
a medical provider are becoming more commonplace (Biggs                    knew to expect blood clotting, but nothing could’ve prepared
et al., 2019; H. E. Jones et al., 2017). While this process is             me for seeing her body. It was the color of my own skin, and
generally reported to be safe and adhere to evidence-based                 was actually starting to look like a person” (1-8-16). Within
guidelines (H. E. Jones et al., 2017), little is known about               women’s narratives, they expressed a desire for more detailed
women’s personal experiences with having this type of abor-                information about things such as: potential side effects, the
tion. All women in this case study reported having had                     intensity of cramping and bleeding, what to do after passing
a medication abortion. Forty-eight women (49%) provided                    the baby, and potential negative emotions (e.g., fear, uncer-
detailed accounts of their actual medication abortion experi-              tainty, sadness, pain) felt after the abortion. When this com-
ence at home. Women said things like: “I felt her come out”                prehensive information was not communicated to them prior
(1-8-16). Some women detailed the hardships of this process                to taking the pills at home, women reported feeling misled,
by saying: “I was in so much pain on the bathroom floor”                   misinformed, and even deceived. These types of experiences
(3–15-18); “the pills made me vomit, lose control of my                    and feelings after having had a medication abortion remain
bowels, sweat, faint, pass out, and go into full labor” (10-               centrifugal discourses that are muted within the abortion
9-09); and “I lay on my bed in the fetal position, holding                 debate.
my stomach” (9-5-15). Other women did not self-report such
negative experiences: “The actual process of taking the pill
was frightening but not as bad as I imagined” (9-8-15) and “I              Identity after medication abortion: Relief vs. regret
just popped some pills and got a period” (7-1-15).                         A third site of dialectical struggle was found in women’s talk
   In analyzing women’s talk about the medication abortion                 about their identity after the medication abortion. Most
process, a second site of struggle was identified: knowledgeable           women (N = 81; 83%) reported that their medication abortion
vs. unprepared. In this struggle, women discussed how they                 changed them, which is not surprising given the name of the
were told certain information about the medication abortion                website: Abortion Changes You. Of noteworthy significance is
process (e.g., when to take the pills, what the pills do, the need         understanding how women talked about these changes and
to contact a provider if complications arise), but ultimately              the tension evident in this part of their narrative. Of the 81
this information was insufficient, limited, or misleading.                 women (83%) who stated feeling changed after their medica-
Fourteen women (14%) reported being inadequately prepared                  tion abortion, 75 women (77%) reported being changed in
about what to expect during the medication abortion process.               a negative way. Here, women said things like: “I really thought
For example, one woman said:                                               that I could somehow go back to the way things were before
   “They lied to me and said they would give me some pills that            finding out I was pregnant. But I cannot. I am not the same
   would make it just like a late period with a little cramping … The      person, and my husband is certainly not the same either”
   pain of the contractions was so intense I felt like my intestines       (7–11-11). Negative changes often occurred when women’s
                                                         Alliance.App. 315                                                   EX. 20 pg. 07
                   Case: 23-10362         Document: 95-4 Page: 71 Date Filed: 04/11/2023
6         Case     2:22-cv-00223-Z
          K. A. RAFFERTY AND T. LONGBONS Document 1-21 Filed 11/18/22 Page 9 of 13 PageID 442

actual abortion experience did not align with their precon-                 term regret was rife with contradiction and also included
ceived ideas about what to expect. These ideas were informed                talk about initial relief. For instance, one woman said: “I
by larger discourses from society, as well as messages from                 know I did the right thing for myself and it would be a lot
others (e.g., health care providers). Three women indicated                 harder for me right now. But I still would give anything to go
a positive change after their abortion by noting something                  back in time and keep my baby” (11–19-12). Regret was
like:                                                                       regarded as a process that was realized over time and through
                                                                            one’s life experience. One woman stated: “Had I known how
    “Abortion did change my life … As soon as the stomach cramps
    (only slightly worse than regular menstrual pains) went away,
                                                                            badly I would feel now, I would have kept the baby, even if
    I felt like a whole new person. I couldn’t believe how much energy      I had to go through it alone” (10–21-15). Another woman
    I had again. It was like waking out of a deep depression” (7-1-15).     elaborated upon this process by saying:
Positive changes were denoted by experiencing an initial sense                 “Knowing what I know now at almost a year later I would not
of relief with no longer being pregnant. Finally, three women                  have the abortion. That was my child and I should have done
                                                                               what I needed to do to give them a great life. I thought I had no
were ambivalent or didn’t report their change as positive or                   options but I did. I should have put my child first. No matter how
negative. One woman said: “I truly believe there is no right                   early the abortion is its still a growing life and i wish i had done
and wrong with this situation, it is a life changer but it’s your              things differently” (4-30-17).
choice” (9-7-10).
                                                                            In both accounts, women defined regret as the emotional
   Women discussed various issues when talking about
                                                                            pain, suffering, remorse, and guilt felt after the medication
change: impact on their emotional health as a result of the
                                                                            abortion. Yet, these emotions were often coupled with initial
abortion, differences in their relationship with their partner/
                                                                            feelings of relief from no longer being pregnant. In sum, the
spouse, and new perspectives on their general views of abor-
                                                                            decision to have a medication abortion was significant, trans-
tion. However, conflicting emotions were evident across all
                                                                            formative, and lifechanging for these women. One woman
women’s blog posts. For instance, one woman said:
                                                                            noted this change by saying: “From the outside, our life
    “I went home and confessed to my mother … She helped pull the           looks exactly the same as it would have. But on the inside,
    gigantic blood clots from my body … No one told me it would be          everything has changed for me” (10–21-15). Collectively, these
    like this; the clinic simply gave me what I asked for without telling   accounts expose how the different emotional changes resulted
    me what it entailed” (7-20-16).
                                                                            in a lived, dialectical tension between their life before the
Similarly, another woman recounted: “I thought maybe after                  abortion and their life after the abortion.
the due date I would feel better, but it doesn’t end there. It
NEVER ends! The pain and emptiness stays there forever”
(4–30-17). In these different accounts, the women alluded to                Managing the comprehensive stigmatizing silence:
their initial expectations of what the medication abortion                  Silence vs. openness
would entail or what others told them would happen after
their abortion. When a woman’s actual medication abortion                   Across women’s narratives, there existed an overarching dia-
experience did not align with these messages, women felt                    lectical tension of silence vs. openness, which was difficult for
disempowered, vulnerable, lost, upset, and sometimes                        many women to manage when interacting with others. In this
deceived.                                                                   struggle, women shared how their medication abortion was
   When discussing the changes experienced after the abor-                  often a solo, private experience that was not openly shared
tion, many women talked about emotional changes. One                        with others. Many women decided not to inform certain
woman said:                                                                 family members about their pregnancy and abortion.
                                                                            Women noted feelings of shame, embarrassment, worry, or
    “At first it all seemed like a weight had been lifted and everything    fear as some of the reasons for not telling others. Along with
    was okay then I started to feel really sad and low and now all I do     stating these emotions, women said things like: “I never told
    is think about how many weeks pregnant I would have been and
    what my baby would look like and I miss so much” (4-26-10).
                                                                            the father and I don’t intend to” (8-4-17); “I don’t know if
                                                                            I will ever tell my husband and children about what I did”
As mentioned, processing one’s abortion experience was emo-                 (2–11-12); or “I couldn’t talk to my family” (3–16-17). The
tional and took time. Some women wrestled with experiencing                 initial decision to remain silent made it difficult to talk openly
negative and difficult emotions after having their abortion. In             with others about their feelings and experiences after their
fact, 37 women (38%) explicitly stated problems with anxiety,               medication abortion. Silence was also experienced in other
depression, drug abuse, and suicidal thoughts as a result of the            ways: one woman was glad she was home alone during her
abortion. For example, one woman said: “I am haunted by the                 abortion so no one could hear her, while a different woman
image of my tiny baby. I always will be. I cut myself and even              left the abortion clinic and began crying and said, “why is
wanted to die” (3–22-13). Another woman recounted: “Looking                 there so much silence here?” as she was taking her pill alone
at my kids thinking of another beautiful child. Couldn’t live               in her bathroom at home.
with myself. Wishing God would take my life” (12–16-11).                        Even if women did allow certain family members to
Collectively, these exemplars illustrate women’s emotional                  become privy to their abortion decision, openly discussing
changes about processing of their medication abortion.                      their feelings after the abortion remained difficult. When
   Finally, 75 women (77%) explicitly stated that they                      talking with others, one woman said: “I love my husband
regretted their decision to have an abortion. However, the                  but it is beyond difficult for me to talk to him about this,
                                                          Alliance.App. 316                                                   EX. 20 pg. 08
            Case: 23-10362   Document: 95-4 Page: 72 Date Filed: 04/11/2023
       Case 2:22-cv-00223-Z Document 1-21 Filed 11/18/22 Page 10 ofHEALTH
                                                                    13 PageID      443
                                                                          COMMUNICATION                                                    7


because I know he wants nothing more than to just move on            U.S. women are supportive of and nearly one-third are interested
from this” (4–28-18). A different woman recounted: “My               in medication abortion (Biggs et al., 2019). The growing interest
close friends know here but I don’t really feel I can talk to        and practice in this type of abortion provision warrant scholars to
them about it. I don’t feel like i can talk to anyone about it”      understand women’s experiences. Our study is the first in the
(2-9-13). Despite these women’s desires to talk about their          U.S. to conduct a case analysis of women’s online blogging narra-
abortion, others (e.g., the baby’s father, their husband,            tives about having had a medication abortion. We focused on
family members) refused to engage in conversation with               understanding the discursive dynamics and contradictions that
them. As a result, women said things like: “I feel like              influenced and shaped women’s talk about their own experiences.
I have no one to speak to about it since he doesn’t think            Our analysis rendered four sites of dialectical tension: only choice
about it the way I do” (9-8-15), and “I try to talk about it         vs. other alternatives, unprepared vs. knowledgeable, relief vs. regret,
with my family and the baby’s dad but they all tell me it’s in       and silence vs. openness. Each site of struggle characterized
the past” (10–28-17).                                                a different stage of women’s medication abortion narrative: the
    Oftentimes, certain dates (such as their child’s due date) or    decision, the medication abortion process, after-abortion identity,
friends with other babies who are of similar age to their            and the general stigmatizing silence associated with abortion.
“would-have-been child” led to triggering events where                   As other scholars have noted (Kimport & Doty, 2019), we
women desired to express their feelings with others, but felt        found that women relied upon language choices that aligned
like they couldn’t talk openly. For instance, one woman said:        with the existing ideological frameworks from both the Right
“But I haven’t really been able to share the true regret and         to Life and Right to Choice movements. For instance, some
near constant jealously of my loved ones engagements or              women used the words “fetal tissue,” while other women used
pregnancies” (11–21-16). Another woman stated: “I knew               the word “baby” when referencing their pregnancy. Women
I had to have an abortion, but these feelings I have right           also explicitly mentioned distal already-spoken messages from
now I never imagined I’d have. I don’t want to go out,               both movements about how they were told “it’s just a pill” or
I don’t want to tell anyone, all I feel like doing is crying”        “I’ve killed my baby.” Such language choices are not idle
(7-8-18). Thus, the isolation and silence leading up to her own      linguistic distinctions, but rather indicate a woman’s aware-
medication abortion continued to pervade after the abortion,         ness of the different semantics and terminology surrounding
creating additional communication challenges with freely             the larger cultural narratives about abortion. This awareness
expressing her emotions with family and friends.                     was particularly evident when women discussed the overarch-
    Silence was often described as being frustrating and chal-       ing silence stigmatizing one’s abilities to openly talk with
lenging. In fact, 59 women (60%) reported feelings of isolation      family and friends about their medication abortion experi-
and alienation. As a result, some women personally attacked          ence. Thus, women’s talk about their own personal experi-
themselves. For example, one woman said: “I feel like I’m            ences, their justification for having an abortion, and their own
living a lie I get up get ready for work get my family up like       sense-making after the medication abortion were shaped by
normal the days go on like normal but I’m not normal I killed        the available heuristics and frames from larger cultural dis-
my baby I’m a monster!!” (3–14-17). Similarly, a different           courses and political movements (Kimport & Doty, 2019).
woman wrote: “As a mom I feel like a monster and I have                  Cultural narratives of abortion are powerful and construct
to act like nothing happened” (4–18-17). These demeaning             meaning and truth (Ludlow, 2008). While a woman’s personal
language choices (e.g., monster, killer) are present in the          story about her medication abortion is individual and now
distal-already-spoken societal discourses about abortion.            occurs in a more private setting (e.g., at home), this experience
Women’s awareness of these larger discourses led some                remains social and political, defined, and reified by larger cul-
women to write about their intentional use of selective lan-         tural narratives and semantics (Beynon-Jones, 2017; Cockrill &
guage choices when talking about their abortion with others.         Nack, 2013). The sexual liberalism script that reflects positive
One woman shared: “I tried to find an OBGYN that could see           attitudes toward nontraditional sexual behaviors influences indi-
me ASAP. I went in and told them I had a miscarriage                 vidual’s attitudes about abortion (Tokunaga et al., 2015), as well
because I was ashamed of the truth of what I did” (3–21-             as their own narratives about medication abortion. We found
18). Finally, some women reported struggling in silence by           evidence of these larger discourses within women’s talk about
saying things like: “I am in desperate need of assistance and        their own medication abortion, and in particular, their rationale
I am too embarrassed to attend an in person support group”           for their decision, their description of the medication abortion
(11–21-16), and “And when I got home, I had to hold it all in.       process, their reflections on their identity after the abortion, and
I was so ashamed of my choice. I couldn’t let anyone know”           the overall stigmatizing silence resulting in a muted voice and
(2–11-11). Even though these women were able to anon-                the public illegitimacy of their own narrative. For instance, many
ymously write about their abortion on this website, they felt        of the justifiable reasons recounted by women in this case study
muted by their loved ones because of the centripetal dis-            for having an abortion align with the centripetal discourses of
courses of shame and embarrassment associated with                   the Right to Choice movement regarding bodily rights and
abortion.                                                            a woman’s freedom of choice. Among women having abortions
                                                                     in the U.S., finances and lack of readiness are the most com-
                                                                     monly cited reasons for choosing abortion (Finer et al., 2005).
Discussion
                                                                         The presence of larger cultural narratives can result in
A national study that assessed women’s support for and interest in   dialectical tensions as one seeks to construct her own abortion
alternative models of abortion provision found that about half of    narrative and considers disclosing that narrative to others. In
                                                  Alliance.App. 317                                                  EX. 20 pg. 09
                Case: 23-10362         Document: 95-4 Page: 73 Date Filed: 04/11/2023
8      Case    2:22-cv-00223-Z
       K. A. RAFFERTY AND T. LONGBONS Document 1-21 Filed 11/18/22 Page 11 of 13 PageID 444

particular, many women described experiencing both relief             Recent movements such as Shout Your Abortion and
and regret after their abortion. Historically, these two emo-     #YouKnowMe have tried to dispel the stigma and silence
tions have been juxtaposed and positioned as binary emotions      surrounding abortion. However, these movements remain
that are socially and politically aligned (Ehrlich & Doan,        politically aligned and purport the “American Dream” abor-
2019). The Right to Choice movement discourse aligns with         tion narrative: I was able to go to college/graduate/get a good
the notion that abortion proffers emotional relief, whereas the   job due to my abortion. These more recent public narratives
Right to Life movement discourse positions itself with abor-      frame abortion as a restitution or quest experience (Frank,
tion resulting in regret. This polarized alignment and framing    1995), where women are portrayed as being able to return to
results in both movements speaking different languages and        normalcy and good health, or regard their abortion story as
never fully listening nor engaging with the other (Wiederhold,    one part of their personal journey that they were able to
2014). One proposed origin of this framing dates back to the      overcome. While such discourses were evident in some
legal reasoning of the 2007 U.S. Supreme Court case Gonzales      women’s blogs and have been shown to reduce abortion
v. Carhart, where the federal partial-birth abortion ban was      stigma when openly disclosed (Cockrill & Biggs, 2017),
upheld. However, our analysis of women’s narratives post-         many women’s narratives within this case study characterized
medication abortion exposes the complex duality of these two      chaos narratives (Frank, 1995) where the abortion experience
emotions often being experienced in tandem, as opposed to         interrupted their daily lives and left them feeling out of con-
being simplistic binaries. The either-or, unidimensional script   trol. Most notably, over 50% of the sample reported that the
from both the Right to Choice and Right to Life movements –       father to their child or other family members used negating
abortion provides either relief or results in regret – fueled     language as a means to justify a woman’s need for an abor-
a sense of tension for many of the women as they processed        tion, albeit her own desires to keep her baby. In addition, 75
their identity after the abortion and considered openly dis-      women (77%) regretted their decision, and 37 women (38%)
closing those private experiences with others. Thus, these        reported struggling with mental illness and suicidal thoughts
women’s narratives illustrate that one’s individual experiences   after the abortion. While previous scholarship has also found
with having had a medication abortion may result in a both/       evidence of some women experiencing negative outcomes
and: initial relief coupled with later regret. A reliance upon    after an abortion due to a lack of decision-making power
political movement discourses to construct one’s own narra-       and limited social support (Kimport et al., 2011), as well as
tive may continue to marginalize or invalidate one’s own          possible significant relationships between abortion and mental
private medication abortion experience when the larger            health problems (see Fergusson et al., 2013; Reardon, 2018),
scripts remain politically charged and polarized (LaRoche &       these centrifugal discourses remain muted and marginalized
Foster, 2018).                                                    in the U.S. abortion debate.
   The stigma and risk that characterize the topic of abortion
are influenced and shaped by the larger centrifugal discourses
                                                                  Limitations and directions for future research
from both the Right to Choice and Right to Life movements
(Beynon-Jones, 2017; Cockrill & Nack, 2013). For example,         As with all scholarship there are limitations. Most notably,
Cockrill and Nack (2013) found that women seeking an abor-        there is a lack of generalizability due to the limited scope: we
tion often attempt to manage the stigma of abortion through       only analyzed women’s medication abortion narratives anon-
non-disclosure, stating their reasons for having an abortion as   ymously posted to one website. However, it is important to
“exceptional” and necessary, or condemning the Right to Life      note that the purpose of this project was to make analytic
perspectives about abortion. In a different study on Southside    generalizations based on gathering an in-depth descriptive
Chicago African-American adolescent females, the majority of      understanding of these women’s medication abortion narra-
sexually active teens never talked with their parents about the   tives. Second, all qualitative case studies are limited by the
topic of abortion, and almost 20% expressed fears of harm or      sensitivity and integrity of the investigators. We attempted to
eviction if their parent were to learn of an abortion in their    surmount this obstacle by having three qualitatively trained
past (Sisco et al., 2014). In our case study, we found that       female researchers who completed independent coding and
women also experienced stigma, silence, and fear that led         collectively participated in the contrapuntal analysis process.
them to remain private and/or secretive with certain indivi-      Third, case study research is criticized for not having a clear
duals throughout their medication abortion experience.            set of systematic procedures (Yin, 2014). To address this
Silence before or during the medication abortion process          concern, we sought to clarify and provide transparency with
resulted in women experiencing additional challenges later        the methodological techniques used. Fourth, the anonymity
on with talking openly about one’s experiences. Altogether,       of women’s blog submissions to the website did not allow us
these findings align with communication scholars who have         to gather and report the social demographics of the women
found that when private health information disclosures are        who anonymously shared their abortion narratives, which
deemed as being threatening or stigmatizing, one’s private        again hinders the generalizability of our findings. Finally,
health information remains concealed (Baxter & Akkoor,            the population of women who write an anonymous post
2011; Ebersole & Hernandez, 2016). This is important because      about their abortion experience may be different from those
secrecy of one’s abortion is associated with poorer coping        who do not.
(Major & Gramzow, 1999; Major et al., 1997), and may result          All of these limitations provide avenues for future research.
in further isolation and lack of social support from others       Most importantly, this single case study demonstrates the need
(Cockrill & Biggs, 2017).                                         for a broader, pluralistic, mixed-method research strategy that
                                                Alliance.App. 318                                          EX. 20 pg. 010
             Case: 23-10362   Document: 95-4 Page: 74 Date Filed: 04/11/2023
        Case 2:22-cv-00223-Z Document 1-21 Filed 11/18/22 Page 12 ofHEALTH
                                                                     13 PageID      445
                                                                           COMMUNICATION                                                              9


assesses women’s medication abortion narratives, particularly                Becker, K. A., & Freburg, K. (2014). Medical student storytelling on an
given its increased popularity amongst women seeking this type                  institutional blog: A case study analysis. Medical Teacher, 36(5),
                                                                                415–421. https://doi.org/10.3109/0142159X.2014.891007
of abortion provision. Such research could interview women                   Beynon-Jones, S. M. (2017). Untroubling abortion: A discourse analysis
who have had a medication abortion, as well as use surveys to                   of women’s accounts. Feminism & Psychology, 27(2), 225–242. https://
assess different variables such as demographic factors, health                  doi.org/10.1177/0959353517696515
literacy, and privacy management strategies employed when                    Biggs, M. A., Ralph, L., Raifman, S., Foster, D. G., & Grossman, D.
talking about one’s medication abortion.                                        (2019). Support for and interest in alternative models of medication
                                                                                abortion provision among a national probability sample of U.S.
                                                                                women. Contraception, 99(2), 118–124. https://doi.org/10.1016/j.con
                                                                                traception.2018.10.007
Conclusion                                                                   Braun, V., & Clarke, V. (2006). Using thematic analysis in psychology.
                                                                                Qualitative Research in Psychology, 3(2), 77–101. https://doi.org/10.
n sum, our findings show that the medication abortion experience
                                                                                1191/1478088706qp063oa
is rife with tension and contradiction. This complexity and duality          Cockrill, K., & Biggs, A. (2017). Can stories reduce abortion stigma?
are not evident in much of the larger cultural discourses and                   Findings from a longitudinal cohort study. Culture, Health & Sexuality,
political debates about abortion. Many women in this case study                 20(3), 335–350. https://doi.org/10.1080/13691058.2017.1346202
noted that their decision to have a medication abortion was not              Cockrill, K., & Nack, A. (2013). “I’m not that type of person”: Managing
                                                                                the stigma of having an abortion. Deviant Behavior, 34(12), 973–990.
a flippant decision or an easy choice where women remained                      https://psycnet.apa.org/doi/10.1080/01639625.2013.800423
unscathed. Women’s narratives about their medication abortion                Ebersole, D. S., & Hernandez, R. A. (2016). “Taking good care of our
experience were complex, and no singular narrative fully encapsu-               health”: Parent-adolescent perceptions of boundary management
lated or defined what women experienced during and after their                  about health information. Communication Quarterly, 64(5), 573–595.
medication abortion. Therefore, it is critical to transcend the                 https://doi.org/10.1080/01463373.2016.1176939
                                                                             Ehrlich, J. S., & Doan, A. E. (2019). Abortion regret: The new attack on
silence in order to expose both sides of the debate and understand
                                                                                reproductive freedom. Praeger. http://publisher.abc-clio.com/
how these larger discourses influenced women’s personal language                9781440839856
choices when constructing their own abortion narrative and anon-             Fergusson, D. M., Horwood, J. L., & Boden, J. M. (2013). Does abortion
ymously sharing it with others online. The tensions and dialectical             reduce the mental health risks of unwanted or unintended pregnancy?
struggles experienced after having a medication abortion and                    A re-appraisal of the evidence. Australian & New Zealand Journal of
                                                                                Psychiatry, 47(9), 819–827. https://doi.org/10.1177/0004867413484597
attempting to share it with others remain silent from public dis-
                                                                             Finer, L. B., Frohwirth, L. F., Dauphinee, L. A., Singh, S., & Moore, A. M.
course and debate (Hallgarten, 2018). Presently, this silence posi-             (2005). Reasons U.S. women have abortions: Quantitative and quali-
tions one’s abortion story as an either-or, binary experience that is           tative perspectives. Perspectives on Sexual and Reproductive Health, 37
politically aligned with one movement or another. The larger                    (3), 110–118. https://doi.org/10.1363/psrh.37.110.05
discourses prevalent within both the Right to Life and Right to              Frank, A. W. (1995). The wounded storyteller: Body, illness and ethics.
                                                                                University of Chicago Press.
Choice movements impact the liminality of women who are con-
                                                                             Hallgarten, L. (2018). Abortion narratives: Moving from statistics to
templating a medication abortion and affect their own narrative                 stories. The Lancet, 391(10134), 1988–1989. https://doi.org/10.1016/
reconstruction and sense-making after their private medication                  S0140-6736(18)31036-5
abortion.                                                                    Hedqvist, M., Brolin, L., Tydén, T., & Larsson, M. (2016). Women’s
                                                                                experiences of having an early medical abortion at home. Sexual &
                                                                                Reproductive Healthcare, 9(1), 48–54. https://doi.org/10.1016/j.srhc.
                                                                                2016.07.003
Acknowledgments                                                              Jones, H. E., O’Connell White, K., Norman, W. V., Guilbert, E.,
We would like to thank Chuck Donovan, Michaelene Fredenburg, and                Lichtenberg, E. S., & Paul, M. (2017). First trimester medication
Genevieve Plaster for their support and assistance throughout the entire        abortion practice in the United States and Canada. PloS One, 12(10),
research process. We also want to thank Caroline Funk for her assistance        e0186487. https://doi.org/10.1371/journal.pone.0186487
with data analysis. In addition, we would like to recognize the women,       Jones, M., & Alony, I. (2008). Blogs – The new source of data analysis.
who through their own accord and as separate from this research study,          Journal of Issues in Informing Science and Information Technology, 5
chose to publicly share their story online.                                     (1), 433–446. https://doi.org/10.28945/1019
                                                                             Jones, R. K., & Jerman, J. (2017). Population group abortion rates and
                                                                                lifetime incidence of abortion: United States, 2008–2014. American
                                                                                Journal of Public Health, 107(12), 1904–1909. https://doi.org/10.2105/
References                                                                      AJPH.2017.304042
Abortion Changes You. (n.d.). Stories. https://www.abortionchangesyou.       Jones, R. K., Zolna, M. R. S., Henshaw, S. K., & Finer, L. B. (2008).
   com/stories                                                                  Abortion in the United States: Incidence and access to services, 2005.
Altshuler, A. L., Ojanen-Goldsmith, A., Blumenthal, P. D., &                    Perspectives on Sexual and Reproductive Health, 40(1), 6–16. https://
   Freedman, L. R. (2017). A good abortion experience: A qualitative            doi.org/10.1363/4000608
   exploration of women’s needs and preferences in clinical care. Social     Jones, R. K., Witwer, E., & Jerman, J. (2019, September). Abortion
   Science Medicine, 191(1), 109–116. https://doi.org/10.1016/j.socs            incidence and service availability in the United States, 2017.
   cimed.2017.09.010                                                            Guttmacher institute. https://www.guttmacher.org/report/abortion-
Arden Ford, L., Golden, M. A., & Berlin Ray, E. (2014). The case study in       incidence-service-availability-us-2017
   health communication research. In B. B. Whaley (Ed.), Research            Kimport, K., Cockrill, K., & Weitz, T. A. (2012). Analyzing the impacts
   methods in health communication: Principles and application (pp.             of abortion clinic structures and processes: A qualitative analysis of
   41–56). Routledge.                                                           women’s negative experience of abortion clinics. Contraception, 85(2),
Baxter, L. A. (2011). Voicing relationships: A dialogic perspective. Sage.      204–210. https://doi.org/10.1016/j.contraception.2011.05.020
Baxter, L. A., & Akkoor, C. (2011). Topic expansiveness and family com-      Kimport, K., & Doty, C. (2019). Interpreting the truth: How people make
   munication patterns. Journal of Family Communication, 11(1), 1–20.           sense of new information about abortion. Women’s Health Issues, 29
   https://doi.org/10.1080/15267431003773523                                    (2), 182–187. https://doi.org/10.1016/j.whi.2019.01.004

                                                        Alliance.App. 319                                                     EX. 20 pg. 011
                        Case: 23-10362          Document: 95-4 Page: 75 Date Filed: 04/11/2023
10             Case     2:22-cv-00223-Z
                K. A. RAFFERTY AND T. LONGBONS Document 1-21 Filed 11/18/22 Page 13 of 13 PageID 446

Kimport, K., Foster, K., & Weitz, T. A. (2011). Social sources of women’s           Communication Theory, 8(1), 1–26. https://doi.org/10.1111/j.1468-
   emotional difficulty after abortion: Lessons from women’s abortion               2885.1998.tb00209.x
   narratives. Perspectives on Sexual and Reproductive Health, 43(2),            Reardon, D. C. (2018). The abortion and mental health controversy:
   103–109. https://doi.org/10.1363/4310311                                         A comprehensive literature review of common ground agreements,
Langellier, K. M., & Peterson, E. E. (2004). Performing narrative:                  disagreements, actionable recommendations, and research
   Storytelling in daily life. Temple University Press.                             opportunities. SAGE Open Medicine, 6(1), 1–38. https://doi.org/10.
LaRoche, K. J., & Roche, A. M. (2018). Exploring Canadian women’s multiple          1177/2050312118807624
   abortion experiences: Implications for reducing stigma and improving          Saldaña, J. (2013). The coding manual for qualitative researchers (2nd
   patient-centered care.                                                           ed.). Sage.
Lincoln, Y., & Guba, E. (1985). Naturalistic inquiry. Sage.                      Sisco, K. M., Martins, S. L., Kavanagh, E. K., & Gilliam, M. L. (2014).
Ludlow, J. (2008). The things we cannot say: Witnessing the traumatiza-             Parent-daughter communication about abortion among non-pregnant
   tion of abortion in the United States. WSQ: Women’s Studies                      African-American adolescent females. Journal of Adolescent Health, 55
   Quarterly, 36(1–2), 28–41. https://doi.org/10.1353/wsq.0.0057                    (6), 835–841. https://doi.org/10.1016/j.jadohealth.2014.07.010
Major, B., & Gramzow, R. H. (1999). Abortion as stigma: Cognitive and            Stormer, N. (2010). A likely past: Abortion, social data, and a collective
   emotional implications of concealment. Journal of Personality and                memory of secrets in 1950s America. Communication and Critical/
   Social Psychology, 77(4), 735–745. https://psycnet.apa.org/doi/10.               Cultural Studies, 7(4), 337–359. https://doi.org/10.1080/14791420.
   1037/0022-3514.77.4.735                                                          2010.523430
Major, B., Zubek, J., Cooper, L. M., Cozzarelli, C., & Richards, C. (1997).      Strauss, A., & Corbin, J. (1990). Basics of qualitative research: Grounded
   Mixed messages: Implications of social conflict and social support               theory procedures and techniques. Sage.
   within close relationships for adjustment to a stressful life event.          Tokunaga, R. S., Wright, P. J., & McKinley, C. J. (2015). U.S. adults’
   Journal of Personality and Social Psychology, 72(6), 1349–1363.                  pornography viewing and support for abortion: A three-wave panel
   https://psycnet.apa.org/doi/10.1037/0022-3514.72.6.1349                          study. Health Communication, 30(6), 577–588. https://doi.org/10.
Mead, H. (1982). The individual and the social self: Unpublished work of            1080/10410236.2013.875867
   George Herbert Mead (D. L. Miller, Edited by). University of Chicago.         Tracy, S. J. (2013). Qualitative research methods: Collecting evidence,
Newton, D., Bayly, C., McNamee, K., Hardiman, A., Bismark, M.,                      crafting analysis, communicating impact. Wiley-Blackwell.
   Webster, A., & Keogh, L. (2016). How do women seeking abortion                Tyler, J. A. (2007). Incorporating storytelling into practice: How HDR
   choose between surgical and medical abortion? Perspectives from                  practitioners foster strategic storytelling. Human Resource Development
   abortion service providers. Australian and New Zealand Journal of                Quarterly, 18(4), 559–587. https://doi.org/10.1002/hrdq.1219
   Obstetrics and Gynecology, 56(5), 523–529. https://doi.org/http://dx.         Upadhyay, U. D., Desai, S., Zlidar, V., Weitz, T. A., Grossman, D.,
   doi.10.1111/ajo.12506                                                            Anderson, P., & Taylor, D. (2015). Incidence of emergency depart-
Norander, S., & Brandhorst, J. (2017). Case Study. In M. Allen (Ed.), The SAGE      ment visits and complications after abortion. Obstetrics and
   encyclopedia of communication research methods (pp. 117–119). Sage.              Gynecology, 125(1), 175–183. https://doi.org/10.1097/AOG.
Orbe, M. (2005). Continuing the legacy of theorizing from the margins:              0000000000000603
   Conceptualizations of co-cultural theory. Women & Language, 28(2),            Wiederhold, A. M. (2014). Narrative spaces between intractability out-
   65–66.                                                                           side the clinic. Health Communication, 29(7), 741–744. https://doi.
Orbe, M. P. (1998). From the standpoint(s) of traditionally muted                   org/10.1080/10410236.2013.769661
   groups: Explicating a co-cultural communication theoretical model.            Yin, R. K. (2014). Case study research: Design and methods. Sage.




                                                           Alliance.App. 320                                                     EX. 20 pg. 012

     9LHZSXEOLFDWLRQVWDWV
    Case: 23-10362    Document: 95-4 Page: 76 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 1 of 20 PageID 489




                 Exhibit 22
 New Drug, Antibiotic, and Biological Drug Product
Regulations; Accelerated Approval, 57 Fed. Reg. 58942
                   (Dec. 11, 1992)




                         Alliance.App. 321
                Case: 23-10362             Document: 95-4 Page: 77 Date Filed: 04/11/2023
58942
          Case  2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 2 of 20 PageID 490
            Fed eral R eg ister / V ol. 5 7 , N o. 239 / Frid ay , D ecem b er 11, 199 2 / Rules and Regulations


D EPARTM EN T O F H EALTH AN D                                 ag e n cy w o u l d acce l e rate ap p ro v al o f              B. C riteria f o r A p p ro v al
HUM AN SERVI CES                                               ce rtain n e w d ru g s an d b io l o g ical                       A cce l e rate d ap p ro v al w il l b e
                                                               p ro d u cts f or se rio u s o r l if e- th reaten in g         co n s id e re d in tw o situ atio n s : (1 ) W hen
Food and Drug Adm inistration                                  ill n e ss e s, w ith p ro v isio n f o r re q u ire d          ap p ro v al can b e re l iab l y b ase d o n
                                                               co n tin u e d s tu d y o f th e d ru g s’ cl i n ical          e v id e n ce o f th e d ru g ’s e f f e ct o n a
21 CFR Parts 314 and 601
                                                               b en ef its af te r ap p ro v al o r f o r re s trictio n s     su rro g ate e n d p o in t th at re as o n ab l y
[ Dock* No. 91N-0278]                                          o n d is trib u tio n o r u s e , w h e re th o s e are         su g g e sts cl i n ical b e n e f it o r o n evid ence
                                                               n e ce s s ary f or saf e u s e o f th e d ru g s . FD A        o f th e d ru g ’ s ef f e ct o n a cl in ical
RI N 0 9 0 5 -AD6 6
                                                               p ro v id e d 6 0 d ay s f o r p u b l ic co m m e n t,         e n d p o in t o th e r th an s u rv iv al o r
New Drug, Antibiotic, and Biologica l                          an d , u p o n req u est, in th e Fe d e ral                    irre v e rsib le m o rb id ity , p en d in g
Drug Product Regulations; Accelerated                          R e g is te r o f Ju n e 1 8 , 1 9 9 2 (5 7 FR 2 7 2 0 2 ) ,    co m p l e tio n o f stu d ie s to estab lis h and
Approval                                                       e xte n d e d th e co m m e n t p e rio d f o r an              d ef in e th e d eg ree o f cl i n ical b en ef its to
                                                               ad d itio n al 3 0 d ay s u n til Ju l y 1 5 , 1 9 9 2 .        p atie n ts; an d (2 ) w h e n FD A d eterm ines
AGEN CY: Food and D rug A dm inistration,
                                                               T h e f in al ru l e in co rp o rate s al l o f th e            th at a d ru g , e f f e ctiv e f o r th e treatm en t of
HHS.
                                                               p ro v is io n s o f th e p ro p o se d ru l e an d             a d is e ase , can b e u s e d saf e ly o n ly if
ACTI ON: Fin al ru l e .                                                                                                       d is trib u tio n o r u s e is m o d if ied o r
                                                               p ro v id e s ad d itio n al cl arif icatio n
SUMMARY: T h e Fo o d an d D ru g                              reg ard in g b o th tim in g an d co n te n t o f th e          re s tricte d . D ru gs o r b io l o g ical p rod u cts
A d m in is tratio n (FD A ) is is s u in g f in al            su b m iss io n s o f p ro m o tio n al m ate rials             ap p ro v e d u n d e r th is f in al ru l e w ill have
re g u latio n s u n d e r w h i ch th e ag e n cy w il l      an d reg ard in g th e n atu re o f re q u ire d                m e t th e re q u is ite s tan d ard s f or saf ety
acce l e rate ap p ro v al o f ce rtain n e w d ru g s         p o s tm ark etin g stu d ie s . T h e ag e n cy h as           an d e f f e ctiv e n e s s u n d e r th e act o r the
an d b io l o g ical p ro d u cts f o r se rio u s o r         ad d e d a n e w p ro v isio n cl arif y in g w h e n           PH S A ct an d , th u s , w il l h av e full
l if e- th reaten in g il l n e s s e s , w ith                ce rtain p o s tm ark e tin g re q u ire m e n ts o f           ap p ro v al f o r m ark etin g (2 1 C FR 314.510,
p ro v isio n s f o r an y n e ce s s ary co n tin u e d       th e ru l e w il l b e te rm in ate d .                         3 1 4 .5 2 0 , 6 0 1 . 4 1 , an d 6 0 1 .4 2 ).
stu d y o f th e d rugs* cl i n ical b e n e f its af ter                                                                      O rd in arily , p ro d u cts u se d to treat
                                                                    H ig h lig h ts o f th e f in al ru l e are
ap p ro v al o r w ith re s trictio n s o n u s e , if                                                                         serio u s o r lif e- th reaten in g illn esses, for
                                                               su m m ariz e d b e lo w , f o llo w ed b y a
n e ce s s ary . T h e s e n e w p ro ce d u re s are                                                                          w h ich ap p ro v al is b ase d o n a surrogate
                                                               su m m ary an d d is cu s s io n o f th e
in te n d e d to p ro v id e e xp e d ite d                                                                                    e n d p o in t ih at is re co g n iz e d as validated
                                                               co m m e n ts.
m ark etin g o f d ru g s f o r p atie n ts suf f erin g                                                                       b y d ef in itiv e stu d ie s , w il l b e co nsid ered
f ro m s u ch ill n e s s e s w h e n th e d ru g s            n.     H ig h lig h ts o f th e Fin a l R u le                  f o r ap p ro v al u n d e r th e trad itio n al
p ro v id e m ean in g f u l th e rap e u tic b en ef it                                                                       p ro ce s s rath e r th an u n d e r accel erated
                                                                    T h is f in al ru l e e stab l is h e s p ro ce d u re s   ap p ro v al .
co m p are d to e xis tin g tre atm e n t.
                                                               u n d e r p arts 3 1 4 an d 6 0 1 (2 1 C FR p arts
A cce l e rate d ap p ro v al w il l b e co n s id e re d                                                                      C . P o stm arket in g S t u d ies
in tw o situ atio n s : (1 ) W h e n ap p ro v al              3 1 4 an d 6 0 1 ) u n d e r w h ich FD A w il l
                                                               acce l e rate ap p ro v al o f ce rtain n e w d ru g s             W h e re a d ru g ’s ap p ro v al u n d er these
can b e re liab ly b ase d o n e v id e n ce f ro m
                                                               an d b io l o g ical p ro d u cts f o r se rio u s o r          p ro v is io n s is b ase d o n a surro g ate
ad eq u ate an d w e l l - co n tro l l e d s tu d ie s o f
                                                               lif e- th reate n in g il l n e ss e s, w ith p ro v isio n     e n d p o in t o r o n an ef f ect o n a clin ical
th e d ru g ’s ef f e ct o n a su rro g ate e n d p o in t
                                                               f o r re q u ire d co n tin u e d stu d y o f th e              m id p o in t o th e r th an su rv iv al o r
th at re as o n ab ly su g g e sts cl i n ical b en ef it
                                                               d ru g s’ cl i n ical b en ef its af te r ap p ro v al o r      irre v e rsib le m o rb id ity , th e ap p lican t
o r o n e v id e n ce o f th e d ru g ’s e f f e ct o n a
                                                               f o r re s trictio n s o n d istrib u tio n o r u s e ,         w il l b e re q u ire d to co n d u ct cl in ical
cl i n ical e n d p o in t o th e r th an s u rv iv al o r
                                                               w h e re th o s e are n e ce s s ary f o r saf e u s e          s tu d ie s n e ce s s ary to v erif y an d describe
irre v e rsib le m o rb id ity , p e n d in g
                                                               o f th e d ru g s . T h e s e p ro ce d u re s are              th e d ru g ’s cl i n ical b en ef it an d to resolve
co m p l e tio n o f stu d ie s to estab l is h an d
                                                               in te n d e d to p ro v id e e xp e d ite d                     re m ain in g u n ce rtain ty as to th e relation
d ef in e th e d eg re e o f cl i n ical b e n e f its to
                                                               m ark e tin g o f d ru g s f o r p atie n ts su f f erin g      o f th e su rro g ate e n d p o in t u p o n w hich
p atie n ts ; an d (2 ) w h e n FD A d e te rm in e s
                                                               f ro m s u ch ill n e ss e s w h e n th e d ru g s              ap p ro v al w as b ase d to cl in ical b enefit,
th at a d ru g , e f f e ctiv e f o r th e tre atm e n t o f
                                                               p ro v id e m ean in g f u l th e rap e u tic                   o r th e o b se rv e d cl in ical b en ef it to
a d is e ase , can b e u s e d s af e ly o n l y i f
                                                                                                                               u l tim ate o u tco m e . T h e req u irem en t for
d istrib u tio n o r u s e is m o d if ie d o r                ad v an tag e o v e r e xistin g tre atm e n t. T h e
                                                                                                                               an y ad d itio n al stu d y to d em o n strate
re s tricte d . D ru gs o r b io l o g ical p ro d u cts       p re am b l e o f th e p ro p o se d ru l e (5 7 FR
                                                                                                                               actu al cl i n ical b en ef it w il l n o t b e m ore
ap p ro v e d u n d e r th e s e p ro ce d u re s w il l       1 3 2 3 4 ) p ro v id e s a d e s crip tio n o f o th e r
                                                                                                                               strin g e n t th an th o s e th at w o u l d
h av e m e t th e re q u is ite s tan d ard s f or             m e ch an is m s av ailab le to f acil itate
                                                                                                                               n o rm al l y b e re q u ire d f o r m ark eting
saf ety an d e f f e ctiv e n e s s u n d e r th e             a cce s s , s p e e d d e v e l o p m e n t, an d
                                                                                                                               ap p ro v al ; it i s e xp e cte d th at th e studies
Fe d e ral Fo o d , D ru g, an d C o s m e tic A ct            e xp e d ite re v ie w o f th e rap e u tic p ro d u cts
                                                                                                                               w il l u s u al l y b e u n d e rw ay at th e tim e of
(th e act) o r th e Pu b l ic H e alth S e rv ice              (e .g ., tre atm e n t in v e stig atio n al n e w d ru g
                                                                                                                               ap p ro v al . T h e p ro p o se d reg ulation s
A ct (th e PH S A ct) an d , th u s , w il l h av e            ap p l icatio n s (IN D ’s), su b p art E, p aral l e l
                                                                                                                               h av e b e e n re v is e d to cl arif y th at
f u ll ap p ro v al f o r m ark etin g .                       track ). W h e re ap p ro p riate , th e s e
                                                                                                                               re q u ire d p o s tm ark etin g stu d ies m ust
EFFECTI VE DATE: Jan u ary 1 1 , 1 9 9 3 .                     m e ch an is m s can b e u til iz e d in co n ce rt
                                                                                                                               al so b e ad e q u ate an d w ell- co n tro lled (21
FOR FURTHER I NFORMATI ON CONTACT:                             w ith acce l e rate d ap p ro v al . T h e m ajo r
                                                                                                                               C FR 3 1 4 . 5 1 0 an d 6 0 1 .4 1 ).
M arily n L. W ats o n , C e n te r f o r D rug                p ro v is io n s o f th e f in al ru l e are as
Ev al u atio n an d R e s e arch (H FD - 3 6 0 ),              f o llo w s:                                                    D . R est ric tio n s on   Use A ft er M arketin g
Fo o d an d D ru g A d m in is tratio n , 7 5 0 0                                                                                  FD A m ay g ran t m ark etin g ap p rov al of
                                                               A . Scope
S tan d ish PI., R o ck v ill e , M D 2 0 8 5 5 , 3 0 1 -                                                                      a d ru g o r b io l o g ical p ro d u ct sh ow n to be
295-8038.                                                           T h e n e w p ro ce d u re s ap p l y to ce rtain          e f f e ctiv e w h e re saf e u se can o n ly be
                                                               n e w d ru g , an ti b io tic, an d b io l o g ical             as s u re d i f d is trib u tio n o r u se is
SUPPLEM ENTARY I NFORMATI ON:
                                                               p ro d u cts u se d in th e tre atm e n t o f                   re s tricte d . U n d e r th is f inal rule, FD A
I . B ack g ro u n d                                           se rio u s o r lif e-th reaten in g d is e ase s,               m ay : (1 ) R e s trict d istrib u tio n to certain
   In th e Fe d e ra l R e g is te r o f A p ril 1 5 ,         w h e re th e p ro d u cts p ro v id e m e an in g f u l        f acil itie s o r to p h y s ician s w ith sp ecial
1 9 9 2 (5 7 FR 1 3 2 3 4 ) , FD A p u b lish e d              th e rap e u tic ad v an tag e o v e r e xistin g               train in g o r e xp e rie n ce , o r (2) cond ition
p ro p o s e d p ro ce d u re s u n d e r w h ich th e         tre atm e n t (2 1 C FR 3 1 4 .5 0 0 an d 6 0 1 .4 0 ).          d is trib u tio n o n th e p erf o rm an ce o f




                                                                      Alliance.App. 322                                                                 EX. 22 pg.01
              Case: 23-10362             Document: 95-4 Page: 78 Date Filed: 04/11/2023
          Fed eral R eg ister / V ol. 5 7 , N o. 2 3 9 / Frid ay , D ecem b er 1 1 , 199 2 / Rules an d Regulations 58943
        Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 3 of 20 PageID 491
specified m edical procedures. The             IV . Comments on the Proposed Rule          clinical outcom e, a surrogate indicator
restrictions on use w ill be tailored to the                                               is no m ore than a hypothetical
                                                  FD A received 54 com m ents on the
specific safety issue raised by the                                                        construct. The com m ent asserted that
                                               proposed rule. The com m ents cam e
particular drug or biological product                                                      the  proposed rule's endorsem ent of the
                                               from individuals, specific disease
and agreed to by the applicant at the                                                      use of un validated surrogate endpoints,
                                               organizations, universities,
time of approval (21 CFR 314.520 and                                                       therefore, appears to represent a
                                               pharm aceutical m anufacturers, trade
601.42). FD A expects that the                                                             significant departure from traditional
                                               associations, health professionals, and
imposition of these restrictions on                                                        agency  interpretations of “ substantial
                                               professional societies. The c o m m en ts
distribution w ill be rare.                                                                evidence” w ithin the meaning of the act
                                               reflect broad support and acceptance of
                                               the goal of expediting the approval of      because it allow s belief rather than
E. P ro m o tio n al M aterials
                                                                                           evidence to serve as the basis for a
  The final rule requires submission of        drugs intended for the treatm ent of
                                                                                           conclusion about the effectiveness of a
planned prom otional m aterials,               serious and life-threatening illnesses. A
                                                                                           new drug.
including prom otional labeling and            number of com m ents asked that the
                                                                                              Three com m ents asserted that the new
advertisements, both prior to approval         proposed be finalized expeditiously
                                                                                           regulations are not needed to approve
(reflecting the initial cam paign), and        w ithout change. M any com m ents posed
                                                                                           drugs intended to treat serious or life-
following approval, unless informed by         specific questions and raised important
                                                                                           threatening illnesses. Tw o com m ents
the agency that such submission is no          concerns.
                                                                                           cited FD A ’s approval, w ithout new
longer necessary, at least 30 days before      A . G en eral C om m en ts                  regulations, of didanosine (formerly
the intended tim e of initial                                                              called ddi) and zaldtab ine (formerly
                                                  1. O ne com m ent suggested that the
dissemination of the prom otional                                                          called ddc) in com bination w ith
                                               term “ conditional approval“ was less
labeling or initial publication of the                                                     zidovudine (form erly called A ZT) based
                                               confusing and ambiguous than the term
advertisement (21 CFR 314.550 and                                                          on a surrogate m arker, i.e., an increase
                                               “ accelerated approval.” The comment
601.45).                                                                                   in CD4 cell counts and the “ subpart E"
                                               also referred to the statem ent in the
                                                                                           procedures at 21 CFR part 312, w hich
F. W ithdraw al o f A p p ro v al              proposal that “ D rugs * * * approved
                                                                                           address the need for expediting the
  The final rule establishes an                under this proposal w ill have met the
                                                                                           developm ent, evaluation, and marketing
expedited procedure for the w ithdraw al       requisite standards * * * under the
                                                                                           of new therapies intended to treat life-
of approval if: (1) Postm arketing clinical    (act)“ and argued that because
                                                                                           threatening or severely debilitating
studies fail to verify clinical benefit; (2)   postmarketing conditions may be
                                                                                           illnesses as exam ples of existing
the applicant fails to perform the             imposed, this statem ent can only be
                                                                                           m echanism s for the expedited approval
required postm arketing study w ith due        read to say that the requisite standards
                                                                                           of im portant new drugs. O ne com m ent
diligence; (3) use after marketing             under the act can only be m et by a low er
                                                                                           argued that the act requires that drugs
demonstrates that postmarketing                standard of evidence in hand, combined
                                                                                           be shown to be “ safe" and “ effective,”
restrictions are inadequate to ensure          w ith assurance that further evidence
                                                                                           and proof of effectiveness is not lim ited
safe use of the drug or biological             w ill be obtained.
                                                                                           by the act to dem onstration of an effect
product; (4) the applicant fails to adhere        A nother com m ent expressed concern
                                                                                           on “ survival or irreversible m orbidity,”
to the postmarketing restrictions agreed       that the proposal appears to establish a
                                                                                           as the proposed rule seems to assum e.
upon; (5) the prom otional m aterials are      standard for the evaluation of drug
                                                                                           The com m ent further argued that FD A
false or m isleading; or (6) other             product effectiveness that is               has considerable statutory discretion to
evidence dem onstrates that the drug or        inconsistent w ith the substantial          define w hat type of data constitutes
biological product is not shown to be          evidence requirement of section 505(d)      proof of effectiveness, and
safe or effective under its conditions of      of the act (21 U .S.C. 355(d)), w hich      dem onstration of an effect on a
use (21 CFR 314.530 and 601.43).               m eans “ evidence consisting of adequate    surrogate m arker is one type of such
                                               and w ell-controlled investigations,        proof.
G. T erm in ation o f R equ irem en ts         including clinical investigations, by          The agency believes that w hat the
  In response to com m ents, the final         experts qualified by scientific training    procedures are called is m uch less
rule provides that the requirem ents set       and experience to evaluate the              im portant than w hat the procedures are.
forth in $§ 314.520, 314.530, and              effectiveness of the drug involved, on      The shorthand term selected by the
314.550 for new drugs and antibiotics          the basis of w hich it could fairly and     agency reflects the intent of the rule,
and §§ 601.42, 601.43, and 601.45 for          responsibly be concluded by such            especially that part related to use of
biological products ordinarily w ill           experts that the drug w ill have the effect surrogate m arkers, w hich is to make
terminate when FD A determ ines that           it purports or is represented to have       drugs that provide meaningful
the results of required postm arketing         under the conditions of use prescribed,     improvem ent over existing therapies for
studies have dem onstrated that the drug       recom m ended, or suggested in the          serious illnesses w idely available
or biological product has clinical             labeling or proposed labeling * *            (through marketing) at the earliest tim e
benefit, or, w here restrictions on            The com m ent argued that, w ith few        consistent w ith the law . The essence of
distribution or use have been imposed,         exceptions, the agency has consistently     the proposal is thus acceleration, not the
when FD A determ ines that safe use of         interpreted the “ substantial evidence“     im position of conditions. A pproval
the drug or biological product can be          requirement as an instruction that          under these procedures is dependent on
ensured w ithout such restrictions, e.g.,      determ inations of effectiveness be based com pliance w ith certain additional
through appropriate labeling. FD A w ill       on data unambiguously reflecting the        requirem ents, such as tim ely
notify the applicant w hen these               clinical status of subjects evaluated       com pletion of studies to docum ent the
requirements no longer apply (21 CFR           under controlled conditions in bona fide expected clinical benefit. The evidence
314.560 and 601.46).                           clinical experim ents. In the absence of    available at the tim e of approval under
                                               com pelling em pirical evidence             this rule w ill m eet the statutory
Hi- Effective D ate
                                               docum enting that a drug-induced             standard, in that there must be evidence
  This regulation w ill becom e effective      change in a surrogate m easure reliably      from adequate and w ell-controlled
°n January l l , 1993.                         and consistently predicts improved           studies showing that the drug w ill have




                                                   Alliance.App. 323                                          EX. 22 pg.02
                   Case: 23-10362             Document: 95-4 Page: 79 Date Filed: 04/11/2023
58944
            Case  2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 4 of 20 PageID 492
              Fed eral R eg ister / V ol. 5 7 , N o. 2 3 9 / Frid ay , D ecem b er 11, 199 2 / Rules and R egulations


the effect it is represented to have in its                    re l atio n s h ip m ay f ail to em erg e b e cau s e :           of large numbers of clinically
labeling. That effect w ill, in this case, be                  (1 ) T h e id e n tif ie d s u rro g ate m ay n o t in            ineffective, but pharm acologically
an offset on a surrogate endpoint that is                      f act b e cau s al l y re l ate d to cl in ical                   active, drugs and this m ay not be in the
reasonably likely to predict a clinical                        o u tco m e (ev en th o u g h it w as th o u g h t to             interest of the pub lic health. The
benefit and labeling w ill refer to the                        b e) o r (2 ) th e d ru g m ay h av e a sm all e r                com m ent argued that early access to so-
effect on the surrogate, not to effect on                      th an e xp e cte d b en ef it an d a l arg e r th an              called " prom ising” drugs is not the
qlinical outcom e.                  '                          e xp e cte d ad v e rse ef f ect th at co u l d n o t             same as early access to safe and effective
   W h il e th e a ct d o e s n o t re f e r to                b e re co g n iz e d w ith o u t larg e - scale                   drugs, and the num ber of potential
p articu l ar e n d p o in ts o r s tate a                     cl in ical trial s o f lo n g d u ratio n . R e lian ce           markers that may be advanced as
p re f e re n ce f o r cl i n ica l , as o p p o se d to       o n s u rro g ate m ark e rs th e re f o re re q u ires           surrogates of clinical outcom e is
su rro g ate , e n d p o in ts , i t is w e ll                 an ad d itio n al m e as u re o f j u d g m en t, n o t           exceedingly large. The com m ent
e s tab l is h e d th at th e ef f e ct sh o w n in            o n l y w eig h in g b en ef it v e rs u s risk , as              suggested that it m ayb e more
w e l l - co n tro l l e d stu d ie s , m u st, in th e        al w ay s, b u t al s o d e cid in g w h at th e                  appropriate to seek adoption o f the
j u d g m en t o f th e ag e n cy , b e cl in ical l y         th e rap e u tic b en ef it is b ase d u p o n th e               proposed requirem ents through an
m e an in g f u l. M o re o v e r, th e saf ety                d ru g ef f e ct o n th e su rro g ate.                           am endm ent to the act.
s tan d ard in th e a ct, th at a d ru g m u st b e                T n e s e ctio n s o f th e f in al ru l e th at                 FD A agrees w ith the contention that
sh o w n to b e saf e f o r its in te n d e d u se ,           ad d re ss ap p ro v al b ase d u p o n a d ru g                  providing people who have serious or
im p l ie s a ris k / b e n e f i t j u d g m en t. T h e      ef f ect o n a su rro g ate e n d p o in t                        life-threatening illnesses w ith numerous
ef f e ct sh o w n m u st b e su ch as to                      s p e cif ical l y cl arif y th e re g u lato ry                  clinically ineffective drugs would not be
o u tw e ig h th e risk s o f th e tre atm e n t               ap p ro v al crite ria w h e n th e ag e n cy re l ie s           helpful. H owever, the agency does not
u n d e r th e co n d itio n s o f u se . A p p ro v al        o n a su rro g ate e n d p o in t th at, w h il e                 agree that the rule can be expected to
u n d e r th is ru l e re q u ire s , th e re f o re , th at   " re as o n ab l y lik el y ” to p re d ict cl in ical            have this result. A lthough studies using
th e ef f ect sh o w n b e , in th e j u d g m en t o f        b en ef it, is n o t so w e l l estab l is h ed as th e           surrogate endpoints may provide less
th e ag e n cy , cl i n ical l y m e an in g f u l, an d       su rro g ates o rd in arily u se d as b ase s o f                 assurance of clinical benefit than
o f s u ch im p o rtan ce as to o u tw eig h th e              ap p ro v al in th e p ast. Po s tm ark etin g                    studies using clinical endpoints, FDA
risk s o f tre atm e n t. T h i s j u d g m en t d o e s       s tu d ie s req u ired to v erif y an d d e scrib e               believes com pliance w ith all of the
n o t re p re s e n t e ith e r a " l o w e r s tan d ard ”    actu al cl in ical b en ef its w o u l d al so b e                elem ents of the accelerated approval
o r o n e in co n s is te n t w ith s e ctio n 5 0 5 (d )      re q u ire d to b e ad eq u ate an d w ell-                       program w ill not result in the marketing
o f th e act, b u t rath e r an as s e ss m e n t              co n tro l l e d stu d ie s. S e ctio n s 3 1 4 .5 1 0 an d       of large numbers of clinically ineffective
ab o u t w h e th e r d if f eren t ty p e s o f d ata         6 0 1 .4 1 h av e b een re v is e d to cl arif y th is            drugs. The new procedures apply to a
sh o w th at th e sam e s tatu to ry stan d ard                p o in t. If, o n co m p l e tio n o f re q u ired                lim ited group of circum stances, namely,
h as b ee n m e t                                              p o stm ark etin g stu d ie s , th e ef f ect o n th e            to drugs intended for serious or life-
  A pproval based on surrogate                                 su rro g ate is n o t sh o w n to co rre s p o n d to             threatening illnesses when the drugs
endpoints is not new , although the issue                      a f av o rab l e ef f e ct o n cl i n i ca l b e n e f it, th e   provide a meaningful therapeutic
has not previously been considered in                          ru l e p ro v id e s an e xp e d ite d m e an s o f               benefit over existing therapy. Reliance
regulations. The agency has, in a                              re m o v in g th e d ru g f ro m th e m ark et.                   on a surrogate endpoint is not
num ber of instances, approved drugs                              A p p ro v al o f d iaan o s in e an d                         equivalent to reliance on any evidence
based on surrogate endpoints. For                              z al citab in e u n d e r cu rre n t p ro ce d u re s             of pharm acologic activity. The endpoint
exam ple, drugs for hypertension have                          d o e s n o t sh o w th at th e ru l e is o f n o                 must be reasonably likely, based on
been approved based on their effects on                        v alu e . A l th o u g h ap p ro v al d id re l y o n a           epidem iologic, therapeutic,
blood pressure rather than on survival                         su rro g ate e n d p o in t th at is o f th e k in d              pathophysiologic, or other evidence, to
or stroke rate. Sim ilarly, drugs for                          sp e cif ical l y ad d re ss e d b y th e ru l e , th e           predict clinical benefit.
hypercholesterolem ia nave been                                f act th at s tu d ie s to d ef in e cl in ical                      W hether a given endpoint is, in fact,
approved based on effects on serum                             b en ef it w e re n e arl y co m p l e te an d w ere              reasonably likely to predict clinical
cholesterol rather than on coronary                            b ein g co n d u cte d u n d e r th e au s p ice s o f            benefit is inevitably a m atter of
artery disease (angina, heart attacks).                        th e N atio n al In stitu te o f A l le rg y an d                 judgment. FD A , using available internal
But, in those cases there w as very good                       In f e ctio u s D ise ases m ad e it l e s s cru cial             and external expertise, w ill have to
evidence from clinical trials (in the case                     to h av e ad d itio n al g u aran te e s th at su ch              make informed judgments in each case
of hypertension) and from                                      stu d ie s w o u l d b e co n d u cte d p ro m p tl y .           presented, just as it does now. The
epidem iologic and anim al studies (in                         M o re o v er, th e s p o n so rs o f d iaan o s in e             agency acknow ledges that there are
the case of hypercholesterolem ia) that                        an d z al citab in e ag ree d p rio r to ap p ro v al             w ell-recognized reasons for caution
improving the surrogate would lead to                          to e xp e d ite d w ith d raw al o f th e d ru g                  when surrogate endpoints are relied on.
or is associated w ith the desired effects                     f ro m th e m ark et i f b en ef it w ere n o t                   Certain putative surrogates have
on m orbidity and m ortality. Even so,                         sh o w n . T h e p ro v isio n s o f th e f in al ru l e          ultim ately been shown not to
there is still today considerable debate                       w il l e n su re th at ap p ro p riate saf eg u ard s             correspond to clinical benefit. Perhaps
about who w ill benefit from cholesterol                       e xis t f or tim e l y g en eratio n o f d ata o n                the m ost notew orthy example is the
lowering. Controlled trials assessing                          actu al cl in ical b en ef it, f o r ap p ro p riate               failure of antiarrhythm ic agents in the
effects on clinical endpoints of                               p ro m o tio n al in f o rm atio n ab o u t lab el ed              Cardiac A rrhythm ia Suppression Trial
m orbidity and m ortality from use of                          in d icatio n s , an d f o r p ro m p t w ith d raw al             (CA ST) to improve survival by
cholesterol-low ering drugs have been,                         o f th e d ru g f ro m th e m ark et i f cl in ical                depressing ventricular ectopic beats;
and are being, conducted.                                      b e n e f it is n o t co n f irm e d .                             effective suppression of ectopic beats
  Reliance on a surrogate endpoint                                 2 . Po in tin g to a s tate m e n t in th e                    w as associated w ith increased mortality.
alm ost alw ays introduces some                                p re am b l e to th e p ro p o se d ru l e th at it is               A sponsor m ust persuasively support
uncertainty into the risk/benefit                              in th e p u b li c in te re s t to m ak e p ro m is in g           the reasonableness of the proposed
assessm ent, because clinical benefit is                       n e w tre atm e n ts av ail ab le at th e e arl ie s t             surrogate as a predictor and show how
not m easured directly and the                                 p o ssib le p o in t in tim e f o r u s e in lif e-                the benefits of treatm ent w ill outweigh
quantitative relation of the effect on the                     th re ate n in g an d se rio u s ill n ess e s, o n e              the risks. Such presentations are likely
surrogate to the clinical effect is rarely                     co m m e n t e xp re s s e d co n ce rn th at th e                 to be persuasive only when the disease
known. The expected risk/benefit                               p ro p o se d ru l e m ay le ad to th e m ark etin g               to be treated is particularly severe (so




                                                                      Alliance.App. 324                                                             EX. 22 pg.03
                      Case: 23-10362                    Document: 95-4 Page: 80 Date Filed: 04/11/2023
            Case      2:22-cv-00223-Z
             F e d e ra l R e g is te r / V o l . 5 7 ,Document
                                                        N o . 2 3 9 / 1-23
                                                                      F ri d a y , Filed
                                                                                   D e ce m11/18/22
                                                                                           b e r 1 1 , 1 9 9 2Page
                                                                                                               / R u l5
                                                                                                                      e s of
                                                                                                                           a n20
                                                                                                                              d R ePageID
                                                                                                                                   g u l a tio n s 493
                                                                                                                                                     58945


that co n sid e rab le risk is acce p tab l e )             serio u s. T h e co m m e n t as k ed th at FD A                 T h e co n ce rn s e xp re s s e d in th e s e an d
and/or w h e n th e su rro g ate e n d p o in t is          al so d es crib e: ( 1 ) D ise ases th at are n o t           o th e r co m m e n ts ab o u t co n sid e rin g to o
well su p p o rte d . In ad d itio n , it w il l b e        cu rre n tl y i n cl u d e d in th e cate g o ry o f          m an y ill n e s s e s e lig ib le f o r co n sid e ratio n
the sp o n so r’s cl e a r o b lig atio n to re s o l v e   “ s e rio u s ,” ( 2 ) e xam p l e s o f d is e ase s th at   u n d e r th e acce l e rate d ap p ro v al
any d ou b ts as to cl i n ical v al u e b y                are cu rre n tl y ju d g ed “ l if e - th re ate n in g ,”    p ro ce d u re s m ay arise f ro m th e
carrying o u t d ef in itiv e stu d ies.                    an d (3 ) e xam p l e s o f d is e ase s th at are n o t      u n d e rly in g f e ar th at re l ian ce o n
  FD A d o e s n o t ag re e th at i t w o u l d b e        cu rre n tl y i n cl u d e d in th e cate g o ry “ lif e-     su rro g ate e n d p o in ts w il l b e co m e
more ap p ro p riate to seek an am e n d m e n t            th re ate n in g .”
                                                                                                                          ro u ti n e , th e “ n o rm al ” w ay d ru g s are
to the act th an to ad o p t th e p ro p o se d                 O n e co m m e n t co n te n d e d th at th e
                                                                                                                          b ro u g h t to th e m a rk e t T h is f ear is
req uirem ents. A s d is cu s s e d in th e                 state m e n t in th e p re am b le th at
                                                                                                                          g ro u n d le s s. T h e v as t m aj o rity o f d ru g s
preamble to th e p ro p o se d ru l e 85 w e ll as          “ se rio u sn e ss o f a d is e ase is a m atte r o f
                                                                                                                          are d ire cte d at s y m p to m atic o r s h o rt
elsew here in th is p re am b l e to th e f inal            ju d g m e n t, b u t g e n e rally is b ase d o n its
                                                                                                                          te rm co n d itio n s (p ain , h e art f ailu re,
rule, existin g p ro v is io n s o f th e a ct an d         im p act o n su ch f acto rs as su rv iv al , d ay -
the PH S A ct au th o riz e p ro m u lg atio n o f                                                                        acu te in f e ctio n s , g astro in te s tin al
                                                            to - d ay f u n ctio n in g , o r th e lik el ih o o d
the req u irem en ts in th e f in al                                                                                      co m p l ain ts ) w h o s e re s p o n s e to d ru g s , if
                                                            th at th e d is eas e, i f lef t u n tre ate d , w ill
regulations.                                                                                                              it o ccu rs , is re ad il y m e as u re d an d w h e re
                                                            p ro g ress f ro m a le ss se v ere co n d itio n to
  3. O ne co m m e n t e xp re s s e d co n ce rn           a m o re se rio u s o n e ” to o n arro w l y l im its        th e re is n o n e e d to co n s id e r o r acce p t
that b ecau se th e p ro p o se d ru l e w o u l d          d is eas es co v e re d b y th e p ro p o se d ru l e         su rro g ate e n d p o in ts . S u rro g ate s, w ith
establish co n d itio n s o n a d ru g ’s                   (5 7 F R 1 3 2 3 4 at 1 3 2 3 5 ). T h e co m m e n t         f ew e xce p tio n s , are o f in te re s t in th e
approval, th ird - p arty p ay o rs m ay                    arg u ed th at so m e “ le ss se v e re ” d is e ase s,       f o llo w in g situ atio n s : ( 1 ) W h e re th e
decline re im b u rs e m e n t b e cau s e th e so -        e v e n i f tre ate d , m ay p ro g ress to a m o re          cl in ical b en ef it, i f th e re is o n e , is lik ely
called ap p ro v al w o u l d h av e attrib u tes o f       se rio u s state , an d th at th e s e d is ease s            to b e w e ll in th e f u tu re; an d ( 2 ) w h e re
investigational statu s.                                    sh o u ld al so b e co v e re d b y th e ru le . O n          th e im p l icatio n s o f th e ef f ect o n th e
  The ag en cy e xp e cts th at, b e cau s e                th e o th e r h an d , tw o co m m e n ts arg u ed            su rro g ate are g re at b e cau s e th e d is eas e
drugs ap p ro v ed u n d e r th e acce l e rate d           th at th e lang u ag e in th e p re am b le th at             h as n o tre atm e n t at al l o r th e d ru g seem s
approval p ro ce s s m e e t th e statu to ry               cl as sif ie s d is ease s as “ se rio u s ” w as             to tre at p e o p l e w ith n o al te rn ativ e (e.g .,
standards f or s af ety an d e f f e ctiv e n e s s,        o v e rl y b ro ad an d su b jectiv e an d f ar to o          b e cau s e th e y can n o t to l e rate th e u su al
they w ou ld b e el ig ib le f o r                          larg e a n u m b er o f ill n e ss e s co u l d b e           ef f ectiv e tre atm e n t). In th e f irst cas e ,
reim b ursem ent u n d e r S tate M e d icaid               e l ig ib le as b ein g “ s e rio u s .”                      g reat care is n e e d e d , an d w o u l d b e
programs o r o th e r th ird - p arty p lan s.                   FD A d is cu s se d th e m ean in g o f th e             g iv en , as th e re w o u l d g en erally b e n o
Drug p ro d u cts g ran te d acce l e rate d                te rm s “ se rio u s ” an d “ f if e- th reaten in g ”        e xp e rie n ce f ink ing an ef f e ct o n th e
approval w il l n o t b e , u n d e r th e l aw ,           in its f in al ru l e s o n “ tre atm e n t IN D ’s ”         su rro g ate to cl i n ical s u cce s s , an d th ere
investigational, as su g g e ste d b y th e                 (5 2 FR 1 9 4 6 6 at 1 9 4 6 7 , M ay 2 2 , 1 9 8 7 )         h av e b e en co n s p icu o u s e xam p l e s o f lack
comment.                                                    an d “ su b p art E ” p ro ce d u re s (5 4 FR                o f lin k ag e (C A S T , re f e rred to ab o v e ;
  4. O ne co m m e n t ask ed i f al l d ru g s             4 1 5 1 6 at 4 1 5 1 8 - 4 1 5 1 9 , O cto b er 2 1 ,         d ru g s th at in cre as e card iac o u tp u t in
considered f o r acce l e rate d ap p ro v al               1 9 8 8 ). T h e u s e o f th e s e te rm s in th is          p atie n ts w ith h e art f ailu re b u t th at
must b e re v ie w e d b y an ad v iso ry                   ru l e is th e sam e as FD A d ef in ed an d                  d e cre as e su rv iv al ; im p e rf e ct ag reem en t
com m ittee. T h e co m m e n t state d th at               u se d th e te rm s in th o se ru lem ak in g s . It          o f ef f e cts o n co ro n ary arte ry p ate n cy
because ad v iso ry co m m itte e s m e e t                 w o u l d b e v irtu all y im p o s sib le to n am e
                                                                                                                          an d ef f e cts o n su rv iv al in p atien ts w ith
infrequently, w aitin g f o r th e n e xt                   e v e ry “ se rio u s ” an d “ l if e- th reaten in g ”
                                                                                                                          m y o card ial in f arctio n ; l ack o f b en ef icial
meeting m ay s l o w d o w n th e ap p ro v al              d is e ase th at w o u l d b e w ith in th e sco p e
                                                                                                                          ef f e ct o n b o n e f ractu re rate d e sp ite
process.                                                    o f th is ru le. In FD A ’s e xp e rie n ce w ith
                                                                                                                          f av o rab l e ef f ects o n b o n e d e n sity in
  FDA is n o t re q u ire d to co n s u l t w ith           “ tre atm e n t IN D ’s ” an d d ru g s co v e re d b y
                                                                                                                          p atie n ts w ith o ste o p o ro s is ). FD A an d
an ad visory co m m itte e b ef o re ap p ro v in g         th e “ su b p art E ” p ro ce d u re s th e re h av e
                                                                                                                          o u tsid e e xp e rts w il l b e aw are o f th ese
an ap p licatio n u n d e r th e s e acce l e rate d        n o t b een p ro b l em s in d e term in in g
                                                                                                                          e xam p l e s as p ro p o se d su rro g ates are
approval re g u latio n s, o r an y o th e r                w h ich d is e ase s f all w ith in th e m e an in g
                                                                                                                          co n s id e re d . T h e im p li catio n s are
regulation. H o w e v e r, FD A in te n d s to              o f th e te rm s “ se rio u s ” an d “ lif e-
                                                                                                                          e s p e cial l y g re at w h e n co n sid e ri n g
consult the ap p ro p riate co m m itte e in                th re ate n in g ,” an d FD A w o u l d e xp e ct n o
                                                                                                                          p ro p h y l actic th e rap y , i.e ., tre atm e n ts to
most in s tan ces. A d v is o ry co m m itte e              p ro b l em s u n d e r th is acce l e rate d
                                                                                                                          p re v e n t ch ro n ic il l n e s s (co ro n ary artery
meetings can u s u al l y b e sch e d u l e d to            ap p ro v al p ro g ram . T h e lik elih o o d o f
avoid sig n if ican t d e lay s in th e re v ie w           p ro g ressio n to a serio u s co n d itio n w ith            d is e ase , can ce r), in an ess e n tial ly w ell
process. T h e ag e n cy w il l co n s id e r an y          av ail ab le tre atm e n ts w o u l d al s o b e              p o p u l atio n . In th e s e co n d cas e , ¿here
request b y an ap p l ican t f o r re f e rral o f          co n sid e re d in ass ess in g w h e th e r th e             w il l g en erall y h av e b een e xp e rie n ce
me ap p licatio n to an ad v iso ry                         d is e ase is w ith in th e s co p e o f th e f inal          (w ith th e s tan d ard th e rap y ) to ev al u ate
committee.                                                  ru le . T h e p ream b le to th e p ro p o se d ru l e        in co n s id e rin g lin k ag e o f th e su rro g ate
                                                            (5 7 FR 1 3 2 3 4 at 1 3 2 3 5 ) re f e rred to               to b en ef it; th is w as , f o r e xam p l e , th e
  S cope
                                                            ch ro n ic ill n e ss e s th at are g en erally w ell         cas e w ith d id an o sin e , w h e re e v id e n ce
  5. Fo u r co m m e n ts ask ed f or f u rth er            m an ag ed b y av ail ab le th e rap y , b u t can            f ro m z id o v u d in e s tu d ie s o f th e
clarification o f w h at d is e as e s are                  h av e se rio u s o u tco m e s f o r ce rtain                re l atio n s h ip o f an ef f e ct o n C D 4
covered b y th e ru l e . O n e co m m e n t                p o p u l atio n s o r in so m e o r al l o f th e ir         l y m p h o cy te s an d cl i n ical o u tco m e
plated th at th e te rm s “ s e rio u s ,” an d             p h ase s . A p p l ican ts are e n co u rag e d to           co u l d b e ass e ss e d . S im il arl y , th e re is
 h fe- threatening, ” are d ef in ed in th e                co n s u l t w ith FD A *8 rev ie w in g d iv isio n s        co n sid e rab l e e xp e rie n ce to sh o w th at
proposal b y re f e re n ce to 2 1 C FR 3 1 2 .3 4 ,        e arl y in th e d ru g d e v e l o p m e n t p ro ce s s      d u rab le co m p l e te re s p o n s e s in m an y
ollowed b y a b rie f s tate m e n t e xp lain in g         i f th e y h av e q u e stio n s ab o u t w h e th e r        can ce rs co rre s p o n d to im p ro v ed
me role o f j u d g m en t an d e xam p l e s o f           th e ir s p e cif ic p ro d u ct is w ith in th e             su rv iv al , so th at an ag en t in d u cin g th em
 iseases th at are cu rre n tl y ju d g ed to b e           s co p e o f th is ru le .                                    in re f racto ry ill n e s s o r in p rim ary




                                                                      Alliance.App. 325                                                                  EX. 22 pg.04
                 Case: 23-10362                   Document: 95-4 Page: 81 Date Filed: 04/11/2023
58946    Case
            F e d2:22-cv-00223-Z
                  e ra l R e g is te r / V o l . Document
                                                 5 7 , N o . 2 3 9 1-23      Filed
                                                                    / F ri d a y , D e 11/18/22
                                                                                       ce m b e r 1 1 , 1 Page  6uof
                                                                                                          992 / R l e s20
                                                                                                                        a n d PageID
                                                                                                                               R e g u la tio494
                                                                                                                                             ns


d is e ase th at h ad p re v io u s l y b e e n p o o rl y      th at can b en ef it f ro m e xp e d ite d                   ap p ro v al re g u latio n s w il l ap p ly .
re s p o n siv e w o u l d g e n e rall y b e se e n as         ap p ro v al , th e n e e d s o f th e p atien ts            S e ctio n s 3 1 4 . 5 0 0 an d 6 0 1 .4 0 describe
re as o n ab ly l ik el y to p ro v id e a cl in ical           sh o u ld d e te rm in e th e p ro ce d u re s u se d        as p e cts o f th e s co p e o f th e s e regulations,
b en ef it.                                                     to ap p ro v e th e d ru g . O n e co m m e n t              M o re o v e r, th e s e re g u latio n s are
   6 . O n e co m m e n t s tate d th at e p il e p sy          co n te n d e d th at ap p l ican ts o f p ro d u cts        in te n d e d to ap p l y to ap p licatio n s based
is a se rio u s an d l if e- th reaten in g                     co n s id e re d can d id ate s f o r acce l e rate d        o n su rro g ate e n d p o in ts w h o se validity is
co n d itio n an d ask ed th at it b e in cl u d e d            ap p ro v al m ay h av e th e ir d ru g o r                  n o t f u lly e stab l is h e d , to ap p lication s
w ith in th e s co p e o f th e p ro p o sal . T h e            b io l o g ical p ro d u ct “ f o rce d ” in to th e         b ase d o n cl i n ical e n d p o in ts th at leave
p re am b le cite d , am o n g o th e r il l n e ss e s,        acce l e rate d ap p ro v al p ro ce s s an d b e            u n an s w e re d m aj o r q u estio n s ab out the
d e p re ss io n an d p s y ch o s e s as e xam p l e s         f o rce d to co n d u ct a p ro g ram o f s tu d ie s        p ro d u ct’s e f f e ct o n u ltim ate outcom e,
o f ch ro n ic il l n e s s e s th at can h av e                to su b stan tiate th at su rro g ate m id p o in ts         an d to ap p l icatio n s f o r p ro d u cts whose
se rio u s o u tco m e s e v e n i f th e y are                 actu al l y p re d ict sig n if ican t cl in ical            saf e an d e f f e ctiv e u s e re q u ires
g e n e rall y w e l l m an ag ed . O n e co m m e n t          b en ef its.                       -                         l im itatio n s o n d istrib u tio n o r use. In all
as s e rte d th at n e ith e r d e p re s s io n n o r              T h e m e d ical re v ie w in g d iv isio n s            o th e r s itu atio n s , acce l e rate d approval
p s y ch o s is is a d is e ase , n o r is e ith e r o n e      w ith in FD A ’s C en te r f o r D ru g                      re q u ire m e n ts w il l n o t ap p ly .
se rio u s o r l if e- th reaten in g . T h e                   Ev al u ati o n an d R e se arch (O D ER) an d                  W h e re ap p ro v al is b ase d o n a
co m m e n t s tate d th at d e p re ss io n an d               C e n te r f o r B io lo g ie s Ev al u ati o n an d         su rro g ate e n d p o in t th at is accep ted as
p s y ch o s is are d iag n o s es . T h e co m m e n t         R e se arch (C BER ) w il l d e te rm in e th e              v al id ate d to p re d ict o r co rrelate w ith
u rg ed th e ag e n cy to re m o v e th e m f ro m              ty p e o f re g u lato ry re v ie w th at FD A m ay          cl i n ical b e n e f it, th e p ro d u ct w ill be
th e d ef in itio n o f lif e - th re ate n in g                ap p l y to an ap p l icatio n . FD A                        co n s id e re d u n d e r th e trad itio n al
“ il l n e s s e s ” o r " d i s e a s e s .”                   e n co u rag e s sp o n so rs to m e e t w ith FD A          p ro ce s s , an d th e p o stm ark etin g
   W ith re s p e ct to e p il e p s y , FD A n o te s          e arl y in th e d ru g d e v e l o p m e n t p ro ce s s     re q u ire m e n ts u n d e r acce l e rate d
th at in th e “ tre atm e n t IN D ” f in al ru le              to d is cu s s th e ap p licab ility o f th e                ap p ro v al w il l n o t ap p ly . A p p ro vals of
(5 2 F R 1 9 4 8 6 at 1 9 4 6 7 , M ay 2 2 , 1 9 8 7 ) ,        acce l e rate d ap p ro v al p ro g ram to th e ir           p ro d u cts f o r se rio u s o r life-threatening
th e ag e n cy l is te d “ ce rtain f o rm s o f                p ro d u ct; h o w e v e r, FD A re s e rv e s th e          ill n e s s e s b ase d o n cl in ical end p oints
e p il e p s y ” as an e xam p l e o f a d is e as e o r        d is cre tio n to d e te rm in e w h e th e r th e s e       o th e r th an su rv iv al o r irrev ersib le
stag e o f d is e as e th at w o u l d n o rm al l y b e        p ro ce d u re s are ap p licab l e to a sp e cif ic         m o rb id ity w il l u s u al l y al so b e
co n s id e re d “ s e rio u s .” C ertain f o rm s o f         p ro d u ct.                                                 co n s id e re d u n d e r trad itio n al
e p il e p sy m ay al s o b e co n s id e re d                     W ith re s p e ct to th e p re am b le                    p ro ce d u re s . A p p ro v al s b ased on such
“ se rio u s ” u n d e r th e acce l e rate d                   s tate m e n t cite d b y o n e co m m e n t, th e           cl i n ical e n d p o in ts w il l b e considered
ap p ro v al p ro g ram . It i s u n lik e ly ,                 co m m e n t m isre ad s th e p re am b le                   u n d e r th e acce l e rate d ap p ro v al
h o w e v e r, th at a s u rro g ate e n d p o in t             state m e n t, w h ich d o e s n o t say th at FD A          re g u latio n s o n l y w h e n it is essential to
w o u l d b e u til iz e d in s u ch a cas e , as               w il l , in al l cas e s , ap p l y FD A ’s                  d e te rm in e e f f e cts o n su rv iv al o r
se iz u re f re q u e n cy , a cl i n ical e n d p o in t, is   trad itio n al ap p ro v al m e ch an is m s rath e r        irre v e rsib le m o rb id ity in o rd er to
re ad il y m e as u re d .                                      th an th is acce l e rate d p ro ce s s f o r d ru g s       co n f irm th e f av o rab l e risk /b en ef it
   FD A ’s re f e re n ce to d e p re ss io n an d              w h e re a m aj o rity o f th e d ru g ’s                    j u d g m e n t th at le d to ap p ro v al.
p s y ch o s e s w as in te n d e d to g iv e                   f o reseeab le u se s are o u tsid e th e s co p e o f       A p p l icatio n s f o r p ro d u cts f or serious or
e xam p l e s o f co n d itio n s o r d is e as e s th at       “ l if e - th re ate n in g ” d is e ase s w ith o u t       lif e - th re ate n in g ill n e ss e s th at provide a
can b e se rio u s f o r ce rtain p o p u l atio n s o r        m e an in g f u l th e rap e u tic b en ef it o v e r        m e an in g f u l th e rap e u tic b en ef it over
in so m e o r al l o f th e ir p h ase s . W h il e             e xistin g th e rap y . T h e state m e n t m e re l y       e xis tin g th e rap y w il l re ce iv e a priority
d ru g s f o r th e tre atm e n t o f d e p re ss io n          in f o rm s ap p l ican ts th at FD A w il l                 ratin g an d e xp e d ite d rev iew , even when
an d p s y ch o s is w o u l d b e e xam p l e s o f            co n s id e r th e p o s sib le im p act o f                 n o t co n s id e re d u n d e r th e accelerated
th o s e th at co u l d b e co v e re d b y th e                w id e s p re ad u s e o f a d ru g f o r u s e s o th e r   ap p ro v al p ro ce d u re s.
acce l e rate d ap p ro v al p ro g ram , it is n o t           th an th e o n e su p p o rtin g acce l e rate d               T h e ag e n cy al so w is h e s to clarify that
th e u s e o f su rro g ate e n d p o in ts th at               ap p ro v al ; d ru g s ap p ro v e d u n d e r th is        w h e n e v e r an ap p l icatio n is approved
w o u l d b e e xp e cte d ; th e s y m p to m s an d           p ro g ram w o u l d o f ten h av e o n l y sm all           u n d e r § 3 1 4 .5 1 0 o r § 6 0 1 .4 1 ,
sig n s o f th e s e d is e as e s are re ad il y               saf ety d ata b ases so th at w id e s p re ad off-          p o stm ark etin g s tu d ie s con firm ing the
stu d ie d . O n th e o th e r h an d , s o m e o f             lab el u s e m ig h t h av e se rio u s                      p ro d u ct’s cl i n ical b en ef it w ill thus be
th e s e d ru g s h av e b e e n q u ite to x i c (e .g .,      im p l icatio n s . T h e ag e n cy d o e s n o t            re q u ire d . T h e re f o re , in o rd er to
cl o z ap in e f o r re f racto ry p s y ch o s e s ) an d      b e lie v e th at s u ch a s itu atio n w o u l d            e l im in ate p o te n tial co n f u sio n , the
m ig h t b e co n s id e re d f o r ap p ro v al w ith          re g u larl y l e ad to e xcl u s io n f ro m th e s e       ag e n cy h as am e n d e d § § 3 1 4 .5 1 0 and
re s trictio n s to e n s u re saf e u se .                     p ro v isio n s .                                            6 0 1 .4 1 to cl arif y th e s e p o in ts.
   7 . T w o co m m e n ts ask e d h o w FD A                      FD A d o e s n o t ag ree th at ap p l ican ts               FD A al s o re co g n iz e s th at o ver tim e a
w il l d e cid e th at a d ru g is el ig ib le f or             seek in g ap p ro v al to m ark et d ru g an d               p articu l ar su rro g ate , o n ce accep tab le as
acce l e rate d ap p ro v al . O n e co m m e n t               b io l o g ical p ro d u cts th at w o u l d b e             a b asis f o r ap p ro v al o n ly u n d er the
ass e rte d th at th e d e cis io n sh o u ld b e an            can d id ate s f o r acce l e rate d ap p ro v al w il l     a cce l e rate d ap p ro v al reg ulatio ns, could
o p tio n f o r th e ap p l ican t to co n s id e r, n o t      b e f o rce d to u s e th e acce l e rate d                  b e co m e re co g n iz e d as v alid ated by
a d e cis io n f o r FD A to m ak e U n ilateral ly .           ap p ro v al m e ch an is m . It is tru e ,                  d e f in itiv e s tu d ie s (ju st as h igh blood
Po in tin g to a state m e n t in th e p re am b l e            h o w e v e r, th at s o m e p ro p o se d su rro g ate      p re s s u re , f o r e xam p l e , o v er tim e became
(5 7 FR 1 3 2 3 4 at 1 3 2 3 5 ) th at FD A                     e n d p o in ts w o u l d n o t b e co n s id e re d         v al id ate d as a su rro g ate w ith clinical
re s e rv e s th e rig h t n o t to ap p l y                    acce p tab l e b ases f o r ap p ro v al w ith o u t         si g n if ican ce ). In s u ch cas e s, a future
acce l e rate d ap p ro v al p ro ce d u re s w h e n it        as s u ran ce th at th e cl i n ical s tu d ie s to          ap p l icatio n re ly in g o n su ch a surrogate
b e lie v e s in g o o d f aith th at th e d ru g ’s            sh o w cl i n ical b en ef it w il l b e co n d u cte d .    w o u l d n o t re q u ire p ostm ark etin g studies
f o reseeab le u s e is re as o n ab ly l ik el y to b e        A s p o n s o r th at w is h e s th s ap p l icatio n to     co n f irm in g th e su rro g ate 's clinical
o u tsid e th e s co p e o f “ lif e - th re ate n in g         b e co n s id e re d u n d e r th e trad itio n al           b e n e f it an d th e ap p licatio n w ould be
d is e ase s w ith o u t m ean in g f u l th e rap e u tic      ap p ro v al p ro ce s s m ay re q u e st an d                co n s id e re d u n d e r trad itio n al
b en ef it o v e r e xis tin g th e rap y ,” th e               re ce iv e s u ch co n s id e ratio n .                       p ro ce d u re s .
co m m e n ts arg u ed th at, i f th e re are                      T h e ag e n cy w is h e s to cl arif y th e                  8.      T w o co m m e n ts ask ed for
p atie n ts w ith l if e - th re ate n in g co n d itio n s     circu m s tan ce s in w h ich th e acce l e rate d            cl arif icatio n o f th e p h rase “ meaningful




                                                                   Alliance.App. 326                                                                EX. 22 pg.05
                      Case: 23-10362                    Document: 95-4 Page: 82 Date Filed: 04/11/2023
                F e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a tio n s 58947
              Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 7 of 20 PageID 495
    therap eu tic b en ef it o v e r e xistin g               co n s id e re d as a m ean in g f u l b en ef it an d          l ack o f re g re ss io n o f th e su rro g ate
    therap y ” as u s e d in th e d e s crip tio n o f        w ith in th e sco p e o f th e p ro p o sal .                   e n d p o in t sh o u ld b e co m m o n l y
    w hat d ru gs th e acce l e rate d ap p ro v al              A ch an g e i n th e ro u te o f                             as s o ciate d w ith a l ack o f cl in ical
j   program sh o u ld ap p l y to . S p e cif ical l y ,      ad m in is tratio n m ay b e a can d id ate f o r               im p ro v e m e n t; an d ( 6 ) th e in cid e n ce o f
    pointing to an e xam p l e d e scrib e d in th e          acce l e rate d ap p ro v al d ep en d in g u p o n             re g re ss io n o r im p ro v e m e n t in th e
    pream b le th at a n e w th e rap y w o u l d b e         th e p articu l ar e v id e n ce p re se n ted .                su rro g ate e n d p o in t sh o u ld b e
    eligible f or acce l e rate d ap p ro v al i f th e re       10 . O n e co m m e n t as k ed i f su b p art E             sig n if ican tly g re ate r in tre ate d th an
    w as “ a cl e ar im p ro v e m e n t” o v e r             d ru g s cu rre n tl y tin d e r in v e stig atio n w il l      u n tre ate d p atien ts.
    existing th e rap y in b ein g m o re ef f e ctiv e      b e co n s id e re d f o r acce l e rate d ap p ro v al .           O n e co m m e n t ask ed i f th e u se o f
    or b etter to l e rate d , o n e co m m e n t u rg ed    T h e co m m e n t ass u m e d th at n e w d ru g                m icro al b u m in u ria d ata is a su rro g ate f or
    FD A to cl arif y th e m e an in g o f “ cl e ar         ap p l icatio n s (N D A ’s) an d su p p l e m e n tal           d iab e tic n e p h ro p ath y an d i f al l d ru g s
    im p rov em en t” to d is co u rag e ap p l ican ts      N D A ’s co n sid e re d f o r acce l e rate d                   rel y in g o n su rro g ate e n d p o in ts w o u l d b e
    of “ m e- to o ” p ro d u cts f ro m w astin g th e      ap p ro v al w il l h av e th e h ig h est p rio rity            elig ib l e f o r acce l e rate d ap p ro v al , e .g ., an
    agency’s tim e an d re s o u rce s b y ap p ly in g      f o r re v ie w .                                                an g io te n sin re ce p to r an tag o n ist w ith
    for acce l e rate d ap p ro v al o f s u ch                  S u b p art E d ru g s w il l b e co n s id e re d f or      p o te n tial u til ity f o r tre atm e n t o f
    products. T h e co m m e n t al so ask ed th at          acce l e rate d ap p ro v al i f th e y satisf y b o th          co n g e s tiv e h e art f ailu re. T h e co m m e n t
    FD A sp ecif y th at i f a n e w d ru g is               el ig ib ility crite ria f o r acce l e rate d                   al s o ask ed w h at w o u l d h ap p e n i f
    approved u n d e r th e acce l e rate d                  ap p ro v al , i.e ., i f th e y are b ein g                     p o stm ark etin g stu d ie s d e m o n strate
    approval p ro v is io n s b e cau s e th e d ru g        d e v e l o p e d f o r th e tre atm e n t o f serio u s o r     b e n e f icial ch an g e s o f su rro g ate
    exhibits a “ cl e ar i m p ro v e m e n t” o v e r an    l if e- th reaten in g ill n es s e s an d th e                  e n d p o in ts b u t n o t b e n e f icial c lin ic al
    existing d ru g th at w as al so g ran ted               p ro d u cts w ill p ro v id e m eaning ful
                                                                                                                              e n d p o in ts . T h e co m m e n t al s o ask ed if
    accelerated ap p ro v al , th e n s p e cif ic           th e rap e u tic b en ef its to p atien ts o v e r               FD A w il l co n s id e r p u b lish in g
    restrictions w il l b e p l ace d o n th e p rio r       e xistin g tre atm e n t. A s d is cu s s e d ab ov e,           g u id e lin e s o n w h ich su rro g ate
    approved d ru g to lim it its u s e o n ly to            ap p l ican ts sh o u ld co n s u l t w ith FD A                 e n d p o in ts w o u l d b e ap p ro p riate for th e
    patients w h o can n o t to l e rate th e n e w          e arl y in th e d ev e l o p m e n t p ro ce s s to              d is e ase s th at m ay b e af f e cted b y th e
    drug, o r w h o se p h y s ician s ass e ss th at a      d ete rm in e th e n atu re o f th e reg u lato ry               p ro p o se d ru l e . A n o th e r co m m e n t
    change to th e n e w d ru g m ig h t in v o lv e         re v ie w . Earl y co n su l tatio n s are a critical            e xp re s s e d th e b e l ie f th at th e re is n o
    significant risk s to th e p atie n t th at              p art o f su b p art E p ro ce d u re s. D rugs                  e v id e n ce th at su rro g ate en d p o in ts are
                                                             b ein g re v ie w e d u n d e r acce l e rate d                  n e ce s s aril y g o o d in d icato rs o f
    outw eigh th e b en ef its. O n e co m m e n t
    asked th at th e te rm “ m ean in g f u l                ap p ro v al p ro ce d u re s w ill re ce iv e h ig h            th e rap e u tic b en ef it. T h e co m m e n t stated
                                                             p rio rity rev iew . H o w ev e r, ap p licatio n s              th at a d ru g m ay h av e an ef f ect o n a
    therap eutic b en ef it o v e r e xistin g
                                                             f o r d ru g s f o r acq u ire d                                 su rro g ate e n d p o in t, b u t w il l n o t m ak e
    therapy” b e in te rp re te d an d co n s is te n tl y
                                                             im m u n o d e f icie n cy sy n d ro m e (A ID S)                an y cl in ical d if f eren ce b e cau s e th e
    applied to b o th d ru g s an d b io l o g ical
    products.                                                an d h u m an im m u n o d e f icie n cy v iru s                 ad v an ce d stag e o f th e p atie n t’s d is ease
                                                             (H IV J- related co n d itio n s w il l re ce iv e th e          p re cl u d e s an y e f f e ctiv e th e rap y o r th e
      FD A b e lie v es th at th e e xam p l e s g iv en
                                                             h ig h est p rio rity rev iew .                                  su rro g ate m ark er is n o t s y n ch ro n o u s
    to help clarif y th e p h ras e “ m e an in g f u l
    therap eutic b e n e f it o v e r e xistin g             C . C r it e r ia f o r A p p r o v a l                          w ith th e p atie n t’s cl in ical co n d itio n .
    therapy” (ab il ity to tre at u n re sp o n siv e                                                                            A n o th e r co m m e n t ass e rte d th at th e
                                                                1 1 . T w o co m m e n ts e xp re ss e d co n ce rn           re q u irem en t to b ase an ap p ro v al o n a
    or in to leran t p atie n ts o r im p ro v e d           th at th e p ro p o sal d id n o t p ro v id e
                                                                                                                              su rro g ate e n d p o in t th at is “ re aso n ab ly
    response co m p are d to av ail ab le th erap y )        en o u g h d etail o n w h at co n stitu te s an
                                                                                                                              lik e ly , b ased o n e p id e m io lo g ic,
    are read ily u n d e rs to o d ill u stratio n s o f     ap p ro p riate su rro g ate e n d p o in t. O ne
                                                                                                                              th e rap e u tic, p ath o p h y s io lo g ic, o r o th e r
    the inten t o f th e re q u ire m e n t. A d ru g        co m m e n t re co m m e n d e d th at FD A ad o p t
                                                                                                                              e v id e n ce , to p re d ict cl in ical b en ef it
    that is es sen tial ly th e sam e as av ail ab le        sp e cif ic crite ria f o r w h at co n stitu te s an
                                                                                                                              o th e r th an s u rv iv al o r irrev ersib le
    treatm ent (w h at th e co m m e n t re f e rs to        ap p ro p riate su rro g ate e n d p o in t. T h e
                                                                                                                              m o rb id ity ” is n o t re s trictiv e en o u g h to
    as a “ m e to o ” d ru g ) w il l n o t h av e a
                                                             co m m e n t su g g este d th at su ch crite ria                 assu re ad eq u ate co n s u m e r p ro te ctio n .
    credib le cl aim to a m ean in g f u l                   sh o u ld in cl u d e : ( 1 ) T h e su rro g ate                 T e rm s lik e “ re as o n ab ly l ik e l y ” an d “ or
    therap eutic b en ef it o v e r th at e xistin g         en d p o in t m u st b e b io l o g icall y p lau sib le         o th e r e v id e n ce ” al lo w d ru g
    treatm ent an d th is sh o u ld b e e asil y             in th at it m u st b e co n siste n t w ith w h at
    detected.                                                                                                                 m an u f actu re rs to o m u ch latitu d e for
                                                             is k n o w n ab o u t th e p ath o p h y sio lo g y              cl aim in g th at th e re is a co rre l atio n
      W ith re s p e ct to re s trictin g u s e o f a        an d p ath o g e n e s is o f th e d is e ase ; ( 2 ) th e       b etw een su rro g ate e n d p o in ts af f ecte d b y
    drug p re v io u sl y ap p ro v e d u n d e r            su rro g ate e n d p o in t m u st b e p re se n t o r           th e ir d ru g s an d cl i n ical en d p o in ts . T h e
    accelerated ap p ro v al p ro ce d u re s w h e n a      ab n o rm al in a larg e p e rce n tag e o f p eo p le           co m m en t arg u ed th at u n til a co rre l atio n
    new d rug g ran te d acce l e rate d ap p ro v al        w h o h av e th e d is e ase ; (3) th e su rro g ate             b etw een a su rro g ate e n d p o in t an d a
    is a cl ear im p ro v e m e n t o v e r th e p rio r     e n d p o in t m u st b e a g o o d p re d icto r o f            cl in ical e n d p o in t h as b e en estab lis h e d ,
    approved d ru g , th is w o u l d rare l y b e           th e d is e ase p ro g res sio n an d s h o u ld                 a p articu l ar su rro g ate e n d p o in t sh o u ld
    app rop riate. A l th o u g h , in so m e                co rre l ate cl o s e l y w ith th e sig n if ican t             o n l y b e u se d to ap p ro v e su b seq u en t
    instances, ce rtain th e rap ie s are                    cl i n ical e n d p o in t; (4 ) th e re sh o u ld b e a         d ru g s, w ith o u t ad e q u ate cl in ical
    identified as “ s e co n d - l in e ,” th is             co rre l atio n b e tw e e n th e q u an titativ e               e v id e n ce , if th e re is a v e ry stro n g ef f ect
    requires ess e n tial ly u n e q u iv o cal              as p e ct o f th e su rro g ate e n d p o in t an d th e         o f th e d ru g o n th e su rro g ate m ark er o r,
    evid ence o f an ad v an tag e o f al te rn ativ e       p ro g re ssio n o f th e d is e ase (e.g ., th e m o re         if th e ef f e ct is n o t su f f icie n tly stro n g ,
    tnerapy, n o t lik el y o n th e b asis o f a            se v e re th e d is e ase , th e m o re d e v ian t th e         th e re is an ad d itio n al su rro g ate m ark er
    surrogate e n d p o in t. Lab elin g f o r b o th        su rro g ate e n d p o in t f ro m n o rm al); (5 ) th e         w h ich co rro b o rate s th e re s u l ts o f th e
    drugs w ill b e a ccu rate , h o w e v e r,
                                                             re g re ss io n o f th e su rro g ate e n d p o in t             f irst.
    allow ing p h y s ician s to p re s crib e b o th        sh o u ld b e sig n if ican tly ass o ciate d w ith                  FD A in te n d s to p u b lish in f o rm al
      e n ew ly ap p ro v e d d ru g an d th e p rio r       cl i n ical im p ro v e m e n t (e .g ., th o se w ith           g u id an ce co n ce rn in g su rro g ate
    drug p ro p erly .
                                                             th e g re ate st im p ro v e m e n t in th e                     e n d p o in ts , b u t d o e s n o t b elie v e sp e cif ic
      9. O ne co m m e n t ask e d i f a ch an g e in        su rro g ate en d p o in t sh o u ld al so sh o w th e           re q u ire m e n ts f o r an ap p ro p riate
    uie ro ute o f ad m in is tratio n w o u l d b e         g re ate st cl i n ical ef f e cts ); co n v e rs e l y , th e   su rro g ate sh o u ld b e sp ecif ie d b y




                                                                    Alliance.App. 327                                                                      EX. 22 pg.06
                Case: 23-10362                   Document: 95-4 Page: 83 Date Filed: 04/11/2023
58948      F e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a tio n s
         Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 8 of 20 PageID 496
reg u latio n . A n y g iv en sp e cif icatio n s               n o t b e p e rf e ct: B l o o d p re ss u re l o w erin g      p ro p e r as s e s s m e n t o f b en ef it, and valid
m ay n o t b e ap p l icab l e to a p articu l ar               h as b een a b e tte r p re d icto r o f ef f ect o n           w eig h in g o f its re l atio n to risk , is
cas e . Fo r e xam p l e , th e th o u g h tf u l               stro k e th an o n co ro n ary arte ry d is e ase ,             e s p e cial l y critical .
su g g e ste d crite ria s u p p l ie d b y th e                ch o l e s te ro l lo w erin g h as h ad a cl e are r               1 3 . O n e co m m e n t ask ed th at FD A
co m m e n t w o u l d rare l y , i f e v e r, b e              ef f ect o n co ro n ary arte ry d is e ase th an o n           cl arif y th at o n e stu d y co u l d b e the basis
ap p licab l e to th e f irst ef f e ctiv e d ru g f or         su rv iv al . M o re o v er, a su rro g ate m ay b e            o f ap p ro v al an d th at o n e postm arketing
a d is e ase , b e cau s e crite rio n 5 re q u ires            p e rsu as iv e f o r a p h ase o f d is e ase w ith            s tu d y s h o u l d b e al l th at is n eed ed to
th at reg re ss io n o f th e s u rro g ate e n d p o in t      s h o rt e xp e cte d su rv iv al b u t m u ch l e s s so       estab l is h th e lin k b e tw e e n th e endpoint
b e ass o ciate d q u an titativ e l y w ith                    in an e arl ie r p h ase o f th e d is ease .                   u s e d f o r ap p ro v al an d so m e relevant
cl i n ical im p ro v e m e n t. If th e re h ad n e v e r      C au tio n is al w ay s ap p ro p riate in                      cl i n ical b en ef it.
b e en ef f e ctiv e tre atm e n t, th is w o u l d             e v alu atin g su rro g ate e n d p o in ts an d th e               FD A in te rp re ts th e statu te, and good
n e v e r b e k n o w n . Y e t th e su rro g ate co u l d      p articu l ar th e rap e u tic se ttin g sh o u ld              s ci e n ce , as re q u irin g at least tw o
b e p e rsu as iv e o n o th e r g ro u n d s, s u ch as        al w ay s b e co n s id e re d . T h e ag e n cy                ad e q u ate an d w e ll - co n tro l l e d studies to
a w e l l - d o cu m e n te d e tio l o g ic re l atio n . In   b e lie v e s th at th e e v alu atio n o f s u rro g ate       estab l is h ef f e ctiv e n e s s. In so m e
g en eral, it is l ik el y th at o n e o r an o th e r          e n d p o in t d ata an d th e saf e g u ard s b u il t         i n s tan ce s , d ru g s h av e b een ap p roved on
stro n g l y su p p o rtiv e p ie ce o f e v id e n ce          in to th e s e acce l e rate d ap p ro v al                     th e b asis o f a sin g l e w ell - co n tro lled
m ig h t o u tw e ig h g ap s in o th e r are as.               p ro ce d u re s w il l p ro v id e ad eq u ate                 s tu d y : th is h as b e en d o n e w h ere the
    In d e v e l o p in g in f o rm al g u id an ce o n         co n s u m e r p ro te ctio n .                                 stu d y w as o f e xce l l e n t d esig n , show ed
su rro g ate e n d p o in ts , FD A w il l co n s id e r            12 .       O n e co m m e n t e xp re s s e d co n ce rn.   a h ig h d eg ree o f s tatis tical significance,
th e su g g e stio n s in th is co m m e n t.                   th at if th e re is n o acce p te d su rro g ate                in v o lv e d m u l tip le stu d y ce n te rs , and
In teres ted p e rso n s w il l h av e an                       e n d p o in t, an ap p l ican t’s o n l y o p tio n is         sh o w e d so m e e v id e n ce o f intern al
o p p o rtu n ity to co m m e n t o n an y                      to co n d u ct a stu d y u sin g so m e cl in ical              re p l icab il ity , e .g ., sim il ar ef f ects in
g u id an ce d o cu m e n ts in th is are a                     e v e n t as an e n d p o in t, w h ich m ay re su l t          m aj o r stu d y su b sets. FD A encourages
d e v e l o p e d b y th e ag e n cy . In s o m e cas e s ,     in lo n g , large stu d ie s th at d e lay                      ap p l ican ts to d is cu s s w ith FD A early in
n e w o r re v is e d d ru g cl as s , o r d is e ase -         ap p ro v al to th e d etrim e n t o f p atie n ts              a d ru g ’s d e v e l o p m e n t th e b asis for the
s p e cif ic, cl i n ical g u id e lin e s m ay re f e r to     an d sp o n so rs . O n e co m m e n t su g g ested             ap p l i can t’s ch o ice o f a sp ecif ic endpoint
su rro g ate e n d p o in ts . FD A is n o t                    a s an al te rn ativ e th at FD A p e rm it                     an d , w h e re ap p li cab l e , th e b asis for its
p re p are d , at th is tim e , to co m m e n t o n             ap p ro v al o f a d ru g b ase d o n a stu d y                 b e l ie f th at a sin g l e stu d y w o u l d b e a
th e acce p tab il ity o f an e n d p o in t th at it           u sin g a cl in ical e n d p o in t, b u t acce p t a           su f f icie n t b asis for ap p ro v al . W ith
h as n o t sp e cif ical l y co n s id e re d , e.g .,          le ss rig o ro u s stan d ard o f s tatis tical                 re s p e ct to p o s tm ark etin g stu d ies, FD A
m icro al b u m in u ria.                                       s ig n if ican ce , e .g ., 0 .2 0 o r 0 .1 5 in s te ad o f    an ticip ate s th at th e req u irem e n t w ill
   T h e f in al re g u latio n s m ak e it cl e ar             0 .0 5 . T h e co m m e n t f u rth er su g g e ste d           u s u al l y b e m e t b y stu d ies alread y
th at n o t all d ru g s su b m itte d f o r ap p ro v al       th at th e sp o n so r co u l d th e n co m p l e te            u n d e rw ay at th e tim e o f ap p ro val. A s
b ase d o n su rro g ate e n d p o in t d ata are               p o s tm ark etin g stu d ie s to e stab lis h                  state d in th e p ro p o se d ru le , the
el ig ib le f o r a cce l e rate d ap p ro v al                 statis tical s ig n if ican ce at co n v e n tio n al           re q u ire m e n t f o r an y ad d itio n al study to
(§ § 3 1 4 .5 0 0 an d 6 0 1 .4 0 ) . T h e d ru g in           l ev e ls . T h e co m m e n t arg u ed th at th is             d e m o n s trate actu al cl in ical b enefit will
       'io n m u st b e f o r a se rio u s o f lif e-           al te rn ativ e is to tal l y co n s is te n t w ith            n o t b e m o re strin g e n t th an th o se that
C       te n in g co n d itio n an d m u st p ro v id e         FD A ’s w il lin g n e ss to acce p t g re ater                 w o u l d n o rm all y b e req u ired for
m e an in g f u l th e rap e u tic b en ef it o v e r           u n ce rtain ty in ap p ro v in g d ru g s f or                 m ark etin g ap p ro v al o f th e sam e drug for
e xistin g th e rap y . In th e cas e o f an                    se rio u s an d l if e- th re aten in g illn ess es.            th e sam e cl aim .
an g io ten sin re ce p to r an tag o n ist p o s ed               T h e in te n t o f th e ru le is to al l o w FD A              1 4 . O n e co m m e n t exp re ss ed concern
b y th e co m m e n t, th e re is e xistin g                    to u til iz e a p articu l ar k in d o f e v id e n ce ,        th at th e p re am b le to th e p ro p o sed rule
d o cu m e n te d lif e - p ro lo n g in g tre atm e n t        an ef f e ct o n a su rro g ate e n d p o in t, as a            im p lie d th at a sp o n so r o f an A ID S drug
f o r co n g e s tiv e h e art f ailu re . A n                  b as is f o r ap p ro v al , an d , w h e re                    m ig h t h av e to d o a p o stm ark etin g study
ap p l icatio n f o r a n e w ag en t, to b e                   ap p ro p riate , to en su re th at re m ain in g               to e stab lis h an ef f ect o n surv iv al after
el ig ib le f o r acce l e rate d ap p ro v al , w o u l d      d o u b ts ab o u t th e re l atio n s h ip o f th e            sh o w in g an ef f e ct o n s u ch end p oints as
h av e to sh o w p o te n ti al b en ef it o v e r              ef f ect o n th e su rro g ate to cl in ical b en ef it         w eig h t o r in cid e n ce o f o p p o rtun istic
av ail ab le th e rap y as w e l l as id en tif y a             are re s o l v e d b y ad d itio n al ad e q u ate an d         in f e ctio n ( 5 7 FR 1 3 2 3 4 at 1 3 2 3 5 - 1 3 2 3 6 ) .
re as o n ab le su rro g ate e n d p o in t. T h is is          w e l l - co n tro l l e d stu d ie s w ith cl in ical          T h e co m m e n t state d th at FD A ’s ow n
p ro b l e m atic s in ce n o acce p te d su rro g ate          en d p o in ts . T h e ru l e is n o t in te n d e d to         ad v iso ry co m m itte e in d icate d that it
en d p o in t f o r s tu d ie s to tre at co n g e s tiv e      p l ace in to th e m ark et d ru g s w ith little               w as p le as e d to see an ef fect from a
h e art f ailu re h as b e e n id e n tif ie d to d ate.        e v id e n ce o f u se f u ln ess . A lth o u g h th e re       n u cl e o s id e an alo g u e o n th e incid ence of
Fo r e xam p l e , s o m e d ru g s w ith f av o rab le         is n o statu to ry re q u ire m e n t f or                      o p p o rtu n is tic in f e ctio n s w ith A ID S
ef f e cts o n h e m o d y n am ic m e as u re s in             sig n if ican ce te stin g o f an y p articu l ar               p atie n ts b u t d id n o t sug gest th at further
h e art f ailu re p atie n ts h av e b ee n                     v alu e , th e re are w e ll - e stab l ish e d                 w o rk sh o u ld b e d o n e to sh o w an effect
cl in ical l y in e f f e ctiv e .                              co n v e n tio n s f o r ass e ss in g statis tical             o n m o rtal ity . T h e co m m e n t argued that
    T h e re g u latio n s are cl e a r in req u irin g         s ig n if ican ce to s u p p o rt th e s tatu to ril y          in so m e cas e s d ire ct co rre latio n w ith
th at, f o r d ru g s ap p ro v e d u n d e r th e s e          re q u ire d co n cl u s io n th at th e w e ll -               cl i n ical e n d p o in ts su ch as m o rtality is
p ro v isio n s b ase d o n su rro g ate                        co n tro l l e d s tu d ie s h av e d e m o n s trate d         d if f icu lt to p ro v e an d u rg ed FD A to be
e n d p o in ts , th e p o stm ark e tin g stu d ie s           th at a d ru g w il l h av e th e e f f e ct it is              f le xib le o n th is iss u e to en co u rage
m u st sh o w cl i n ical b en ef it, n o t ju st th e          re p re s e n te d to h av e. T h e re is n o th in g           s p o n so rs to g o th ro u g h th e accelerated
p re v io u sly sh o w n ef f e ct o n th e su rro g ate        ab o u t s erio u s o r l if e- th re aten in g                 ap p ro v al p ro ce s s .               . , ,
(§ § 3 1 4 .5 1 0 , 3 1 4 .5 3 0 , 6 0 1 .4 1 , an d            d is e ase s th at m ak e th e m u n iq u e l y                   O rd in arily , an ef f ect o n a meaningtui
6 0 1 .4 3 ).                                                   d if f icu lt to stu d y . A m ean in g f u l ef f e ct         cl in ical e n d p o in t, e.g ., o n rate o f
   S u rro g ate s, o r p ro p o s e d su rro g ate s ,         o n s u rv iv al o r m o rb id ity w h e re th e re is          o p p o rtu n is tic in f ectio n s in A ID S, is a
are n o t al w ay s g o o d , n o r n e ce s s aril y           n o e f f ectiv e th e rap y sh o u ld b e re ad ily            su f f icie n t b asis f o r ap p ro v al w ithout
b ad , in d icato rs o f th e rap e u tic b en ef it            d is ce rn e d . S u ch s tu d ie s n e e d b e lo n g          n e e d f o r f o llo w u p stu d ies . O ther
an d m u st b e ju d g ed o n a cas e - b y - cas e             an d larg e o n l y w h en th e ef f ect is sm all              e n d p o in ts , h o w e v e r, m igh t leave major
b asis. Ev e n v e ry g o o d su rro g ate s m ay               o r d if f icu lt to d e te ct. In th at ev e n t,              q u e stio n s u n an sw ere d . Fo r exam ple* a




                                                                    Alliance.App. 328                                                                    EX. 22 pg.07
                     Case: 23-10362                    Document: 95-4 Page: 84 Date Filed: 04/11/2023
            Case    2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 9 of 20 PageID 4975 8 9 4 9
             F e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a tio n s


m odest ef f ect o n w e ig h t g ain in A ID S          su b m is sio n o f p ro m o tio n al m ate rials              e n s u re th e co n tin u e d saf ety , p u rity , an d
w ithout o th e r d e m o n s trate d b en ef it, i f    w as n o t b ased u p o n an ass u m p tio n th at             p o te n cy o f th e p ro d u cts . T h e co n te n t o f
co n sid ered an ad e q u ate b asis f o r               p ro m o tio n al m ate rials f o r d ru g s                   p ro m o tio n al m ate rials is im p o rtan t to
ap p roval, w h il e a cl in ical e n d p o in t,        in te n d ed to tre at se rio u s d is e ase s are             th e co n tin u e d saf e an d e f f ectiv e u se o f
m ight leav e su f f icie n t d o u b t as to th e       m o re lik el y to b e m isl ead in g th an                    b io l o g icals .
ultim ate v alu e o f th e ef f e ct so th at            p ro m o tio n al m ate rials f or o th e r ty p e s o f          T h e re f o re , th e p ro v isio n s o f th e f inal
further stu d ie s w o u l d b e n e ce s s ary . FD A   d ru g s b e cau s e an y s u ch ass u m p tio n               ru l e re q u irin g su b m iss io n o f
intends to in te rp re t th is p ro v isio n o f th e    w o u l d b e u n f o u n d ed . O n e co m m e n t            p ro m o tio n al m ate rials p rio r to ap p ro v al
regulations w ith f lexib ility . T h is                 arg u ed th at i f an ad v e rtise m e n t o r                 u n d e r th e acce l e rate d ap p ro v al
p rovision sh o u ld al so s e rv e as a                 lab eling is in accu rate , th e p ro d u ct is                p ro ce d u re s an d su b se q u en t to s u ch
rem ind er, h o w e v e r, th at f o r lif e-            m isb ran d ed an d FD A co u l d th e n o b tain              ap p ro v al are au th o riz e d h y statu to ry
threatening d is e ase s , th e u ltim ate aim o f       in j u n ctiv e re l ie f , se iz e th e p ro d u ct, an d /   p ro v isio n s. FD A m ig h t al so in v o k e th e
therapy is im p ro v e d s u rv iv al as w el l as       o r in itiate crim in al p ro ce e d in g s.                   au th o rity o f s e ctio n 5 0 2 (n ) o f th e act (2 1
im p roved sy m p to m s.                                A n o th e r co m m e n t co n s id e re d req u irin g        U .S .C . 3 5 2 (n )) to req u ire p rio r ap p ro v al
   15. O n e co m m e n t ask ed FD A to                 ad v an ce su b m is sio n o f p ro m o tio n al               o f th e co n te n t o f an y p re scrip ti o n d ru g
clarify w h at a sp o n s o r's o b lig atio n is to     m ate rials u n re aso n ab le b e cau s e                     ad v e rtise m e n t in " e xtrao rd in ary
continue su p p l y in g m e d icatio n o n a            co m p an ie s are n o t re q u ired to d u so                 circu m s tan ce s .” W h e th e r FD A co u l d
co m p assion ate b asis i f cl i n ical e f f icacy     n o w . O n e co m m e n t q u estio n ed th e legal           ap p ro p riate ly re l y o n s e ctio n 5 0 2 (n ) o f
is not d e m o n strate d to FD A 's                     au th o rity f o r req u irin g p re su b m iss io n o f       th e a ct in p ro m u lg atin g § § 3 1 4 .5 5 0 an d
satisfaction in p o stm ark e tin g s tu d ie s b u t    p ro m o tio n al m ate rial f o llo w in g                    6 0 1 .4 5 n e e d n o t b e d e te rm in e d ,
ind ividual p atie n ts ap p e ar to b e                 ap p ro v al o f a d ru g p ro d u ct, an d th e               h o w e v e r, b e cau s e FD A is n o t re ly in g
benefiting f ro m u s e o f th e d ru g .                re aso n f or th e re q u irem en t.                           u p o n s e ctio n 5 0 2 (n ) o f th e act as legal
  S p o nso rs are n o t o b lig ated to su p p l y         T h e ag e n cy b eliev es th at th e                       au th o rity f o r th e s e (o r an y o th er)
drugs o n a " co m p as s io n ate b as is .”            re q u irem en ts f o r su b m is sio n o f                    s e ctio n s o f th e acce l e rate d ap p ro v al
W hether, i f cl i n ical s tu d ie s d id n o t         p ro m o tio n al m ate rials in th e co n te xt o f           reg u latio n s.
show ef f e ctiv en e ss, f u rth e r av ailab ility     acce l e rate d ap p ro v al are au th o riz ed b y                T h e ag e n cy b e lie v e s th at ad v an ce
of the d ru g w o u l d b e ap p ro p riate u n d e r    statu te. S u b se ctio n s 5 0 5 (d )(4 ) an d (d )( 5 )      su b m iss io n s o f p ro m o tio n al m aterials
any m ech an ism w o u l d b e d e te rm in e d          o f th e act p ro v id e th at, in d eterm in in g             f o r acce l e rate d ap p ro v al p ro d u cts are
case-b y -case.                                          w h e th e r to ap p ro v e a d ru g as saf e an d             w arran te d u n d e r th e acce l e rate d
D. P r o m o t io n al M a t e r ia ls                   ef f e ctiv e , th e ag e n cy m ay co n s id e r n o t        ap p ro v al circu m s tan ce s . T h e sp e cial
                                                         o n l y in f o rm atio n s u ch as d ata f ro m                circu m s tan ce s u n d e r w h ich d ru g s w ill
   16. T h ree co m m e n ts ass e rte d th at           cl in ical stu d ies b u t al so " a n y o th e r              b e ap p ro v e d u n d e r th e s e p ro v isio n s an d
requiring ad v an ce s u b m iss io n s o f
                                                         in f o rm atio n ” re l e v an t to saf ety an d               th e p o s sib il ity th at p ro m o tio n al
p rom otional m ate rial s is b o th b e y o n d         ef f e ctiv en e ss u n d e r th e p ro p o se d               m ate rials co u l d ad v e rse l y af f ect th e
FD A ’s statu to ry au th o rity an d is
                                                         co n d itio n s o f u se . S u ch in f o rm atio n             se n s itiv e risk / b en ef it b al an ce ju stify
u nnecessary . A l th o u g h FD A state d in            w o u l d in cl u d e in f o rm atio n ab o u t h o w          re v ie w o f p ro m o tio n al m ate rials b ef o re
the p ro p o sal th at it d o e s n o t in te n d
                                                         th e d ru g w o u l d b e p ro m o ted . In                    an d af ter ap p ro v al . Fo r e xam p l e , i f th e
sp ecif ically to ap p ro v e p ro m o tio n al          d eterm in in g w h e th e r th e d ru g ’s                    p ro m o tio n al m ate rials exag g e rate th e
m aterials, tw o co m m e n ts co n te n d e d th at     p ro p o se d lab elin g w o u ld b e " f al s e o r           k n o w n b en ef its o f th e d ru g , w id e r an d
is the lik ely ef f e ct o f ad v an ce
                                                         m isl e ad in g ” u n d e r se ctio n 5 0 5 (d )(7 ) o f       in ap p ro p riate u se o f th e d ru g co u l d b e
sub m ission. T h e co m m e n t cite d se ctio n        th e act, th e ag e n cy is sim ilarly                         e n co u rag e d , w ith h arm f u l re su lts.
502(n) o f th e a ct (21 U .S .C . 3 5 2 (n )),                                                                            S im il arl y , h ig h risk d ru g s th at are
                                                         au th o riz e d to e v alu ate " a l l m ate rial
w hich p ro v id e s th at n o re g u latio n                                                                           ap p ro v e d b ase d o n p o stm ark etin g
                                                         f acts ” d u rin g th e ap p ro v al p ro ce s s ,
prom ulgated u n d e r th at p ro v isio n sh al l       in cl u d in g th e f acts ab o u t p ro m o tio n .           re s trictio n s w o u l d n o t h av e b een
require p rio r FD A ap p ro v al o f th e                   FD A is al so au th o riz e d b y se ctio n                ap p ro v e d f or u s e w ith o u t th o se
content o f an y ad v e rtis e m e n t " e x ce p t in   5 0 5 (k ) o f th e act to re q u ire re p o rtin g o f        re s trictio n s b e cau s e th e risk / b en ef it
extraord inary ci rcu m s ta n ce s ,” an d              in f o rm atio n su b seq u en t to ap p ro v al               b al an ce w o u l d n o t justif y su ch
asserted th at th e " e xtrao rd in ary                  n e ce s s ary to en ab le th e ag en cy to                    ap p ro v al . If p ro m o tio n al m ate rials w ere
circu m stan ces” lan g u ag e w o u l d n o t           d e te rm in e w h e th e r th e re m ay b e                   to u n d e rm in e th e p o stm ark etin g
apply to d ru g s ap p ro v e d u n d e r th e           g ro u n d s f or w ith d raw in g th e ap p ro v al.          re s trictio n s , th e h e alth an d saf ety o f
accelerated ap p ro v al p ro g ram . O n e              A m o n g th e g ro u n d s f o r w ith d raw al               p atie n ts co u l d b e g re atly jeo p ard iz ed .
com m ent arg u ed th at su b m iss io n o f             sp e cif ie d in se ctio n 5 0 5 (e ) o f th e act are            A lth o u g h th e re is p o te n tial h arm f rom
p rom otional m ate rial p rio r an d                    th at th e e v id e n ce re v e al s th e d ru g is n o t      an y m isl e ad in g p ro m o tio n , an d th ere is
subsequent to ap p ro v al is u n w arran te d           sh o w n to b e saf e an d ef f e ctiv e u n d e r its         n o re as o n to b e lie v e im p ro p e r
when d ealin g w ith tre atm e n ts f or                 co n d itio n s o f u se . In ad d itio n , d ru g             p ro m o tio n is m o re lik el y in th is settin g
serious o r lif e- th reaten in g ill n e ss e s         ap p ro v al m ay b e w ith d raw n if                         th an in o th e rs , th e risk / b en ef it b alan ce
w here d is se m in atio n o f th e m o st cu rre n t    in f o rm atio n sh o w s th e lab elin g to b e               is e s p e cial l y se n s itiv e in th is settin g .
and tim ely in f o rm atio n is im p o rtan t to         f alse o r m is le ad in g . In f o rm atio n o n h o w        T h e re l ativ e ly sm all d ata b ase av ailab le
the treatin g p h y s ician . O n e co m m e n t         th e d ru g w il l b e p ro m o te d is ag ain                 an d th e m in im al p u b lis h ed in f o rm atio n
questioned w h y th e re w o u l d b e an y              re l e v an t to w h e th e r th e d ru g ’s m ark etin g      av ail ab le al so can co n trib u te to m ak ing
greater lik el ih o o d o f m isl e ad in g              ap p ro v al sh o u ld b e w ith d raw n . S e ctio n          th e p h y s ician an d p atie n t p o p u latio n s
Prom otional cl aim s f o r p ro d u cts                 7 0 1 (a) o f th e act (21 U .S .C . 3 7 1 (a))                p articu l arl y v u l n e rab le u n d e r
A pproved u n d e r th e p ro p o se d                   g en eral l y au th o riz e s FD A to p ro m u lg ate          acce l e rate d ap p ro v al circu m s tan ce s .
accelerated ap p ro v al p ro ce s s th an f o r         re g u latio n s f o r th e ef f icien t e n f o rce m e n t      R e lian ce o n co u rt actio n s (su ch as
«rugs in te n d ed to tre at serio u s o r lif e-        o f th e act.                                                  se iz u re s , in j u n ctio n s, an d crim in al
threatening d is e ase s th at are ap p ro v e d            Fo r b io l o g ical p ro d u cts , ad d itio n al          p ro s e cu tio n s ) can b e ef f e ctiv e in en d in g
under th e n o rm al N D A p ro ce d u re s . T h e      au th o rity in s e ctio n 3 5 1 o f th e PH S A ct            f alse p ro m o tio n s, b u t can o n l y b e
com m ent al so e xp re s s e d th e h o p e th at       (4 2 U .S .C . 2 6 2 ) au th o riz e s th e                    in itiate d af ter th e f act, w h e n h arm h as
the p ro p o sed re q u ire m e n t f o r ad v an ce     p ro m u lg atio n o f re g u latio n s d esig n ed to         al re ad y o ccu rre d . C o rre ctiv e ef f o rts can




                                                                 Alliance.App. 329                                                                  EX. 22 pg.08
                 Case: 23-10362                   Document: 95-4 Page: 85 Date Filed: 04/11/2023
         Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 10 of 20 PageID 498
53950       F e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u la tio n s


b e h elp f u l b u t are al w ay s s o m e w h at            ap p ro v al w h e th e r th e p ro d u ct is a n e w          th e s p o n s o r to p ro ce e d to u se
d el ay ed . U n d e r th e circu m s tan ce s o f            d ru g , an an tib io tic, o r a b io l o g ical               p ro m o tio n al m ate rial s af te r an allotted
acce l e rate d ap p ro v al , FD A b e l ie v e s th at      p ro d u ct.                                                   tim e f ram e , s u ch a s 3 0 d ay s , unless
it is f ar p re f e rab l e to av o id p ro b l e m s b y        1 8 . O n e co m m e n t co n te n d e d th at FD A         o th e rw is e n o tif ie d b y FD A .
re v ie w in g th e p ro m o tio n al m ate rial s in         re v ie w an d ap p ro v al o f al l p ro m o tio n al            A s in d icate d fay th is co m m e n t and
ad v an ce o f d ru g ap p ro v al an d o f                   p ie ce s b ef o re th e ir u se w il l in d e f in ite l y    o th e rs , ad d itio n al cl arif icatio n regarding
d is se m in atio n o f m e m ate rials .                     d e lay p ro d u ct m ark e tin g cam p aig n s an d           b o th tim in g an d co n te n t o f th e
   17.       T w o co m m e n ts su p p o rte d th e          o th e r p atie n t an d p h y s ician e d u catio n al        s u b m iss io n s o f p ro m o tio n al m aterials
p ro v isio n ab o u t su b m iss io n o f                    activ itie s , w h ich are e ss e n tial to m ark et           s e e m s u se f u l. T h e re f o re , th e agency is
p ro m o tio n al m ate rial s . O n e co m m e n t           a p ro d u ct, th ereb y sig n if ican tly                     re v is in g p ro p o s e d § § 3 1 4 .5 5 0 and
u rg ed th e ag e n cy to re q u ire th at s p e cif ic       d im in is h in g th e ad v an tag e o f s e cu rin g          6 0 1 .4 5 to m ak e it cl e ar th at, u nless
p atie n t in f o rm atio n b e in cl u d e d in              an e arl y ap p ro v al f o r th e a p p l i ca n t T h e      o th e rw is e in f o rm e d b y th e ag ency ,
p ro m o tio n al m ate rial s to in d icate th e             co m m e n t f u rth e r co n te n d e d th at th e            ap p l ican ts m u st su b m it d u rin g the
f eet th at th e d ru g ’s cl i n ical b en ef it h as        re q u ire m e n t to su b m it “ al l p ro m o tio n al       p re ap p ro v al re v ie w p e rio d co p ies of ail
n o t y e t b e en e s tab l is h e d . Fo r d ru g s         m ate rial s * * * in te n d e d f o r                         p ro m o tio n al m ate rial s in ten d ed for
ap p ro v e d u n d e r th e re s tricte d u s e              d is se m in atio n o r p u b licatio n u p o n                d is s e m in atio n o r p u b licatio n w ithin the
p ro v isio n , th e co m m e n t re co m m e n d e d         m ark etin g ap p ro v al ” w il l b e o v e rl y              f irst 120 (to ys f o llo w in g m ark eting
th at th e lab e lin g s p e cif y in d etail th e            b u rd e n so m e l o r FD A an d w il l                       ap p ro v al . T h e in itial p ro m o tio n al
e x a ct re s trictio n s p l ace d o n th e d ru g . In      u n n e ce s s aril y s l o w d o w n th e p ro ce s s f o r   cam p aig n , s o m e tim e s ref erred to as the
b o th cas e s , th e co m m e n t re co m m e n d e d        re v ie w o f al l m ate rials , n o t j u s t th o s e f or   “ l au n ch cam p aig n ,” o f ten h as a
th at th is p atie n t in f o rm atio n ap p e ar as          p ro d u cts su b j e ct to th is p ro p o se d ru l e .       sig n if ican t ef f ect o n th e clim ate o f use
b o xe d w arn in g s.                                        T h e co m m e n t re co m m e n d e d th at FD A              f o r a n e w p ro d u ct. A s d is cu sse d
   S e ctio n 5 0 2 (n ) o f th e a ct an d                   o n l y re q u e st f o r re v ie w th e p rim ary             e l s e w h e re in th is p ream b le, th e risk/
re g u latio n s at § 2 0 2 . 1 (e )( 1 ) (21 C FR            ad v e rtisin g p ie ce s , su ch as th e                      b en ef it b al an ce o f acce l e rate d approval
2 0 2 . 1 (e )( 1 )) re q u ire p re s crip tio n d ru g      in tro d u cto ry l e tte r to p h y s ician s , th e          p ro d u cts is e s p e cial l y s en sitiv e , and
ad v e rtise m e n ts (p ro m o ti o n al m ate rial)         m ain d e tail p ie ce , an d th e m ain jo u rn al            in ap p ro p riate p ro m o tio n m ay adversely
to co n tain , am o n g o th e r th in g s , a tru e          ad v e rtise m e n t, b u t n o t th e s e co n d ary          af f e ct th e b al an ce w ith resultin g harm.
s tate m e n t o f in f o rm atio n in b rie f                m ate rial s , e .g ., a l e tte r to p h arm acis ts , o f       T h e re m ay b e so m e in s tan ce s in
su m m ary re l atin g to s i d e ef f e cts ,                th e in itial p ro m o tio n al cam p aig n .                  w h ich p ro m o tio n al m ate rial s that had
co n train d icatio n s , an d e f f e ctiv e n e s s,           A s p re v io u sl y d is cu s s e d in th is               n o t b een co m p l e te d an d sub m itted by
w h ich w o u l d i n cl u d e w arn in g s,                  p re am b l e , FD A w il l b e re v ie w in g an              th e ap p l ican t p rio r to ap p ro v al w ould be
p re cau tio n s , an d l im itatio n s o n u se . T h e      ap p l ican t’s p lan n e d p ro m o tio n al                  b e n e f icial in f o sterin g saf e an d effective
in f o rm atio n in b rie f su m m ary re l atin g to         m ate rials b o th p rio r to ap p ro v al o f an              u s e o f th e p ro d u ct d u rin g th e first 120
sid e e f f e cts , co n train d icatio n s , an d            ap p l icatio n (ref l ectin g th e in itial                   d ay s . U n d e r re v is e d § § 3 1 4 .5 5 0 and
ef f e ctiv e n e s s is re q u ire d to b e b ase d          cam p aig n ) an d su b seq u en t to ap p ro v al             6 0 1 .4 5 , FD A w o u l d h av e th e discretion
s o l e ly o n th e ap p ro v e d lab elin g .                to as ce rtain w h e th e r th e m ate rials m ig h t          to co n s id e r s u ch m ate rials at a later
T h e re f o re , to th e e xte n t th at a d ru g ’s         ad v e rse l y af f ect th e d ru g ’ s s e n s itiv e         tim e . A n ap p l ican t w h o req uested
lab e lin g re f l e cts th e e xte n t o f cl in ical        ris k / b e n e f i t b al an ce . B e cau s e al l            p e rm iss io n to in cl u d e ad d itio n al
e xp o s u re an d i n cl u d e s ap p ro p riate             p ro m o tio n al m ate rials , in cl u d in g th o se         m ate rials am o n g th o s e d issem inated
w arn in g s, a d ru g ’s p ro m o tio n al m ate rial        re f e rred to b y th e co m m e n t as                        w ith in th e f irst 120 d ay s follow ing
w o u l d al so in cl u d e th is in f o rm atio n .          “ s e co n d ary ” m ate rial s , can h av e                   p ro d u ct ap p ro v al w o u l d b e notified of
   FD A re g u latio n s g o v ern in g                       sig n if ican t ad v e rse ef f ects i f th e y are            FD A ’s d e te rm in atio n . If FD A agreed that
p re s crip tio n d ru g lab e lin g (21 C FR                 m isl e ad in g , th e ag e n cy d o e s n o t ag ree          d is se m in atio n o f s u ch m aterials w as
2 0 1 .5 6 an d 2 0 1 .5 7 ) re q u ire th at se rio u s      th at su ch m ate rials s h o u ld , as a m atte r             acce p tab l e , th e m ate rials co u ld then be
ad v e rs e re actio n s an d p o te n tial saf e ty          o f co u rs e , n o t b e re q u e ste d f o r re v ie w .     d is se m in ate d o r p u b lis h ed up on
h az ard s, as w e l l as l im itatio n s in u se             In so f ar as s u ch m ate rials m ay b e                      n o tif icatio n .
im p o s e d b y th e m , b e i n cl u d e d in th e          d ire ctl y d e riv e d f ro m th e in tro d u cto ry             Fo r p ro m o tio n al m ate rial s intended
“ W arn in g ” s e ctio n o f th e lab el in g . In th e      l e tte r to p h y s ician s , o r o th e r m ate rials        f o r d is se m in atio n su b seq u en t to the
cas e o f ap p ro v al b as e d u p o n ef f ect o n a        ch aracte riz e d b y th e co m m e n t as                     in itial 1 2 0 d ay s u n d e r § § 3 1 4 .5 5 0 and
su rro g ate m id p o in t, th e “ I n d icatio n s an d      “ p rim ary ” m ate rial s , th e ad d itio n al tim e         6 0 1 . 4 5 FD A w o u l d re v ie w th e submitted
U s ag e ” s e ctio n o f th e l ab elin g w o u l d          to re v ie w th e d e riv ativ e m ate rials                   m ate rial s w ith in 3 0 d ay s o f receip t. This
re f l e ct th e n atu re o f th e d e m o n s trate d        sh o u ld n o t b e e xte n s iv e .                           3 0 - d ay p e rio d is m ean t to b e tim e-
e f f e ct If th e ap p ro v al is b ase d o n u se              T h e ag e n cy d o e s n o t ag re e w ith th e            lim ited ,- s o th at th e ap p lican t w ill be
re s trictio n s , th e lab el w o u l d al s o sp ecif y     co m m e n t’s co n te n tio n th at th e                      as s u re d o f n o u n n e ce s s ary d elay, ft will
th e re s trictio n s .                                       re q u ire m e n t to su b m it al l p ro m o tio n al         b e im p o rtan t f o r th e ap p lican t to
   FD A m ay re q u ire b o xe d w arn in g s if              m ate rials p rim to an d su b seq u en t to                   id e n tif y th e m ate rials b ein g subm itted
th e re are s p e cial p ro b l e m s ass o ciate d           ap p ro v al w il l in d e f in ite l y d e lay                ap p ro p riate l y , so th at it is cl e ar that the
w ith a d ru g , p articu l arl y th o s e th at m ay         m ark etin g cam p aig n s an d e d u catio n al               m ate rials are su b je ct to th e 30- d ay
le ad to d e ath o r s e rio u s in j u ry (2 1 C FR          activ itie s o r b e o v e rl y b u rd e n so m e to           re v ie w p e rio d . T h e ag en cy intend s to
2 0 1 .5 7 (e )). T h e ag e n cy d o e s n o t ag ree        FD A re v ie w e rs . FD A is co m m itte d to                 re v ie w all s u ch m ate rials p rom p tly, and
th at in f o rm atio n re l ate d to cl i n ical              rap id re v ie w an d e v al u atio n o f al l d ru g s        to n o tif y th e ap p l ican t o f an y identified
b en ef it o r u s e re s trictio n s f o r acce l e rate d   co n s id e re d to r ap p ro v al u n d e r th is ru le       p ro b l e m s as so o n as p o ssib le. T he
ap p ro v al d ru g s w o u l d n e ce s s aril y             an d w il l p ro m p tl y re v ie w th e                       ag e n cy e xp e cts th at, i f th e ag ency
al w ay s re q u ire a b o xe d w arn in g .                  p ro m o tio n al m ate rials .                                n o tif ie s th e ap p l ican t o f significant
   A s in d icate d b y § § 3 1 4 . 5 5 0 an d                   1 9 . O n e co m m e n t su g g e ste d a p ass iv e ,      o b j e ctio n s to th e p ro p o se d m aterials, no
5 0 1 .4 5   o f th e f in al ru l e , ap p l ican ts w ill   tim e - l im ite d cl e aran ce s y ste m f o r                m ate rial s w il l b e d is sem in ated o r
b e re q u ire d to su b m it p ro m o tio n al               re v ie w o f ad v e rtisin g af te r th e in itial            p u b lish e d u n til th e ag e n cy ’s objections
m ate rials p rio r to ap p ro v al an d in                   p ro m o tio n al cam p aig n s u ch as th at u se d           are re s o l v e d . T h e ap p lican t should plan
ad v an ce o f d is s e m in atio n su b seq u en t to        for re v ie w o f IN D ’ s, w h ich w o u l d al lo w          to al l o w su f f icie n t tim e af ter receiving




                                                                  Alliance.App. 330                                                                  EX. 22 pg.09
                  Case: 23-10362                     Document: 95-4 Page: 86 Date Filed: 04/11/2023
            F e d e ra l R e g i s te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a ti o n s 58951
          Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 11 of 20 PageID 499
FDA’s co m m e n ts  f o r re s o l v in g                   ass u re th e saf ety an d ef f e ctiv e n e s s o f            th e re i s n o s tatu to ry au th o rity to im p o se
d if ferences an d in co rp o ratin g re q u e ste d         n e w d ru g s.                                                 re s trictio n s o n d is trib u tio n f or
changes in th e su b m itte d m ate rials p rio r               T h e ag e n cy d o e s n o t ag ree w ith th e              acce l e rate d ap p ro v al d ru g s. T h e
to d issem in atio n o r p u b licatio n .                   co m m e n ts ’ co n te n tio n th at th e                      situ atio n co n s id e re d in th at cas e is
  W hen FD A re m o v e s th e re q u ire m e n t            m is b ran d in g p ro v isio n s o f th e a ct are             re ad ily d is tin g u is h ab le f ro m th e
for ad v an ce su b m iss io n o f p ro m o tio n al         irre l e v an t. S e ctio n 5 0 2 (a) o f th e act              s itu atio n ad d re ss e d in § § 3 1 4 .5 2 0 an d
m aterial, th e ag e n cy w il l co n tin u e to             p ro h ib its f alse o r m isl ead in g lab elin g o f          6 0 1 . 4 2 o f th e acce l e rate d ap p ro v al
offer a p ro m p t re v ie w o f al l v o l u n tarily       d ru g s , in cl u d in g (u n d e r s e ctio n 2 01 (n)        re g u latio n s. T h e A P h A cas e co n ce rn e d a
sub m itted p ro m o tio n al m ate rial.                    o f th e act) f ailu re to re v e al m ate rial f acts          re g u latio n th at w ith d re w ap p ro v al o f
                                                             re l atin g to p o te n tial co n s e q u e n ce s u n d e r    N D A ’s f o r m e th ad o n e , b u t p erm itted
E.    P o s t m ar k e t in g R e s t r ic t io n s          cu s to m ary co n d itio n s o f u se . S e ctio n             d istrib u tio n to ce rtain m ain te n an ce
   FD A re ce iv e d m an y co m m e n ts o n th e           5 0 2 (f ) o f th e a ct re q u ire s d ru g s to h av e        tre atm e n t p ro g ram s an d ce rtain h o s p ital
p roposed re q u ire m e n t to l im it                      ad eq u ate d ire ctio n s f o r u s e an d                     an d co m m u n ity p h arm acie s . B e cau se
d istrib ution to ce rtain f acil itie s o r                 ad eq u ate w arn in g s ag ain st u n saf e u s e ,            m e th ad o n e is a co n tro l le d su b stan ce
p hysicians w ith s p e cial train in g o r                  s u ch as m e th o d s o f ad m in is tratio n , th at          w ith in th e p ro v isio n s o f th e C o n tro l led
exp erience, o r co n d itio n d istrib u tio n o n          m ay b e n e ce s s ary to p ro te ct u se rs . In              S u b stan ce s A ct, w h ich is im p lem en te d
the p erf o rm an ce o f s p e cif ie d m e d ical           ad d itio n , s e ctio n 5 0 2 (j ) o f th e act                b y th e D rug En f o rce m e n t
p ro ced u res i f s u ch re s trictio n s are               p ro h ib its u s e o f d ru g s th at are                      A d m in is tratio n w ith th e Ju s tice
needed to co u n te rb al an ce th e d ru g ’s               d an g e ro u s to h e alth w h e n u se d in th e              D ep artm en t, th e d is trict co u rt
know n saf ety co n ce rn s .                                m an n e r su g g ested in th e ir lab elin g . Each            co n cl u d e d th at th e q u estio n o f
     20 . S ev eral co m m e n ts q u estio n ed             o f th e s e m isb ran d in g p ro v isio n s is                p erm is sib le d is trib u tio n o f th e d ru g w as
FD A ’s au th o rity to im p o s e re s trictio n s          in te n d e d , at le ast in sig n if ican t p art, to          w ith in th e ju ris d ictio n o f th e Ju stice
on d istrib u tio n o r u s e af te r an ap p ro v e d       p ro te ct co n su m e rs ag ain st th e m ark e tin g          D ep artm en t, n o t FD A . T h e C o u rt o f
                                                             o f d ru g s th at w o u l d n o t b e saf e u n d e r          A p p e al s d e te rm in e d th at th e ty p e o f
drug is m ark eted . T w o co m m e n ts
disagreed w ith th e statu to ry p ro v isio n s             ce rtain co n d itio n s o f u se. S e ctio n 7 0 1 (a)         m isu se ass o ciate d w ith m e th ad o n e , i.e .,
                                                             o f th e act au th o riz e s FD A to iss u e
cited b y FD A in th e p ro p o s e d ru le as its                                                                           m isu se b y p e rs o n s w h o h av e n o in ten t
                                                             re g u latio n s f or th e ef f icien t e n f o rce m e n t     to try to u s e d ru g s f o r m e d ical p u rp o s es,
authority to im p o s e re s trictio n s o n
                                                             o f th e act. T h e re s trictio n s o n u se
distrib ution o r u s e statin g th at th e y re f er                                                                        d if f ered f ro m saf ety iss u e s co n te m p l ate d
                                                             co n te m p l ate d b y § § 3 1 4 .5 2 0 an d 6 0 1 .4 2
only to FD A ’s g e n e ral au th o rity to                                                                                  f o r co n tro l u n d e r s e ctio n 5 0 5 o f th e act.
                                                             h e lp to en su re th at p ro d u cts th at w o u l d
ensure th at d ru g s are n o t m is b ran d e d ,                                                                           In co n tras t, th e re s trictio n s
                                                             b e m is b ran d ed u n d e r s e ctio n 5 0 2 o f th e
w hich is an e n tire l y s e p arate is su e.                                                                               co n te m p l ate d u n d e r § § 3 1 4 .5 2 0 an d
                                                             a ct are n o t m ark eted .
A nother co m m e n t arg u e d th at s e ctio n                                                                             6 0 1 .4 2 are p re cis e l y th o se d eem ed
                                                                 T h e re s trictio n s o n u se im p o se d
503(b) o f th e a ct (21 U .S .C . 3 5 3 (b ))                                                                               n e ce s s ary to e n su re th at s e ctio n 5 0 5
                                                             u n d e r se ctio n 5 0 3 o f th e act, w h ich
co ntem p lates th at th e is s u e s w arran tin g                                                                          crite ria h av e b e en m e t, i.e ., re s trictio n s
                                                             re l ate to p re scrip tio n u se lim itatio n s,
a restriction as to d is trib u tio n are n o t                                                                              to en su re th at th e d ru g w il l b e saf e
                                                             p rim arily co n ce rn w h e th e r a d ru g is saf e
factors in w h e th e r a d ru g p ro d u ct is                                                                              u n d e r its ap p ro v e d co n d itio n s o f u se . It
                                                             f o r u s e e xce p t u n d e r th e su p e rv is io n o f
" saf e” f or p u rp o s e s o f ap p ro v al , b u t                                                                        is cl e arl y FD A ’s re sp o n sib il ity to
                                                             a l ice n se d p ractitio n e r. W h il e th e
rather o n ly w h e th e r th e p ro d u ct m u s t b e                                                                      im p le m e n t th e statu to ry p ro v isio n s
                                                             ag e n cy ag rees th at th e re s trictio n s
lim ited to p re s crip tio n statu s. T w o                                                                                 reg ard in g n e w d ru g ap p ro v al.
                                                             im p o s e d u n d e r § § 3 1 4 .5 2 0 an d 6 0 1 .4 2
com m ents said th at, in th e ab se n ce o f                                                                                   N o r d o e s FD A ag ree th at th e
                                                             co n ce rn in g d is trib u tio n to ce rtain
specific statu to ry au th o rity , th e co u rts                                                                            p ro v isio n s p lacin g re s trictio n s o n
                                                             f acil itie s o r p h y s ician s w ith sp e cial
clearly h av e re f u se d to p e rm it FD A to                                                                              d is trib u tio n to ce rtain f acil ities o r
                                                             train in g o r e xp e rie n ce w o u l d b e in
im pose re s trictio n s o n d is trib u tio n an d                                                                          p h y s ician s , o r co n d itio n e d o n th e
                                                             ad d itio n to o rd in ary p re scrip tio n
cited A m e r ic an P h a r m a c e u t ic a l                                                                               p e rf o rm an ce o f ce rtain m e d ical
                                                             l im itatio n , FD A b eliev es th e s e
A s s o c iat io n (A P h A ) v . W e in b e r g e r , 377                                                                   p ro ce d u re s, im p erm iss ib l y in terf ere
                                                             re s trictio n s are co n siste n t w ith th e sp irit
F.    Supp. 8 2 4 , 8 2 9 n . 9 (D .D .C . 1 9 7 4 ),
                                                             o f se ctio n 5 0 3 o f th e act, as w ell as th e              w ith th e p ractice o f m e d icin e an d
° f f d s u b n o m . A P h A v . M at h e w s , 5 3 0                                                                       p h arm acy . T h e re is n o leg al su p p o rt for
                                                             o th e r p ro v isio n s o f th e açt ref e rred to , in
F.2 d   1 0 5 4 (D .C . C ir 1 9 7 6 ) , a cas e _
                                                             en su rin g saf e u se .                                        th e th e o ry th at FD A m ay o n l y ap p ro v e
concerning co n d itio n s p l ace d o n th e                  N ew d ru g s m ay b e ap p ro v e d u n d e r                s p o n so rs’ d ru g s w ith o u t re s trictio n
approval o f th e d ru g m e th ad o n e .                   s e ctio n 5 0 5 (d ) o f th e a ct o n ly if th e y are        b e cau s e p h y s ician s o r p h arm acis ts m ay
  Som e co m m e n ts as s e rte d th at p l acin g          saf e f o r u s e u n d e r th e co n d itio n s                w is h to p re scri b e o r d is p e n s e d ru g s in
restrictions o n th e d is trib u tio n o f an               p re scrib e d , re co m m e n d e d , o r su g g ested         a ce rtain w ay . T h e re s trictio n s u n d e r
approved d ru g to o n l y ce rtain f acil itie s            in th e p ro p o se d lab elin g , h i ad d itio n , f or       th e s e p ro v isio n s w o u l d b e im p o se d o n
or p h y sician s, o r re s trictin g u s e to               ap p ro v al , a d ru g ’s lab elin g m u st n o t b e          th e sp o n so r o n l y as n e ce s s ary f o r saf e
certain m e d ical p ro ce d u re s in te rf e re s          f alse o r m isl e ad in g b ase d o n a f air                  u se u n d e r th e e xtrao rd in ary
with th e p ractice s o f m e d icin e an d                  e v alu atio n o f al l m ate rial f acts , w h ich             circu m s tan ce s o f th e p articu l ar d ru g an d
p harm acy, w h ich th e co m m e n ts                       w o u l d in cl u d e d etail s ab o u t th e                   u se . W ith o u t su ch re s trictio n s , th e d ru g s
contend ed FD A d o e s n o t h av e th e                    co n d itio n s o f u se . Fo r b io lo g ical                  w o u l d n o t m e e t th e statu to ry crite ria,
authority to re g u late .                                   p ro d u cts , se ctio n 3 5 1 (d ) o f th e PH S A ct          co u l d n o t b e ap p ro v e d f or d istrib u tio n ,
     T he ag en cy b e l ie v e s th at th e                 al so au th o riz e s th e im p o sitio n o f                   an d w o u l d n o t b e av ailab le for
restrictions to e n s u re saf e u s e                       re s trictio n s th ro u g h re g u latio n s                   p re scrib in g o r d is p en sin g . T h e ag en cy ,
con tem p lated f o r ap p ro v al s u n d e r               “ d es ig n ed to in su re th e co n tin u e d                  as a m atte r o f l o n g stan d in g p o l icy , d o es
§§ 3 1 4 .5 2 0 an d 6 0 1 . 4 2 are au th o riz e d b y     saf ety , p u rity , an d p o te n cy ” o f th e                n o t w is h to in te rf e re w ith th e
statute. A s d is cu s s e d in th e p re am b l e to        p ro d u cts .                                                  ap p ro p riate p ractice o f m e d icin e o r
the p ro p o sed ru l e ( 5 7 F R 1 3 2 3 4 at                  T h e ag e n cy d isag rees w ith th e                       p h arm acy . In th is in s tan ce , th e ag en cy
13237), se ctio n s 5 0 1 , 5 0 2 , 5 0 3 , 5 0 5 , an d     co m m e n ts ’ im p l icatio n th at th e co u rts ’           b eliev es th at rath e r th an in terf erin g w ith
           a ct p ro v id e b ro ad au th o rity             ru l in g s in A m e r ic a n P h a r m a c e u t ic a l        p h y s ician o r p h arm acy p ractice , th e
tor FD A to iss u e re g u l atio n s to h e lp              A s s o c ia t io n ( A P h A ) v . W e in b e r g e r m e an   reg u latio n s p e rm it, in e xce p tio n al cas e s,




                                                                   Alliance.App. 331                                                                    EX. 22 pg.10
                    Case: 23-10362                     Document: 95-4 Page: 87 Date Filed: 04/11/2023
            F e d e r « ! R e g i s te r / V g I. 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a ti o n s
5B952
          Case    2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 12 of 20 PageID 500
                                                            th e rap e u tic are a b ein g co n s id e re d an d            o n a p atie n t w h ich ach ie v e s the
ap p ro v al o f d ru g s w ith re s trictio n s so
                                                            in re l e v an t d ru g d is trib u tio n sy ste m s.           o b j e ctiv e o f p re v e n tin g p ro b lem s w ith
th at th e d ru g s m ay b e av ail ab le f o r
                                                            W h e re ap p o in tm e n t o f p h arm acis ts to              d ru g th e rap y . S o m e co m m e n ts argued
p re scrib in g o r d is p e n sin g .
                                                            th e s e co m m itte e s o r p an e ls i s n o t                th at th ro u g h th e rap e u tic o u tco m es
   21.       O n e co m m e n t as serted th at
p o s tm ark etin g re s trictio n s o n                    f easib le, th e co m m e n t re co m m e n d e d               m o n ito rin g , a p h y s ician , a p h arm acist,
                                                            th at FD A u se p h arm acis ts in a                            an d a p atie n t can w o rk to g e th er to
d is trib u tio n to ce rta i n f atalitie s o r
                                                            co n s u l tan t cap acity . A n o th e r co m m e n t          p re v e n t p ro b l e m s w ith d rag therapy by
p h y s ician s w ith ce rtain train in g o r
                                                            arg u ed th at cu rre n t sy stem s f o r d rag                 b ein g co n s tan tl y al e rt to sig ns o f trouble.
e xp e rie n ce sh o u ld b e l im ite d to rare
                                                            d is trib u tio n in co rp o rate “ ch e ck s an d              O n e co m m e n t said th at in d icato r data
o ccas io n s i s cas e s o f e xtre m e h az ard to
                                                            b al an ce s ” s u ch th at p re s crib e !* an d               ru n b e ro u tin e l y re p o rte d to a central
p atie n t s af ety in w h ich to x i ci ty o f a
                                                            p h arm acis ts w o rk to g e th e r to ass u re saf e          co l l e ctio n p o in t f o r u til iz atio n review by
p articu l ar d ru g m ay re q u ire it, b u t
                                                            u s e o f a d ru g b y a p atie n t. T w o                      h e al th ca re p ro f e ss io n als , f o llow ed by
sh o u ld n o t b e ap p l ie d b e cau s e o f
                                                            co m m e n ts w o u l d o p p o se an y re s tricte d           e d u catio n al p ro g ram s to f u rther improve
in su f f icien t efficacy d ata. S o m e
co m m e n ts arg u ed th at saf e ty issu es in            d is trib u tio n sy ste m th at al l o w s                     th e e f f icacy o f d rag th erap y .
                                                            m an u f actu re rs e xcl u s iv e l y to d e liv e r               T h e p o stm ark etin g re strictio n s set
th e co n te xt o f d ru g u s e sh o u ld b e
                                                            p re s crip tio n d rag s d ire ctl y to p atie n ts.           f o rth in th e p ro p o sal an d in th is final
ad d re ss e d th ro u g h p atient m an ag e m e n t
                                                            O n e co m m e n t ask ed w h e th e r FD A o r                 ra l e are in te n d e d to e n h an ce th e safety
an d ef f e ctiv e p ro d u ct l ab elin g , n o t
                                                            th e ap p l ican t w o u l d m o n ito r th e crite ria         o f a d rag w h o se risk s w o u l d outw eigh
th ro u g h re s tricte d d is trib u tio n . In
                                                            f or re s tricte d d istrib u tio n s ite s o r                 its b e n e f its in th e ab se n ce o f the
s u p p o rt o f th is arg u m e n t, th e co m m e n ts
                                                            p h y s ician s .                                               re s trictio n . T h e rap e u tic o u tco m es
cite d th e l ab elin g o f o n co l o g ic d ru g s ,
                                                               T h e m e d ical re v ie w in g d iv is io n s               m o n ito rin g d o e s n o t co n trib u te to that
w h ich p ro v id e s p h y s ician s w ith
                                                            w ith in FD A ’s O D ER an d C BER w ill                        e n h an ce m e n t, an d w o u l d n o t b e
ad eq u ate w arn in g s an d
                                                            d e te rm in e i f re s tricte d d is trib u tio n o r          re q u ire d u n d e r th is ra l e .
re co m m e n d atio n s f o r th e ir u s e w ith o u t
                                                            u se sh o u ld b e im p o s e d . FD A w ill                       24.       S o m e co m m e n ts ask ed th at FDA
l im itin g d is trib u tio n .
                                                            u su al ly seek th e ad v ice o f o u tsid e e xp e rt          cl arif y h o w p ro d u cts w il l m o v e from
    FD A ag re es w ith th e s e co m m e n ts in
                                                            co n s u l tan ts o r ad v iso ry co m m itte e s               re s trictiv e s tatu s to a re g u lar
p art an d in te n d s to im p o s e re s trictio n s
                                                            b ef o re m ak in g th i s d e te rm in atio n , an d           p re s crip tio n d rag statu s. T h e com m ents
o n d is trib u tio n o r u s e u n d e r th is ra l e
                                                             w il l, o f co u rs e , co n s u l t w ith th e                as s e rte d th at al l co n d itio n s associated
o n l y in th o s e rare in s tan ce s in w h ich
                                                                                                                             w ith acce l e rate d ap p ro v al sho uld
th e ag e n cy b e lie v e s carefully w o rd e d            ap p lican t.
                                                               T h e ag e n cy d o e s n o t ag ree th at FD A               au to m atical l y te rm in ate f ollow ing
lab elin g f o r a p ro d u ct g ran te d
                                                             sh o u ld d ev el o p crite ria th at cl e arl y                co m p l e tio n o f co n f irm ato ry clin ical
acce l e rate d ap p ro v al w il l n o t ass u re th e
                                                             estab lis h th e activ itie s o f h e alth care                 trial s ; o n e co m m e n t u rg ed FD A to
p ro d u ct’s saf e u se . A s s tate d in th e
                                                             p ro f e ss io n als in th e ca re o f p atie n ts              e xp l icitl y state th is in th e f inal rule. One
 p re am b le to th e p ro p o s e d ra l e (5 7 FR
                                                             re ce iv in g a d rag ap p ro v e d u n d e r th is             co m m e n t ass e rte d th at restrictio n s
 1 3 2 3 4 at 1 3 2 3 7 ) , FD A b e lie v e s th at th e
                                                             ra l e an d f or w h ich re s tricte d                          sh o u ld au to m atical l y b e rem o v ed 180
 saf e u se o f m o st p re s crip tio n d ru g s w il l
                                                             d is trib u tio n h as b een im p o s e d ; A n y               d ay s af te r a s u p p l e m e n tal ap p licatio n
 co n tin u e to b e as s u re d th ro u g h
                                                             p o s tm ark etin g re s trictio n s re q u ired                co n tain in g th e d ata f ro m th e
 trad itio n al p atie n t m an ag e m e n t b y
                                                             u n d e r th is ra l e w il l im p o s e an                     p o stm ark e tin g stu d y h as b een filed if
 h e al th p ro f e ss io n als an d th ro u g h
 n e ce s s ary saf e ty w arn in g s in th e d ra g ’s      o b lig atio n o n th e ap p l ican t to e n su re              FD A h as n o t y e t acte d U pon th e
                                                             th at th e d ru g o r b io l o g ical p ro d u ct is            s u p p l e m e n tal ap p l icatio n an d the
 lab elin g .
                                                             d istrib u te d o n l y to th e sp e cif ie d                   p ro d u ct s h o u ld b e d e e m e d ap p rov ed as
    2 2 r T w o co m m e n ts as k ed w h o w ill
                                                             f acil itie s o r p h y s ician s . FD A w il l seek            if b y “ trad itio n al ” p ro ce d u re s and all
 d e te rm in e i f re s tricte d d is trib u tio n
                                                             th e ad v ice o f o u ts id e co n s u l tan ts w ith           o th e r p ro v isio n s o f th e act sho u ld apply,
 sh o u ld o ccu r an d w h at f acil itie s o r
                                                             e xp e rtis e in d istrib u tio n sy stem s o r                 e .g ., th e ap p l ican t m u s t h av e a formal
 p h y s ician s w ith s p e cial train in g o r
                                                             ad v iso ry co m m itte e s w h e n n e ce s s ary in           h earin g b ef o re re m o v al o f th e product
 e xp e rie n ce w il l p articip ate . S ev e ral
 co m m e n ts e xp re s s e d co n ce rn th at              d e te rm in in g th e n e e d f or o r ty p e o f              f ro m th e m ark et.
                                                             re s tricte d d is trib u tio n . T h e l im itatio n s             FD A w il l n o tif y th e ap p lican t w hen a
 re s tricte d d is trib u tio n an d / o r
                                                             o n d istrib u tio n o r u s e im p o s e d u n d e r           p articu l ar re s trictio n is n o lon g er
 co n d itio n al u s e m ay n o t in cl u d e all
                                                                                                                             n e ce s s ary f or saf e u se o f th e p rod u ct, to
 h e alth care p ro f e ss io n als w h o sh o u ld          th is ru l e , in cl u d in g s p e cif ic d is trib u tio n
                                                             sy stem s to b e u s e d an d th e ap p l ican t’ s             th e cas e o f d rag s ap p ro v e d w ith a
 p articip ate in saf e an d ef f e ctiv e p atie n t
                                                                                                                             re q u ire m e n t f o r p o s tap p ro v al studies,
 care . T w o o rg an iz atio n s re p re s e n tin g        p lan f o r m o n ito rin g co m p l ian ce w ith
                                                             th e l im itatio n s , w il l h av e b e en ag ree d to          FD A w o u l d e x p e ct th at al l o f the
 p h arm acis ts as k ed th at FD A d e v e l o p
                                                                                                                              p o s tap p ro v al re q u ire m e n ts set forth in
 f u n ctio n al an d o b j e ctiv e crite ria th at         b y th e ap p l ican t at th e tim e o f ap p ro v al .
                                                                                                                              th is ra l e , i .e ., su b m iss io n o f promotional
 cl e arl y e s tab l is h th e activ itie s o f             T h e b u rd en is o n th e ap p l ican t to e n s u re
                                                              th at th e co n d itio n s o f u s e u n d e r w h ich          m ate rial an d u s e o f e xp e d ite d
 p h arm acis ts , p h y s ician s , an d o th e rs in
                                                                                                                              w ith d raw al p ro ce d u re s , w o u l d no
 th e care o f p atie n ts re ce iv in g a d rag              th e ap p l ican t’s p ro d u ct w as ap p ro v e d
                                                                                                                              l o n g e r ap p l y af ter p o s tm ark etin g studies
 u n d e r re s tricte d d is trib u tio n . T h e            are b ein g f o llo w ed . A s ap p ro p riate , FD A
                                                                                                                              h av e v e rif ie d an d d escrib ed th e drug s
 co m m e n ts as s e rte d th at an y h e al th care         m ay m o n ito r th e sp o n s o r’ s co m p l ian ce
                                                                                                                              cl in ical b en ef it. C o n cu rre n t w ith the
 p ro f e ss io n al th at m e t th e s e crite ria           w ith th e sp e cif ie d te rm s o f th e ap p ro v al
                                                                                                                              re v ie w o f th e p o stm ark etin g stud ies, it
 sh o u ld b e al l o w e d to p articip ate in               an d w ith th e s p o n s o r's o b lig atio n s.
                                                                2 3 . O n e co m m e n t re co m m e n d e d th at            re q u e ste d , FD A w il l al so re v ie w the
  d is trib u tio n o f th e d rag m id ca re o f th e
                                                              p ro p o se d § 3 1 4 . 5 2 0 b e m o d if ied to               n e e d to co n tin u e an y re strictio n s on
  p atie n t. O n e co m m e n t re co m m e n d e d
                                                              in cl u d e th e rap e u tic o u tco m e s                      d is trib u tio n th at h av e b een im p osed, in
  th at an y p o stm ark e tin g re s trictio n s o n
                                                              m o n ito rin g as a th ird e xam p l e o f a                   th e cas e w h e re re s trictio n s o n
  d is trib u tio n o r u s e o f a d ra g ap p ro v e d
                                                                                                                              d is trib u tio n o r u se h av e b een imposect,
  u n d e r th e acce l e rate d ap p ro v al p ro ce s s     p e rm iss ib l e p o s tm ark etin g re s trictio n .
                                                              T h e co m m e n t d e f in e d th e rap e u tic                s u ch re s trictio n s w o u l d b e elim inate
  b e d e v e l o p e d b y ap p ro p riate FD A
                                                              o u tco m e s m o n ito rin g as th e s y s te m atic           o n l y i f FD A d e te rm in e s th at saf e use or
  ad v iso ry co m m itte e s o r p an e l s
                                                              an d co n tin u al m o n ito rin g o f th e cl i n ical         th e p ro d u ct can b e ass u re d w ith ou t
  e xp an d e d to i n cl u d e p h y s ician s an d
                                                                                                                              th e m , th ro u g h ap p ro p riate labeling, to
  p h arm acis ts w ith e xp e rtis e in th e                 an d p s y ch o s o cial ef f e cts o f d ru g th e rap y




                                                                   Alliance.App. 332                                                                    EX. 22 pg.11
                 Case: 23-10362                    Document: 95-4 Page: 88 Date Filed: 04/11/2023
           F e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a tio n s 58953
         Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 13 of 20 PageID 501
 som e cas e s, h o w e v e r, th at as s u ran ce         w o rd e d lab elin g , FD A w il l ap p ro v e th e          p o s tm ark etin g stu d ie s to b e p erf o rm ed
 could n o t b e e xp e cte d an d th e n atu re o f       p ro d u cts f o r e arl y m ark etin g o n l y i f           as a co n d itio n o f ap p ro v al b ase d o n a
 the sp ecif ic saf ety iss u e raise d b y th e           p o s tm ark etin g re s trictio n s o n                      “ s u rro g ate ” e n d p o in t. O n e co m m e n t
 p rod uct m ig h t re q u ire co n tin u e d              d is trib u tio n o r u s e are im p o s e d . T h e          s tate d th at i t i s w id e l y acce p te d th at th e
 restriction s. FD A n a s ad d e d n e w                  p h rase “ sh o w n to b e e f f e ctiv e ” w as n o t        a ct e m p o w e re d th e ag e n cy to d ef in e th e
 § § 3 1 4 .5 3 0 an d 6 0 1 . 4 6 to state w h e n        in te n d e d to d is tin g u is h d ru g s ap p ro v e d     ty p e an d e xte n t o f e f f icacy d ata
 p ostap p ro val re q u ire m e n ts w il l n o           u n d e r n e w su b p art H f ro m m u g s                   n e ce s s ary to ap p ro v e a p ro d u ct
 longer ap p ly an d state th at th e ap p l ican t        ap p ro v e d u n d e r an y o th e r su b p art o f th e     ap p l icatio n . If a su rro g ate m ark er can b e
 m ay p etitio n th e ag e n cy , in acco rd an ce         re g u latio n s. A l l d ru g s ap p ro v e d w ill          sh o w n to b e su f f icien tly re l ate d to
w ith 21 C FR 1 0 .3 0 , a t an y tim e to                 h av e h ad ef f e ctiv e n e s s d e m o n s trate d o n     actu al p atie n t b en ef it, th e n , th e
rem ove s p e cif ic p o s tap p ro v al                   th e b as is o f ad e q u ate an d w e ll -                   co m m e n t ass e rte d , d ata reg ard ing th e
req uirem ents.                                            co n tro l l e d stu d ies, w h e th e r th e                 ef f ect o f a d ru g o n a su rro g ate m ark er
   W ith re s p e ct to th e su g g e ste d tim e          e n d p o in t o f th e stu d ie s is a su rro g ate          co n s titu te acce p tab l e p ro o f o f ef f icacy
period f or re m o v in g re s trictio n s o n             e n d p o in t o r a cl in ical e n d p o in t.               u n d e r th e a c t T w o co m m e n ts u rg ed
distrib ution o r u s e f o llo w in g su b m is sio n          2 6 . O n e co m m e n t e xp re s s e d co n ce rn      FD A to co n tin u e to ask ap p l ican ts to
of a su p p le m en tal ap p l icatio n                    th at th e p ro p o se d re s tricte d d istrib u tio n       ag re e v o l u n taril y to p erf o rm
containing th e d ata f ro m a                             o r u s e p ro v isio n s w o u l d re s trict o r            p o stm ark etin g stu d ie s w h en m e d ically
p ostm ark eting s tu d y , FD A d o e s n o t             e l im in ate th e w h o l e s al e d is trib u tio n o f     w arran te d as is th e cu rre n t p o l icy u n d e r
believe it sh o u ld p re scrib e an y sp e cif ic         d ru g s ap p ro v e d th ro u g h th e acce l e rate d       th e trad itio n al ap p ro v al p ro ce s s . O n e
tim e p eriod . T h e s e ap p l icatio n s w ill          ap p ro v al p ro ce ss .                                     co m m e n t e xp re s s e d co n ce rn th at
receive a p rio rity ratin g an d FD A is                      T h e lim itatio n s o n d is trib u tio n o r u s e      req u irin g p o stm ark etin g stu d ie s m ay
firmly co m m itte d to e xp e d ite d re v ie w o f       re q u ired u n d e r th is ru l e are im p o s e d o n       b eco m e , th e n o rm rath e r th an th e
an ap p licatio n co n s id e re d f o r                   th e ap p lican t. T h eref o re , th e b u rd en is          e xce p tio n .
accelerated ap p ro v al an d al l d ata                   o n th e ap p l ican t to e n s u re th at th e                  T h e ag e n cy ’s re s p o n s e to co m m e n t 1 .
sub m itted f ro m a p o stm ark e tin g stu d y to        co n d itio n s o f u se u n d e r w h ich th e               e xp l ain e d th e ci rcu m s tan ce s in w h ich
verify cl in ical b e n e f it an d b e lie v e s m o st   ap p l ican t’s p ro d u ct w as ap p ro v e d are            FD A m ig h t co n cl u d e th at a d ru g sh o u ld
review s w ill b e co m p l e te d an d actio n            b ein g f o llo w ed . T h is ru l e d o e s n o t            b e m ark e te d o n th e b as is o f an ef f ect o n
taken w ith in 1 6 0 d ay s .               <?             sp e cif y h o w a m an u f actu re r w ill                   a su rro g ate e n d p o in t re aso n ab ly lik ely
   25.     O ne co m m e n t arg u ed th at, as            d is trib u te its p ro d u ct to th o se re ce iv in g       to p re d ict cl i n ical b en ef it o n l y if stu d ies
proposed, it is n o t cl e ar h o w acce l e rate d        th e p ro d u ct u n d e r th e ap p ro v al te rm s.         w e re carrie d o u t to co n f irm th e p re se n ce
approval w o u ld ap p l y to d ru g s w h ich             FD A w il l o n l y d e te rm in e w h ich                    o f th e lik el y b en ef it. A s d is cu s se d in th e
fall un d er th e co n d itio n s d e scrib e d in         f acil itie s o r p h y s ician s m ay re ce iv e th e        p re am b l e to th e p ro p o se d ru l e (5 7 FR
§ § 3 1 4 .5 2 0 an d 6 0 1 . 4 2 , w h ich state th e     d ru g , an d th e ap p l ican t w il l h av e ag ree d       1 3 2 3 4 at 1 3 2 3 6 ) , FD A b elie v es th at it is
p ostm ark eting re s tricti o n s o n                     to th is lim itatio n o n d istrib u tio n o r u se.          au th o riz e d b y l aw to re q u ire
distrib ution o r u se th at FD A m ay ap p ly ,              2 7 . O n e co m m e n t e xp re s s e d co n ce rn        p ostm airk etin g s tu d ie s f o r n e w d ru gs
b ecause th e l an g u ag e o f th e s e se ctio n s       th at th e p ro p o se d p o s tm ark etin g                  an d b io l o g ical p ro d u cts . S e ctio n 5 0 5 (d )
exp licitly states th at th e s e ctio n s ap p ly         re s trictio n p ro v isio n d o e s n o t p re cl u d e      o f th e act p ro v id e s f o r th e ap p ro v al o f
to p ro d u cts “ sh o w n to b e e f f e ctiv e ,”        a p h y s ician to w h o m re s tricte d                      n e w d ru g s f o r m ark etin g if th e y m e et th e
w hich are al re ad y ad e q u ate l y co v e re d         d istrib u tio n ap p lie s f ro m p re scrib in g            saf ety an d e f f ectiv en es s crite ria se t forth
by the act. T o th e co m m e n t, th e                    d ru g s ap p ro v e d u n d e r th e acce l e rate d         in s e ctio n 5 0 5 (d ) o f th e act an d th e
language “ sh o w n to b e e f f e ctiv e ”                ap p ro v al p ro ce s s f or u n ap p ro v e d (off-         im p le m e n tin g re g u latio n s (21 C FR p art
im plies th at f u ll Ph as e 3 e f f icacy trial s        lab el) u se s.                                               3 1 4 ). A s d is cu s s e d in th e p ro p o se d ru le,
have b een co n d u cte d , ass e ss e d , an d               T h e co m m e n t is co rre ct th at th is ru l e         to d e m o n s trate ef f e ctiv en e ss, th e law
deem ed to d e m o n s trate th at th e d ru g is          d o e s n o t its e l f p re v e n t a p h y s ician f ro m   re q u ire s e v id e n ce f ro m ad eq u ate an d
effective f or its p ro p o s e d u s e . If th e          p re scrib in g a d ru g g ran ted acce l e rate d            w e l l - co n tro l l ad cl in ical stu d ie s o n th e
clinical d ata d e m o n s trate th at th e                ap p ro v al f o r an u n ap p ro v e d u se . U n d e r      b asis o f w h ich q u alif ied e xp e rts co u ld
p roduct h as an acce p tab l e saf ety p ro f il e,       th e act, a d ru g ap p ro v e d f o r m ark etin g           f airly an d res p o n sib ly co n cl u d e th at th e
the safe u se o f th e d ru g s h o u ld b e               m ay b e lab ele d , p ro m o te d , an d                     d ru g h as th e ef f ect it is p u rp o rte d to
addressed in th e p ro d u ct lab elin g . T h u s ,       ad v e rtise d b y th e m an u f actu re r o n l y f or       h av e . U n d e r se ctio n 5 0 5 (e ) o f th e act,
the co m m en t arg u e d th at § § 3 1 4 .5 2 0 an d      th o s e u se s f o r w h ich th e d ru g ’s saf ety          ap p ro v al o f a n e w d ru g ap p licatio n is to
601.42 sh o u ld n o t b e in cl u d e d in n e w          an d ef f e ctiv e n e s s h av e b e en estab l is h ed      b e w ith d raw n if n e w in f o rm atio n sh o w s
subpart H o f p art 3 1 4 an d su b p art E o f            an d th at FD A h as ap p ro v e d . Ph y s ician s           th at th e d ru g h as n o t b een d em o n strated
part 6 0 1 , re s p e ctiv e l y , w h ich d e al w ith    m ay ch o o s e to p re scrib e th e d ru g f o r a           to b e e ith e r saf e o r ef f ectiv e. A p p ro v al
accelerated ap p ro v al b e cau s e th e s e              co n d itio n n o t re co m m e n d e d in lab elin g .       m ay al so b e w ith d raw n i f n ew
sections e xp l icitl y ap p l y to p ro d u cts           S u ch o f f -lab el u s e w o u l d , o f co u rs e , b e    in f o rm atio n sh o w s th at th e d ru g ’s
show n to b e ef f e ctiv e u n d e r a f u ll d ru g      carrie d o u t u n d e r th e re s trictio n s                lab elin g is f alse o r m islead in g .
d evelop m ent p ro g ram
                                                           im p o s e d u n d e r th is s e ctio n . FD A als o             S e ctio n 5 0 5 (k ) o f th e act au th o riz es
   S ection s 3 1 4 .5 2 0 an d 6 0 1 . 4 2 ap p ly
                                                           b e lie v e s th at p h y s ician s w il l b e                th e ag e n cy to p ro m u lg ate reg u latio n s
not only to d ru g s an d b io l o g ical
                                                           co g n iz an t o f th e p ro d u ct’s s p e cial risk s       req u irin g ap p l ican ts to m ak e re co rd s
products ap p ro v ed o n th e b asis o f an
                                                           an d w il l u s e s u ch d ru g s w ith p articu l ar         an d re p o rts o f d ata o r o th e r inf o rm atio n
effect o n a su rro g ate e n d p o in t b u t al so
                                                           care . T h e lab elin g o f p ro d u cts ap p ro v e d        th at are n e ce s s ary to en ab le th e ag en cy
 o drugs an d b io l o g ical p ro d u cts th at                                                                         to d e te rm in e w h e th e r th ere is reas o n to
                                                           u n d e r th is ru l e w il l in cl u d e all
 ave b een stu d ie d f o r th e ir saf ety an d                                                                         w ith d raw ap p ro v al o f an N D A . T h e
                                                           n e ce s s ary w arn in g s an d f ull d is cl o su re
ef f ectiveness in tre atin g s e rio u s o r lif e-                                                                     ag e n cy b eliev es th at th e re f eren ced
                                                           lab elin g w o u l d g en erall y re f l e ct th e
threatening i ll n e ss e s u sin g cl i n ical                                                                          re p o rts can in cl u d e ad d itio n al stu d ies to
                                                           e xte n t o f cl in ical e xp o s u re to th e d ru g.
®n^ ;Pptnts an d th at h av e se rio u s                                                                                 ev alu ate th e cl in ical ef f ect o f a d rug
oxicity. In e ith e r cas e , i f th e p ro d u cts        F.   P o s t m a r k e t in g S t u d ie s
                                                                                                                         ap p ro v ed o n th e b asis o f an ef f ect on a
are so p o ten tially h arm f u l th at th e ir saf e         2 8 . T h re e co m m e n ts arg u ed th at FD A           su rro g ate e n d p o i n t S ectio n 7 0 1 (a) o f tha
—0 - an n o t b e ass u re d th ro u g h care f u ll y     d o e s n o t h av e th e au th o rity to req u ire           act g en erally au th o riz e s FD A to issu e




                                                                  Alliance.App. 333                                                                  EX. 22 pg.12
            Case: 23-10362                    Document: 95-4 Page: 89 Date Filed: 04/11/2023
58954
     Case F2:22-cv-00223-Z               Document 1-23 Filed 11/18/22 Page 14 of 20 PageID 502
            e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u latio n s


re g u latio n s f o r th e " e f f icie n t                   in th e ap p l ican t’s m ark etin g ap p l icatio n .          im p o rtan t e th ical q u estio n s because

e n f o rce m e n t" o f th e act.                             In ad d itio n , in acco rd w ith th e an n u al                o n ce a d ru g p ro d u ct is ap p roved , it may
' W ith re s p e ct to b io l o g ical p ro d u cts ,          re p o rtin g re q u ire m e n ts at                            b e u n e th ical , d e p e n d in g o n the
s e ctio n 3 5 1 o f th e PH S A ct p ro v id e s              § 3 1 4 .8 1 (b )(2 )(v i i) (2 1 C FR                          circu m s tan ce s , fo r a p h y sician to
leg al au th o rity f o r th e ag e n cy to re q u ire         3 1 4 .8 1 (b )(2 )(v i i), an N D A ap p l ican t is           co n d u ct a s tu d y u sin g a p laceb o control.
p o s tm ark etin g stu d ie s f o r th e s e                  re q u ire d to p ro v id e FD A w ith a                        O n e co m m e n t al s o co n ten d ed that a
 p ro d u cts . L ice n s e s f o r b io l o g ical            state m e n t o f th e cu rre n t s tatu s o f an y             p o stm ark etin g stu d y req uirem ent could
 p ro d u cts are to b e is s u e d o n l y u p o n a          p o s tm ark etin g stu d ie s . FD A d e cl in e s to          co m p ro m is e th e N D A h o l d e r’s ability to
sh o w in g th at th e y m e e t s tan d ard s                 im p o s e th e s an ctio n s su g g e ste d b y th e           e n ro l l su f f icie n t n u m b ers o f patients in
" d e s ig n e d to in s u re th e co n tin u e d              co m m e n t f o r f ailu re o f an ap p l ican t to            th e s tu d y w h e n th e n e w ap p roved drug
saf ety , p u rity , an d p o te n cy o f su ch                m e e t its p l an s f o r co m p l e tio n o f a               an d p o s sib le al te rn ativ e therap ies are
p ro d u cts " p re s crib e d in re g u latio n s (4 2        p o stm ark etin g s tu d y . FD A b e lie v e s th is          w id e l y av ail ab le to p atien ts.
U .S .C . 2 6 2 (d )). T h e " p o te n cy ” o f a             ru l e ap p li e s ap p ro p riate re g u lato ry                  U s u al l y , an d p ref erab ly , b ecause of
b io l o g ical p ro d u c t i n cl u d e s its                san ctio n s . U n d e r th e p ro p o se d ru l e an d         p ro b l e m s su g g e ste d in th e com m ent, the
ef f e ctiv e n e s s ( 2 1 C FR 6 0 0 . 3 (s)).               th is f in al ru l e , FD A m ay w ith d raw                    re q u ire m e n t f o r p o stm ark etin g studies
   T h e ag e n cy n o te s th at it h as in th e              ap p ro v al o f an ap p l icatio n i f th e                    w il l b e m e t b y s tu d ie s al read y underway
p ast re q u ired p o s tm ark e tin g s tu d ie s as a        ap p l ican t f ails to p e rf o rm th e re q u ire d           at th e tim e o f ap p ro v al , e.g ., b y
p re re q u is ite f o r ap p ro v al f o r so m e d ru g s
                                                          p o stm ark etin g stu d y w ith d u e d il ig e n ce.               co m p l e tio n o f s tu d ie s th at show ed an
(se e 3 7 FR 2 0 1 , Jan u ary 7 , 1 9 7 2 ; an d 3 7        FD A b e lie v e s th at it is n o t w ith in th e                ef f ect o n th e su rro g ate. FD A recognizes
FR 2 6 7 9 0 , D e ce m b e r 1 5 , 1 9 7 2 ) .           s co p e o f th is ru l e to e stab l is h th e ro l e o f           th at e th ical co n sid e ratio n s w ill play a
   29.       O n e co m m e n t re co m m e n d e d th at p h arm acis ts in p o stm ark etin g stu d ie s.                    ce n tral ro l e in th e ty p e o f stud y carried
FD A re q u ire th at s p e cif ic tim e l in e s f o r   T h at ro le sh o u ld m o re p ro p e rl y b e                      o u t, a ch o ice th at w il l d ep en d upon the
co m p l e tio n o f th e re q u ire d                    d ef in ed b y th e cl in ical in v e stig ato r an d                ty p e an d se rio u sn e ss o f th e disease
p o stm ark etin g stu d ie s b e in cl u d e d in        e ach in s titu tio n o r f acil ity at w h ich a                    b ein g tre ate d , av ailab ility o f alternative
th e m ark etin g ap p l icatio n . T h e                 p o s tm ark etin g stu d y is co n d u cte d .                      th e rap ie s , an d th e n atu re o f the drug
co m m e n t f u rth e r s u g g e sted th at, i f th e       30.      O n e co m m e n t ass e rte d th at th e               an d th e p atie n t p o p u latio n . T here often
sp o n so r f ails to m e e t its tim e l in e s ,             p ro p o sal se ts f o rth an in h e re n t                     are al te rn ativ e s to u se o f a p laceb o
ap p ro v al o f its ap p l icatio n b e                       co n trad ictio n b e tw e e n th e w ay FD A                   co n tro l , in cl u d in g activ e co n tro l designs
w ith d raw n , o r in th e e v e n t it is d if f icu lt      e v alu ate s th e b en ef it an d risk f o r d ru g s          an d d o s e - re sp o n s e stu d ies th at can
to w ith d raw ap p ro v al o f d ru g s f o r                 to d ay an d th e w ay th e p ro p o sal                        satisf y b o th th e d em an d s o f ethics and
se rio u s o r lif e - th re ate n in g d is e ase s , FD A    co n te m p l ate s . T h e co m m e n t arg u ed th at          ad e q u acy o f d esig n .
sh o u ld es tab l is h su b stan tial f in es an d            n o w , i f p o s tm ark etin g d ata raise                        32.       O n e co m m e n t co n ten d ed that the
p e n altie s f o r s p o n s o rs th at d el ib erately       q u estio n s ab o u t th e risk as s o ciate d w ith            te rm " p o s tm ark e tin g stu d y ” is used
w ith h o l d in f o rm atio n f ro m FD A                      a d ru g p ro d u ct, FD A co n s id e rs th at d ata           in co n s is te n tl y in th e p ro p o sed rule. The
re g ard in g th e p re l im in ary re s u l ts an d            al o n g w ith th e o th e r d ata k n o w n ab o u t           co m m e n t arg u ed th at " p ostm ark eting
th e p ro g re ss o f th e ir p o etm ark etin g                th e p ro d u ct, an d d e te rm in e s w h e th e r,           s tu d y " is an acce p te d regu latory term of
stu d ie s , o r d e lay th e co m p l e tio n o f s u ch       b ase d o n th e o v e ral l k n o w led g e ab o u t           art w h ich , to th is p o in t, h as referred to
stu d ie s. H i e co m m e n t al so u rg e d FD A              th e d ru g , th e re is a n e e d to seek                      s tu d ie s co n d u cte d to co n f irm safety (not
 to p u b lish in th e F e d e ra l R e g is te r               w ith d raw al o f ap p ro v al . U n d e r th is               e f f icacy ), af te r an ap p ro v al h as been
 id e n tif icatio n o f m an u f actu re rs w h o are          p ro p o sal , i f th e p o s tm ark etin g stu d y             g ran te d , w h e re as in th is p ro po sal, a
 n o t m ee tin g th e ir o b lig atio n to co m p l e te       d ata rais e d q u e stio n s ab o u t th e risk o f            " p o s tm ark e tin g stu d y ” ref ers to a study
 th e re q u ire d p o stm ark e tin g stu d ie s o n           th e p ro d u ct, FD A w o u l d seek                           re q u ire d to estab l is h cl in ical efficacy
 tim e . T h e s e re co m m e n d atio n s w e re              w ith d raw al o f ap p ro v al , w h e th e r o r n o t        (i.e ., a Ph as e 3 stu d y ), b u t n o t
 p ro m p te d b y th e co m m e n t's co n ce rn               th e n e w d ata re al l y m ad e a f u n d am e n tal          n e ce s s aril y saf ety , alth o u g h safety data
 th at o n ce a m an u f actu re r i s g ran te d               d if f e re n ce to w h at is k n o w n ab o u t th e           w il l b e co l l e cte d . T o p rev en t confusion
 ap p ro v al f o r i ts p ro d u ct, th e                      b en ef it an d risk o f th e p ro d u ct.                      an d to d if f e re n tiate b etw een these
 m an u f actu re r w il l h av e l ittl e in ce n tiv e           FD A d o e s n o t ag ree th at th e                         re q u ire d p o s tm ark etin g confirm atory
 to co m p l e te p o s tm ark e tin g s tu d ie s in a         co n trad ictio n d e scrib e d b y th e co m m e n t           e f f icacy stu d ie s an d saf ety studies
 tim e l y m an n e r, e s p e cial l y i f th e                e xis ts . U n d e r th e ci rcu m s tan ce s o f               trad itio n al l y co n d u cte d sifter approval
 p re l im in ary re s u l ts o f s u ch s tu d ie s            acce l e rate d ap p ro v al , ap p ro v al w o u l d b e       an d to cl arif y th at p ro d u cts granted
 in d icate th at d ie d ru g m ay n o t b e saf e              b as e d o n a w eig h in g o f th e b en ef it                 acce l e rate d ap p ro v al h av e b een
 an d / o r ef f e ctiv e. A n o th e r co m m e n t            su g g e ste d b y th e e f f e ct o n th e su rro g ate        ap p ro v e d o n th e b asis o f Ph ase 2
 u rg e d FD A to i n cl u d e in th e f in al ru l e           e n d p o in t ag ain st k n o w n an d p o te n tial           (su rro g ate en d p o in t) d ata, th e comment
 lan g u ag e th at re q u ire s th e p articip atio n          risk s o f th e d ru g . S h o u l d w e ll - d e s ig n e d    su g g e sted ch an g in g th e term
 o f p h arm acis ts in p o stm ark e tin g s tu d ie s         p o s tap p ro v al stu d ie s f ail to d e m o n s trate       " p o s tm ark e tin g s tu d y ” to " Ph ase 3

 b e cau s e p h arm acis ts ca n s e rv e as an                th e e xp e cte d cl in ical b e n e f it, th e b en ef it      s tu d y ” in th is ru l e e xce p t w here
                                                                e xp e cte d at th e tim e o f ap p ro v al                     trad itio n al p o stm ark etin g stud ies are
 ad d itio n al s o u rce o f in f o rm atio n o n
                                                                (re aso n ab l y l ik ely to e xis t) w o u l d n o             in te n d e d . T h e co m m e n t also suggested
 th e rap e u tic o u tco m e s o f p atie n ts tak in g
                                                                lo n g er b e e xp e cte d an d th e to tal ity o f             th at th e te rm " P h as e 3 stu d y ” be
 d ru g s ap p ro v e d u n d e r th is ru l e an d
                                                                th e d ata, sh o w in g n o cl i n ical b en ef it,             d e f in e d as a stu d y req u ired to confirm
 m o n ito rin g f o r s u ch d ru g s .
    T h e ag e n cy e x p e cts th at th e                      w o u l d n o l o n g e r su p p o rt ap p ro v al . T h is      fin d in g s o f e f f icacy b ased u pon
 re q u ire m e n t f o r p o e tm ark e tin g s tu d ie s      e v alu atio n o f th e d ata is n o t d if f eren t             su rro g ate d ata co l l e cte d in Phase 2,
 w il l u s u al l y b e m e t b y stu d ie s al re ad y        f ro m co n s id e ratio n s th at w o u l d ap p l y in         w h ich w il l b e co n d u cte d af ter an
 u n d e rw ay at th e tim e o f ap p ro v al an d              e v alu atin g d ata in th e cas e o f a d ru g                  acce l e rate d ap p ro v al h as b een grant
                                                                 ap p ro v e d u n d e r o th e r p ro v is io n s o f th e      an d w il l b e re q u ire d b ef o re restrictions
  th at th e re w il l b e re as o n ab l e e n th u s ias m
  f o r re s o l v in g th e q u e stio n s p o s e d b y        reg u latio n s.                                                s e t f o rth in § 3 1 4 .5 2 0 are rem oved .
                                                                    31.      T w o co m m e n ts e xp re s s e d th e                T h e ag e n cy d o e s n o t b elieve m at tn
  th o s e stu d ie s. T h e p l an f o r tim e l y
                                                                 v ie w th at th e p ro p o se d re q u ire m e n t f or         co m m e n t h as accu rate l y d escrib ed
  co m p l e tio n o f th e re q u ire d
                                                                 p o stm ark etin g stu d ie s m ay rais e                       acce p te d m ean in g s o f v ariou s terms.
  p o stm ark etin g stu d ie s w il l b e in cl u d e d




                                                                Alliance.App. 334                                                                 EX. 22 pg.13
                          Case: 23-10362                   Document: 95-4 Page: 90 Date Filed: 04/11/2023
                F e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a tio n s 58955
               Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 15 of 20 PageID 503
T h e te r m p o stm ark etin g s tu d y d o e s n o t       co u rts h ad n o t d e cid e d th at s u ch a                 co u l d re q u e st th at th e ap p l ican t
refer to an y p articu l ar k in d o f s tu d y , b u t      h earin g w as n e ce s s aril y le g ally re q u ired         v o l u n taril y w ith d raw its p ro d u ct, an d
to stud ies e arn e d o u t af te r a d ru g is              (se e 4 0 FR 4 0 6 8 2 at 4 0 6 9 1 , S ep te m b er           m o s t ap p l ican ts \ vou ld co m p l y i f a
m ark e te d , o f te n as p art o f an ag re e m e n t      3 , 1 9 7 5 ) . In p ro m u lg atin g its p ro ce d u ral      le g itim ate h az ard e xis ts .
by a sp o n so r to    d o s o . T h e s e h av e            re g u latio n s, FD A al s o d e te rm in e d th at a            A s n o te d i n th e p ro p o se d ru l e , FD A
in c lu d e d p h arm aco k in e tic, d ru g - d ru g        f o rm al e v id e n tiary h e arin g i s n o t                an d ap p l ican ts h av e o f ten re ach e d
in te ra c tio n , an d p e d iatric stu d ie s ,            re q u ired b ef o re w ith d raw in g ap p ro v al o f        m u tu al ag re e m e n t o n th e n e e d to
stu d ie s o f d o s e - re sp o n s e o r o f h ig h e r    b io l o g ical p ro d u cts , b u t th at i t w o u l d b e   re m o v e a d ru g f ro m th e m ark et rap id l y
d o ses, an d s tu d ie s o f n e w u se s . T h e           ap p ro p riate to ap p l y th e sam e                         w h e n sig n if ican t saf ety p ro b l em s n av e
term is n o t l im ite d to saf ety stu d ie s.              p ro ce d u re s to b io l o g ical p ro d u cts as to         b e en d is co v e re d . H o w e v e r, ap p lican ts
M o re o v e r, Ph as e 2 an d 3 s tu d ie s are n o t       d ru g re m o v al (se e 4 0 FR 4 0 6 8 2 at                   u su al ly h av e b een u n w il lin g to e n te r
distinguished b y th e e n d p o in ts ch o s e n .          4 0 6 9 1 ).                                                   i n to s u ch ag re e m e n ts w h e n d o u b ts
Phase 3 h y p e rte n sio n s tu d ie s , f o r                  T h ro u g h th e h e arin g p ro ce s s in th is          ab o u t e f f e ctiv e n e s s h av e arise n , s u ch as
e x am p le , still m e as u re b lo o d p re ss u re ,      f in al ru l e , as in th e p ro p o se d ru l e ,             f o llo w in g th e re v ie w o f ef f e ctiv e n e ss o f
no t s tro k e rate . T h e ag e n cy b e lie v e s th at    ap p l ican ts w il l b e af f o rd e d th e                   p re - 1 9 6 2 ap p ro v al s carrie d o u t u n d e r
the u s e o f th e “ p o stm ark e tin g s tu d y ” in       o p p o rtu n ity to p re s e n t an y d ata an d              th e D ru g Ef f icacy S tu d y Im p le m en tatio n
the final ru l e is ap p ro p riate an d                     in f o rm atio n th e y b e lie v e to b e re l e v an t       (D ES I) p ro g ram . Fo r d ru g s ap p ro v e d
c o n s is te n t.                                           to th e co n tin u e d m ark etin g o f th e ir                u n d e r th e acce l e rate d p ro ce d u re
                                                             p ro d u ct. T h e p ro p o se d p ro ce s s al s o            re g u latio n s, th e risk / b e n e f it ass ess m en t
G. W ith d raw al o f A p p r o v a l
                                                             w o u l d h av e p e rm itte d th e p re sid in g              is d e p e n d e n t u p o n th e lik el ih o o d th at
   33.        O n e co m m e n t s u p p o rte d th e        o f f icer, th e ad v iso ry co m m itte e                     th e su rro g ate e n d p o in t w il l co rre l ate
p ro p o se d w ith d raw al o f ap p ro v al                m e m b e rs , a re p re s e n tativ e o f th e                w ith cl in ical b en ef it o r th at
p ro c e d u re . O th e r co m m e n ts as s e rte d        ap p l ican t, an d a re p re s e n tativ e o f th e           p o stm ark etin g re s trictio n s w il l en ab le
that th e p ro p o se d p ro ce d u re d o e s n o t         C e n te r th at in itiate s th e w ith d raw al               saf e u se . If th e ef f ect o n th e su rro g ate
p ro v id e th e ap p l ican t w ith th e                    p ro ce e d in g s to q u estio n an y p erso n                d o e s n o t tran sl ate in to a cl in ical b en ef it,
p ro c e d u ral saf e g u ard o f a f o rm al               d u rin g o r a t th e co n cl u s io n o f th e               o r i f re s trictio n s d o n o t l e ad to saf e u se ,
e v id e n tia ry h e arin g g u aran te e d b y             p e rs o n ’s p re se n tatio n . A s d is cu s se d           th e risk / b en ef it ass e s s m e n t f or th ese
se c tio n 5 0 5 o f th e a ct an d th e                     b e lo w in re s p o n se to a co m m e n t, FD A              d ru g s ch an g e s sig n if ican tly . FD A
A d m in is tra tiv e Pro ce d u re A ct ( A P A ) . A s     h as d e cid e d to al lo w u p to th re e                     b e lie v e s th at i f th at o ccu rs , rap id
an exam p le, th e co m m e n ts said th at                  re p re s e n tativ e s o f th e ap p l ican t an d o f        w ith d raw al o f ap p ro v al as se t f o rth in
b ased on a f in d in g o f a sin g l e stu d y              th e C en ter to q u estio n p re se n te rs .                 th is ru l e is im p o rtan t to th e p u b lic
f ailin g to s h o w cl i n ical b en ef it o r              Particip an ts co u l d co m m e n t o n o r reb u t           h e alth .
m isu se o f an y p ro m o tio n al m ate rial , an          in f o rm atio n an d v ie w s p re se n te d b y                 3 5 . U n d e r th e p ro p o se d w ith d raw al
ap p ro v e d n e w d ru g w o u l d b e su b je ct to       o th ers . A s w ith o rd in ary 2 1 C FR p art 1 5            p ro ce d u re s , in ad d itio n to o th e r
w ith d ra w a l f ro m th e m ark e t w ith o n l y         h e arin g s, th e h earin g w iil b e                         p e rso n s, o n e re p re s e n tativ e o f th e
a m in im a l o p p o rtu n ity f o r th e N D A             tran scrib e d . S u b seq u en t to th e h earin g ,          C e n te r th at in itiate s th e w ith d raw al
h o ld e r to b e h e ard . T h e co m m e n ts              th e C o m m is sio n e r o f Fo o d an d D rugs               p ro ce e d in g s m ay q u estio n p articip an ts
arg u ed th at s e ctio n 5 0 5 (e ) o f th e a ct           w o u l d re n d e r a f in al d e cisio n o n th e            at a w ith d raw al o f ap p ro v al h earin g .
g u aran te e s ap p l ican ts “ d u e n o tice an d         m atte r. T h e ag e n cy b e lie v e s th at th e             O n e co m m e n t o b je cte d to lim itin g th e
o p p o rtu n ity f o r a h e arin g ” o n                   ad m in is trativ e re co rd cre ate d th ro u g h             C en ter to o n e re p re s e n tativ e b e cau s e
w ith d ra w a l o f an N D A in co m p l ian ce             th is p ro ce s s w o u l d b e su f f icien t f or            d e tail e d k n o w led g e ab o u t a d ru g
w ith A P A h earin g stan d ard s, th u s FD A              j u d icial rev iew .                                          p ro d u ct is lik el y to b e av ail ab le f rom
m u st co n d u ct h e arin g s o n w ith d raw al s             T h e ag e n cy e m p h asiz e s th at, as p art o f       se v e ral scie n tis ts .
o f N D A ’s u sin g th e f o rm al ad ju d icato ry         th e ap p ro v al p ro ce s s u n d e r th is ru l e ,            T h e p ro p o se d lim itatio n o f
p ro c e d u re s o f th e A PA . O n e co m m e n t         ap p l ican ts w il l h av e ag re ed th at th e s e           q u es tio n in g to sin g l e re p re s e n tativ e s o f
asse rte d th at, u n d e r th e p ro p o se d               w ith d raw al p ro ce d u re s ap p ly to th e                th e in itiatin g C en te r a n a th e ap p lican t
p ro c e d u re , th e re is th e ab s e n ce o f a          d ru g f o r w h ich th e y seek ap p ro v al ;                w as in te n d e d to m ak e th e p ro ce e d in g s
d is c e rn ib le leg al s tan d ard , an in ab il ity       ap p l ican ts o b jectin g to th e s e p ro ce d u re s       m an ag eab le. O n f u rth er co n sid e ratio n ,
to cro s s- e xam in e, th e p ro s e cu tin g               m ay f o rego ap p ro v al u n d e r th e s e                  th e ag e n cy h as d e te rm in e d th at it w o u l d
atto rn e y an d ju d g e are o n e an d th e sam e          re g u latio n s an d seek ap p ro v al u n d e r th e         b e ap p ro p riate an d m an ag eab l e to al lo w
p e rso n , an d th e re i s a l ack o f e v e n             trad itio n al ap p ro v al p ro ce s s . U n d e r            u p to th re e p e rs o n s to b e d esig n ate d as
m in im a l f o rm al e v id e n tiary p ro ce d u re s .    s u ch circu m s tan ce s , ap p l ican ts w o u ld            q u e s tio n e rs f o r th e ap p l ican t an d for
Th e c o m m e n t e xp re s s e d d o u b t th at th e      n o t h av e th e b en ef it o f acce l e rate d               FD A . S e ctio n s 3 1 4 .5 3 0 (e )(2 ) an d
p ro p o se d p ro ce d u re w o u l d b e su f f icie n t   ap p ro v al ; if th e d ru g w e re su b seq u en tly         6 0 1 .4 3 (e )(2 ) h av e b e e n rev is ed
to c re a te a re co rd su itab l e f o r re v ie w b y      ap p ro v e d , h o w e v e r, b ef o re w ith d raw al        acco rd in g l y .
a C o u rt o f A p p e al s , w h i ch m u s t b e ab le,    o f th e ap p ro v al , th e ap p l ican t w o u l d               3 6 . S o m e co m m e n ts q u es tio n ed FD A ’s
o n th e b asis o f s u ch a re co rd , to                   h av e an o p p o rtu n ity f o r a 2 1 C FR p art             ab ility to w ith d raw ap p ro v al u n d e r th e
d e te rm in e w h e th e r th e ap p ro v al is             12 h earin g .                                                 p ro p o se d p ro ce d u re s e f f icien tly o r
8u£ P® d e d b y “ s u b s tan tial e v id e n ce .”            34.      O n e co m m e n t n o te d th at th e             ef f ectiv ely b e cau s e of : (l p T h e lack o f
  r D A b e lie v es th e w ith d raw al                     “ im m in e n t h az ard ” p ro v isio n o f se ctio n         ass u ran ce th at th e re s u l ts o f
p ro c e d u re s se t f o rth in p ro p o s e d             5 0 5 (e ) o f th e a ct al l o w s FD A to su s p e n d       p o stm ark etin g s tu d ie s w il l b e p ro m p tly
§§ 3 1 4 .5 3 0 an d 6 0 1 . 4 3 an d in th is final         ap p ro v al o f a p ro d u ct, im m e d iate l y , i f it     p ro v id e d to FD A ; (2 ) l im ited ag en cy
ru le a re co n s is te n t w ith re l e v an t statu te s   is f o u n d to p o s e an im m in e n t h az ard to           re s o u rce s to re v ie w stu d y re su l ts an d act
®nd p ro v id e ap p l ican ts ad e q u ate d u e            th e p u b li c h e alth . A s an al te rn ativ e to           u p o n th e m p ro m p tl y ; (3 ) th e d if f icu lties
p ro c e ss. A s state d in th e p ro p o s e d ru l e ,     th e p ro p o se d w ith d raw al p ro ce d u re o r           ass o ciate d w ith e stab lis h in g th at an
ln lssuing its g en e ral p ro ce d u ral                    in ad d itio n to th e “ im m in e n t h az ard "              ap p ro v e d d rtig is “ in e f f e ctiv e ;” an d (4)
regulations, FD A d e cid e d to af f o rd N D A             s tatu to ry p ro v isio n , th e co m m e n t                 p o l itical p re ss u re n o t to re s cin d th e
noiders an o p p o rtu n ity f o r a f o rm al               su g g e ste d th at, w h e n co n f ro n te d w ith a         ap p ro v al o f N D A ’s f o r d ru g p ro d u cts
evidentiary h earin g e v e n th o u g h th e                d an g ero u s p ro d u ct o n th e m ark et, FD A             th at m ay lack e v id e n ce o f ef f ectiv en ess,




                                                                       Alliance.App. 335                                                                  EX. 22 pg.14
              Case: 23-10362                   Document: 95-4 Page: 91 Date Filed: 04/11/2023
58958
      CaseF e2:22-cv-00223-Z                Document 1-23 Filed 11/18/22 Page 16 of 20 PageID 504
              d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u la tio n s


                                                                im p le m e n t th e p ro v isio n s o f § 3 1 4 .5 3 0      f o r b io l o g ical p ro d u cts in cl u d es
e s p e cial l y i f n o cl e arl y e f f ectiv e
al te rn ativ e tre atm e n ts are av ail ab l e . O n e        as ap p ro p riate ; d ata th at are am b ig u o u s         e f f e ctiv e n e s s (21 C FR 6 0 0 .3 (s )). The PHS
co m m e n t o f f ered th e o p in io n th at w h e re         w il l in ev itab ly le ad to d if f icu lt                  A ct d o e s n o t s p e cif y l ice n se revocation
a d ru g sh o w s o n l y m o d e s t e v id e n ce o f         ju d g m en ts.                                              p ro ce d u re s , e x ce p t to state th at licenses
                                                                   A d ru g w ith cl e ar cl in ical                         m ay b e su s p e n d e d an d rev ok ed “ as
b en ef it, p e rh ap s o n a su rro g ate
e n d p o in t, an d o n l y s h o w s e q u iv o cal           ef f e ctiv e n e s s in a su b set o f th e                 p re s crib e d b y re g u l atio n s .”
                                                                p o p u l atio n , b u t n o t in th e p o p u l atio n           Fo r d ru g s ap p ro v e d u n d er § 314.510,
e v id e n ce o f cl i n ical e f f icacy in
                                                                d es crib e d in lab elin g , w o u l d h av e its           FD A w il l h av e d e te rm in e d th at reports
p o s tm ark etin g stu d ie s it w o u l d b e
                                                                lab elin g re v is e d to re f l e ct th e d ata.            o f p o stm ark etin g stu d ie s are critical to
d if f icu lt an d s o cial l y d is ru p tiv e to
                                                                W ith d raw al w o u l d b e in ap p ro p riate              th e risk / b en ef it b alan ce n eed ed for
w ith d raw ap p ro v al an d re m o v e th e d ru g
                                                                u n d e r su ch circu m s tan ce s .                         ap p ro v al ; i f th o s e re p o rts are not
f ro m th e m ark et i f th e d ru g h as b e co m e
                                                                   If an im m in e n t h az ard to th e p u b lic            f o rth co m in g , th e n , u n d e r authority of
w e ll es tab l is h e d an d a cce p te d , an d th e re
                                                                h e al th e xis ts , th e S e cre tary o f H eal th          s e ctio n 5 0 5 (d ) o f th e act, th e drug
is n o iss u e o f to xi ci ty . A n o th e r co m m e n t
                                                                an d H u m an S e rv ice s m ay s u s p e n d                can n o t o n an o n g o in g b asis m eet the
b e lie v e d it w o u l d b e d if f icu lt to
                                                                ap p ro v al o f an ap p l icatio n an d th e n              stan d ard s o f saf ety an d ef f icacy required
w ith d raw ap p ro v al o f a d ru g th at m ay
                                                                af f o rd th e ap p l ican t an o p p o rtu n ity f or       f o r m ark etin g u n d e r th e act. Therefore,
b e b e n e f icial in a su b p o p u l atio n b u t
                                                                an e xp e d ite d h earin g . In th e ab se n ce o f         it i s im p o rtan t to e n su re th at the
w h ich , in f act, h as n o t b ee n sh o w n to b e
                                                                a sig n if ican t h az ard re q u irin g im m e d iate       ap p l ican t m ak e a g o o d faith effort to
e f f icacio u s in b ro ad e r p atie n t
                                                                w ith d raw al , FD A b e lie v e s th e e xp e d ite d      co m p l e te an y re q u ired postm arketing
p o p u l atio n stu d ie s . T h e co m m e n ts
                                                                p ro ce d u re d escrib e d in th e ru l e satisf ie s       stu d ie s in a tim e l y m an n e r so that FDA
su g g este d th e n e e d f o r a l e s s e r san ctio n .
                                                                th e n e e d f o r p ro m p t actio n w h il e , at th e     can rap id l y d e te rm in e w h eth er the
    A n o th e r co m m e n t su g g e ste d th at
                                                                sam e tim e , al lo w in g o p p o rtu n ity f o r           su rro g ate e n d p o in t u p o n w h ich the drug
e xp e d itin g re m o v al o f a p ro d u ct f ro m
                                                                d is cu s s io n an d d eb ate b ef o re                     w as ap p ro v e d h as b een con firm ed to
th e m ark et co u l d b e acco m p l is h e d b y
                                                                w ith d raw al .                                             co rre l ate w ith cl i n ical b enef it. Failure to
u sin g a p ro ce d u re lik e th e “ im m in e n t
h az ard ” p ro v isio n o f th e act, i.e .,                      37,       O n e co m m e n t n o te d th at th e          su b m it th e stu d y re s u lts in a tim ely
                                                                p ro p o se d ru l e w o u l d al lo w FD A to               f ash io n w o u l d al so co n stitu te failure to
im m e d iate re m o v al o f th e d ru g f ro m th e
                                                                w ith d raw ap p ro v al f o r f ailu re to                  m ak e a re q u ire d re p o rt. S im ilarly,
m ark et i f an y o f th e co n d itio n s l is te d in
                                                                p erf o rm th e re q u ire d p o stm ark etin g              w ith o u t su b m is sio n o f th e information
  ro p o s e d § 3 1 4 .5 3 0 w e re m e t f o llo w ed
                                                                s tu d ie s w ith d u e d il ig en ce. T h e                 f ro m re q u ire d p o stm ark etin g studies on
 y a h earin g .
   A l th o u g h th e p o te n tial d if f icu ltie s          co m m e n t as s e rte d th at th e act d o e s n o t       b io l o g ical p ro a u cts ap p ro v e d under
cite d b y th e co m m e n ts are re al , th e y are            p e rm it FD A to w ith d raw ap p ro v al o n               th e s e p ro ce d u re s , th e b io log ical product
n o t f u n d am e n tal l y d if f eren t f ro m               th is g ro u n d . A n o th e r co m m e n t,                 is n o t ass u re d o f co n tin u e d saf ety and
d e te rm in atio n s FD A re g u larl y m u st                 h o w e v e r, su g g e ste d th at b e cau s e               e f f e ctiv e n e s s . T h e l ice n se application
m ak e in carry in g o u t its re s p o n sib il itie s.        p ro p o se d § § 3 1 4 .5 3 0 an d 6 0 1 .4 3 cite           m ay , th e re f o re , ap p ro p riatel y b e revoked

T h e n e w re g u latio n s p ro v id e f o r an               g ro u n d s f or w ith d raw al o f ap p ro v al th at       as d e s crib e d in § 6 0 1 .4 3 .
                                                                are n o t g ro u n d s u n d e r th e act, th e                  FD A d o e s n o t f in d th e statem ents of
e xp e d ite d p ro ce d u re to w ith d raw
                                                                 lan g u ag e o f th e s e p ro p o se d s e ctio n s         th e g ro u n d s f o r w ith d raw al o f approval
 ap p ro v al ; th e y d o n o t g u aran te e th at
                                                                 sh o u ld b e re v is e d to u s e lan g u ag e th at        u n d e r § § 3 1 4 .5 3 0 an d 6 0 1 .4 3 of this rule
 re s u l ts o f s tu d ie s w il l b e w h o l ly
                                                                 cl o s e r alig n s to th at u se d in th e act, e .g .,     in co n s is te n t w ith statu to ry language or
 u n am b ig u o u s o r th at FD A w il l al w ay s
                                                                 d e scrib e a “ p o s tm ark etin g s tu d y ” in            am b ig u o u s . T h e ag e n cy n o tes that, in
 b e ab le to p re v ail in its v ie w as to th e
                                                                 statu to ry lan g u ag e.                                    th e e v e n t n o n e o f th e g ro u n d s for
 n e e d f o r w ith d raw al , an y m o re th an
                                                                   FD A re af f irm s th e p o s itio n e xp re s s e d       w ith d raw al sp e cif ical l y listed in
 cu rre n t w ith d raw al p ro ce d u re s d o . T h e
                                                                 in th e p re am b l e to th e p ro p o sal (5 7 FR           § 3 1 4 .5 3 0 o r § 6 0 1 . 4 3 ap p lies, b ut
 stu d ie s b ein g carrie d o u t u n d e r th e s e
                                                                 1 3 2 3 4 at 1 3 2 3 9 ) th at th e re is ad eq u ate        an o th e r g ro u n d f o r w ith d raw al under
 p ro v isio n s w il l b e co n s p icu o u s an d
                                                                 au th o rity u n d e r th e a ct to w ith d raw              se ctio n 5 0 5 o f th e act o r sectio n 351 of
 im p o rtan t an d th e ir co m p l e tio n w il l b e
                                                                 ap p ro v al o f an ap p l icatio n f o r th e               th e PH S A ct an d im p lem en tin g
 w id e l y k n o w n . T h e re is n o re as o n to
                                                                 re as o n s state d u n d e r p ro p o se d                  re g u latio n s at 2 1 C FR 3 1 4 .1 5 0 or 601.5
 b e lie v e th e ir re s u l ts w o u l d o r co u l d b e
                                                                 § § 3 1 4 .5 3 0 an d 6 0 1 .4 3 , w h ich in cl u d e       d o e s ap p ly , th e ag e n cy w ill proceed to
 lo n g h id d e n . A stu d y th at f ails to sh o w
                                                                 f ailu re o f an ap p l ican t to p e rf o rm th e           w ith d raw ap p ro v al u n d er traditional
 cl i n ical e f f e ctiv e n e s s d o e s n o t p ro v e a
 d ru g h as n o cl i n ical ef f ect b u t it is a              re q u ired p o s tm ark etin g stu d y w ith d u e          p ro ce d u re s .
                                                                 d il ig e n ce . S e ctio n 5 0 5 (e ) o f th e act             38.       T w o co m m e n ts exp ress ed concern
 stu d y th at, u n d e r § 3 1 4 .5 3 0 , w il l l e ad to
                                                                 au th o riz e s th e ag e n cy to w ith d raw                th at it m ay b e d if f icu lt f o r th e agency to
 a w ith d raw al p ro ce d u re b e cau s e it h as
                                                                 ap p ro v al o f an N D A if n e w in f o rm atio n          e n f o rce th e req u irem en t th at
 f ailed to sh o w th at th e su rro g ate
                                                                 s h o w s th at th e d ru g h as n o t b e en                p o stm ark etin g stu d ie s b e p ursued witn
 e n d p o in t o n w h ich ap p ro v al w as b ase d ,
                                                                 d e m o n s trate d to b e e ith e r saf e o r               d u e d il ig e n ce . T h e co m m en ts asked
 can b e co rre l ate d w ith a f av o rab l e
                                                                                                                              w h at w o u l d h ap p e n i f a sp o nso r using
 cl in ical ef f ect. T h is m ay h av e o ccu rre d             ef f ectiv e. A p p ro v al m ay al so b e
                                                                 w ith d raw n i f th e ap p l ican t h as f ailed to          d u e d il ig e n ce is u n ab le to recru it
 b e cau s e th e s tu d y w as p o o rl y d es ig n ed
                                                                 m ain tain re q u ire d re co rd s o r m ak e                 en o u g h p atie n ts, o r if th e sp onsor
 o r co n d u cte d ; w h il e FD A w il l m ak e
                                                                                                                               q u e stio n s th e v alid ity o f th e data from
 e v e ry ef f o rt to av o id th i s , th e                      re q u ire d re p o rts . In ad d itio n , ap p ro v al
                                                                                                                               th e re q u ire d p o stm ark etin g stud y, ana
 co m m e rcial sp o n s o r h as th e                           i n a y b e w ith d raw n i f n e w in f o rm atio n ,
                                                                                                                               w o u l d cl u m s y d ata m an ag em en t be seen
 re s p o n s ib il ity f o r p ro v id in g th e n e e d e d     al o n g w ith th e in f o rm atio n co n s id e re d
                                                                                                                               as su f f icie n t re aso n to re scin d approve
 e v id e n ce co n f irm in g cl i n ica l b en ef it. A s      w h e n th e ap p l icatio n w as ap p ro v e d ,
                                                                                                                               f o r a m ark e te d d ru g ? A n o th er common
 p re v io u sl y d is cu s s e d , § $ 3 1 4 , 5 1 0 an d       sh o w s th e lab elin g to b e f alse o r
                                                                                                                               s tate d th at o n ce a p ro d u ct is approved
 6 0 1 .4 1 h av e b ee n re v is e d to cl arif y th at         m is le ad in g .
                                                                   Fo r b io l o g ical p ro d u cts , s e ctio n              an d , b y d ef in itio n , p ro v id es a
 re q u ired p o stm ark etin g stu d ie s m u st
                                                                                                                               “ m ean in g f u l th e rap e u tic b enefit over
 al so b e aae q u ate an d w e l l - co n tro l l e d .          3 5 1 (d ) o f th e PH S A ct au th o riz e s
                                                                  ap p ro v al o f l ice n s e ap p l icatio n s u n d e r     e xis tin g th e rap ie s ,” stu d y accru al may
 T h e p o s sib il ity th at an in e f f e ctiv e d ru g
                                                                  stan d ard s d esig n ed to e n su re co n tin u e d         d ro p o f f d ram aticall y as p atien ts may
 h as b e co m e “ a cce p te d ” is n o t a b asis f o r
                                                                  saf ety , p u rity , an d p o te n cy . “ P o te n cy "      re f u se to re ce iv e th e “ o ld     therapy ° r
 co n tin u e d m ark etin g . FD A in te n d s to




                                                                   Alliance.App. 336                                                                 EX. 22 pg.15
                      Case: 23-10362                    Document: 95-4 Page: 92 Date Filed: 04/11/2023
             F e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F rid a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a tio n s 58957
            Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 17 of 20 PageID 505
placebo, o r p h y s ician s m ay co n s id e r it              acce l e rate d ap p ro v al p ro ce s s is to              th e ap p l ican t h ad an o p p o rtu n ity f or
unethical n o t to tre at al l p atie n ts w ith                p ro v id e im p ro v e d tre atm e n ts to                 h e arin g as d e scrib e d in th o se se ctio n s.
the ap p rov ed in d icatio n w ith th e n e w                  d e s p e rate l y ill p atie n ts at th e e arl ie s t     T h e C o m m is sio n e r w o u l d th e n e xp e ct to
d rug o r b io lo g ical p ro d u ct. U n d e r th ese          p o s sib le tim e , an d w ith d raw al o f                re v ie w th e iss u e s w ith o b j ectiv ity an d
circum stan ces, th e co m m e n t e xp re s s e d              ap p ro v al o f th e n e w tre atm e n ts f o r            f airn ess h av in g h ad th e b en ef it o f th e
the op inion th at n e ith e r th e s p o n s o r n o r         re as o n s n o t d ire ctl y re l ate d to saf e ty o r      re s e n tatio n s an d d is cu s sio n s at th e
the p ro d u ct sh o u ld b e p e n aliz e d , n o r            e f f icacy u n d e rm in e s th e p u rp o s e o f th e      e arin g an d o f th e ad v iso ry co m m itte e ’s
should th ere b e a th re at to w ith d raw                     p ro p o se d ru l e . T w o co m m e n ts                  re co m m e n d atio n s.
approval. B as ed o n FD A ’s p ast h is to ry                  su g g este d th at co rre ctio n o f th e
in p ostm ark etin g s tu d ie s , w h ich o n e                                                                            H.    S a fe g u a r d s f o r P a t ie n t S a fe t y
                                                                p ro m o tio n al m ate rial w ith o u t
com m ent ch aracte riz e d as re su l tin g in                 in te rru p tio n o f a cce s s to th e d ru g w o u l d       4 1 . O n e co m m e n t ask ed if d ru g s
p o o rly d o n e stu d ie s , stu d ie s co n d u cte d        b e a b e tte r ap p ro ach . A n o th e r co m m e n t     ap p ro v e d u n d e r th e acce l e rate d
m u c h later th an ag ree d u p o n , o r n o t at             su g g e ste d th at th e re m ay b e                       ap p ro v al p ro ce s s w il l b e h e ld to th e
all, the co m m e n t e xp re s s e d th e o p in io n          circu m s tan ce s w h e re co n tin u e d a cce s s        sam e s tan d ard s co n ce rn in g
that the ’’ d u e d il ig e n ce ” w ith w h ich                to th e d ru g , i f acco m p an ie d b y in f o rm ed      p o stm ark etin g saf e ty as d ru g s ap p ro v ed
a p p lic a n ts are e xp e cte d to carry o u t                co n s e n t, w o u l d b e ap p ro p riate e v e n if      b y th e trad itio n al p ro ce ss .
postm arketing stu d ie s m ay b e an o v e rl y                su b stan tial q u estio n s aris e ab o u t a                 A s d is cu s s e d in th e p re am b le to th e
great e xp ectatio n . O n e co m m e n t ask ed                p ro d u ct’s saf e ty an d e f f ectiv en es s. O n e      p ro p o se d ru l e , ap p l ican ts g ain in g
FD A to g iv e e xam p l e s o f w h e n it m ay                co m m e n t u rg ed th at an ticip ate d                   ap p ro v al f o r n e w d ru g s th ro u g h th e
w ith d raw ap p ro v al i f ’ ’ o th e r e v id e n ce         w ith d raw al o f ap p ro v al b e p re ce d e d b y       acce l e rate d ap p ro v al p ro ce d u re s w il l
dem onstrates th at th e d ru g p ro d u ct is                  m e as u re s to e n su re th at p atien ts an d            al so b e e xp e cte d to ad h e re to th e
not show n to b e saf e o r ef f e ctiv e u n d e r             th e ir p h y s ician s w il l h av e an                    ag e n cy ’s l o n g stan d in g req u irem en ts f or
its co n d ition s o f u s e ” (p ro p o se d                   u n in te rru p te d su p p l y u n til al tern ativ e      p o s tm ark etin g re co rd k eep in g an d saf ety
§§ 3 1 4 .5 3 0 (a)(6 ) an d 6 0 1 .4 3 (a )(6 )).              tre atm e n t arran g em en ts can b e m ad e.              rep o rtin g (se e 2 1 C FR 3 1 4 .8 0 an d
   FD A d o e s n o t ag re e th at it w il l b e                  T h e n e e d f or ‘ ‘ d u e d il ig e n ce ” in         3 1 4 .8 1 ). In f o rm atio n th at co m e s to FD A
d if f ic u lt to e n f o rce th e ‘ ‘ d u e d il ig e n ce ”   co n d u ctin g th e ag ree d to p o stm ark etin g         f ro m th e ap p l ican t o r e l se w h e re th at
p ro v isio n o f th is ru l e . T h e " d u e                  stu d ie s is d is cu s se d in p arag rap h 3 7 .          raise s p o te n tial saf ety co n ce rn s w ill b e
d ilig e n c e ” p ro v isio n w as d esig n ed to              T h e re as o n s f o r co n ce rn ab o u t                 e v alu ated in th e sam e m an n e r th at su ch
en su re that th e ap p l ican t m ak es a g o o d              m isl ead in g p ro m o tio n al m ate rials are            in f o rm atio n is e v alu ate d f o r d ru gs
faith e f f o rt to co n d u ct a re q u ire d                  d is cu s se d u n d e r p arag rap h 1 6 . W ith           ap p ro v e d u n d e r th e ag e n cy ’s trad itio n al
p o stm a rk e tin g s tu d y in a tim e l y m an n e r         re s p e ct to p ro m o tio n al m aterials , FD A          p ro ce d u re s . If th e p o stm ark etin g
to c o n f irm th e p re d ictiv e v alu e o f th e " >         e xp e cts th at, in m o st cas e s , an y                  in f o rm atio n sh o w s th at th e risk / b en ef it
su rro g ate m ark er o r o th e r i n d icato r. A n y         d is ag re em en ts b etw een th e ap p lican t             as s e ss m e n t is n o l o n g er f av o rab le, th e
re q u ire m e n t f or p o stm ark e tin g stu d ie s          an d FD A w ill b e re s o l v e d th ro u g h              ag e n cy w il l act acco rd in g l y to re m o v e
w ill h a v e b een ag re ed to b y th e                        d is cu s sio n an d m o d if icatio n o f d ie             th e d ru g f ro m th e m ark et.
ap p lic an t at th e tim e o f ap p ro v al , an d if          m ate rials , so th at th e d ru g o r b io l o g ical         4 2 . Chie co m m e n t u rg ed FD A , if th e
the stu d y is n o t co n d u cte d in a tim e l y                ro d u ct can co n ti n u e to b e m ark eted . If,       p ro p o se d ru l e w ere ad o p te d , to req u ire
m an n er a s ag ree d to b y th e ap p l ican t,                 o w ev er, FD A co n cl u d e s th at th e                w ritte n in f o rm ed co n s e n t so th at
ap p ro v al o f th e ap p l i can t’s ap p l icatio n          p ro m o tio n al m ate rials ad v erse l y af f ect        p atie n ts w o u l d k n o w th at th e d ru g s
w ill b e w ith d raw n . FD A w il l e xp e ct an y            th e risk / b en ef it co n cl u s io n su p p o rtin g     w ith w h ich th e y w e re b ein g tre ate d h ad
re q u ire d p o s tm ark etin g s tu d y to b e                th e d ru g ’s m ark etin g , th e ag e n cy in ten d s     risk s an d th at th e b en ef its h ad n o t b een
c o n d u c te d in co n s u l tatio n w ith th e               to m in im iz e th e risk to th e p u b lic h ealth         ad eq u ately estab lis h ed .
agency. T h ere f o re, s h o u l d th e ap p l ican t          b y rem o v in g th e p ro d u ct f rom th e                   T h e ag e n cy d o es n o t ag ree th at
encounter p ro b l e m s w ith su b je ct                       m ark et th ro u g h th e w ith d raw al                    p atie n ts u sin g d ru g p ro d u cts ap p ro v ed
enrollment in a s tu d y o r e th ical                          p ro ce d u re s in th is ru le.                            u n d e r th e acce l e rate d ap p ro v al
difficulties ab o u t th e ty p e o f stu d y to                   40.       O n e co m m e n t e xp re ss e d co n ce rn   reg u latio n s sh o u ld b e ask ed to p ro v id e
conduct, FD A e xp e cts th e ap p l ican t to                  th at th e p ro p o se d w ith d raw al p ro ce d u re      w ritten in f o rm ed co n se n t. D rugs
discuss these p ro b l e m s w ith th e ag e n cy               m ay g iv e th e ap p e aran ce o f b ias o r               ap p ro v e d u n d e r th e s e p ro v isio n s are n o t
and reach ag re em en t o n th e ir re s o l u tio n .          p re co n ce iv e d n o tio n s o n th e p art o f th e     co n sid e re d e xp e rim e n tal d ru g s f o r th e ir
  Examples o f o th e r e v id e n ce                           ag e n cy b e cau s e th e f inal d e cisio n to            ap p ro v e d u ses. Lik e all ap p ro v e d d ru gs,
demonstrating th e d ru g p ro d u ct is n o t                  w ith d raw ap p ro v al o f a d ru g w o u l d b e         d ru g s ap p ro v ed u n d e r th e s e p ro v isio n s
shown to b e saf e an d ef f e ctiv e co u l d                  m ad e b y th e C o m m is sio n er o f Fo o d an d         w ill h av e b o th risk s an d b en ef its. A s
include further s tu d ie s o f th e ef f ect o f               D ru gs an d th e in ten tio n to w ith d raw               p re v io u sl y d is cu s se d in th is p ream b le,
the drug an d th e su rro g ate e n d p o in t th at            ap p ro v al o f th e d ru g w il l al re ad y h av e       f or d ru g s ap p ro v e d b ased o n stu d ie s
fail to sho w th e ef f e ct se e n in p re v io u s            b een d e te rm in e d b y th e ag en cy .                  sh o w in g an ef f ect o n a su rro g ate
studies, new e v id e n ce ,cas tin g d o u b t o n                U n d e r th e w ith d raw al p ro v isio n s o f        e n d p o in t, th e ap p ro v ed lab elin g w ill
the v alid ity o f th e su rro g ate e n d p o in t as          th is ru l e , FD A ’s C D ER o r C BER , rath e r          d escrib e th at ef f ect. In ad d itio n , th e
a predicto r o f cl i n ical b e n e f it, o r n e w            th an th e C o m m is sio n e r, w il l in itiate th e      lab elin g w ill co n tain in f o rm atio n o n
evidence o f sig n if ican t to xicity .                        w ith d raw al p ro ce e d in g s. T h e                    k n o w n an d p o te n tial saf ety h az ard s an d
  39. So m e co m m e n ts o b j ected to                       w ith d raw al p ro ce s s w il l b eg in w ith a           p re cau tio n ary in f o rm atio n . A s w ith al l
W ith d raw al o f ap p ro v al o f a d ru g                    l e tte r f rom C D ER o r C BER n o tif y in g th e        p re scrip tio n d ru g s, th e p h y s ician h as
p ro d u c t ap p ro v ed u n d e r th e acce l e rate d        ap p l ican t th at th e C e n te r p ro p o se s to        th e re s p o n sib ility f o r ap p ro p riately
ap p ro v al p ro ce ss b e cau s e o f p e rce iv e d          w ith d raw m ark e tin g ap p ro v al an d                 ad v isin g th e p atie n t reg ard in g th e d ru g
M isc o n d u c t b y th e ap p l ican t, s u ch as             statin g th e re as o n s f o r th e p ro p o se d          b ein g p re scrib ed .
ailu re to p erf o rm a re q u ire d                            actio n . A lth o u g h se p aratio n o f f u n ctio n s       4 3 . O n e co m m e n t ask ed th at FD A
p o stm a rk e tin g stu d y w ith d u e d il ig e n ce         w il l n o t ap p ly u n d e r th e p ro v isio n s o f     req u ire m an u f actu re rs to m ain tain an
or use o f p ro m o tio n al m ate rial s th at are             § § 3 1 4 . 5 3 0 o r 6 0 1 .4 3 , th e                     u p d ate d list o f n am es, ad d re ss es, an d
      ° r m islead in g . T h e co m m e n ts                   C o m m is s io n e r’s d e cis io n reg ard in g           p h o n e n u m b ers o f p h y s ician s
“ Su ed th a t d ie p rim ary p u rp o s e o f th e             w ith d raw al w o u l d n o t o ccu r u n til af ter       p re scrib in g th e ir p ro d u cts ap p ro v ed




                                                                          Alliance.App. 337                                                                  EX. 22 pg.16
              Case: 23-10362                    Document: 95-4 Page: 93 Date Filed: 04/11/2023
53958      F e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u la tio n s
       Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 18 of 20 PageID 506
                                                                                                                              Se c .
u n d e r th is ru l e , an d in th e cas e o f re cal l       ap p l ican ts w il l m o st p ro b ab ly ch o o s e to
                                                                                                                              314.510 A pproval based on a surrogate
o r w ith d raw al o f ap p ro v al , re q u ire               tak e ad v an tag e o f th e p to g ram o n l y
                                                                                                                                  end po int o r o n an effect on a clinical
m an u f actu re rs to co n ta ct th e s e                     w h e re its u se is e xp e cte d to re d u ce n e t
                                                                                                                                  endpo int o ther than survival or
p h y s ician s an d e n co u rag e th e m to n o tif y        co s ts , S im il arl y , th e f in al ru l e d o e s n o t        irreversible morbidity.
th e ir p atie n ts.                                           im p o s e a sig n if ican t e co n o m ic im p act            314.520 A pproval w ith restrictions to
   FD A d o e s n o t b e l ie v e s u ch a                    o n a su b stan tial n u m b e r o f sm all e n titie s            assure safe use.
p ro ce d u re is n e ce s s ary . Fu rth e rm o re ,          so as to re q u ire a re g u lato ry f l e xib ility           314.530 W ithdraw al procedures.
m ain tain in g s u ch a re g is try f o r d ru g s            an aly sis u n d e r th e re q u ire m e n ts o f th e         314.540 Postmarketing safety reporting.
p re s crib e d th ro u g h p h arm acie s w o u l d           R eg u lato ry Fle xib il ity A ct o f 1 9 8 0 .               314.550 Promotional materials.
b e v e ry d if f icu lt. A g e n cy e xp e rie n ce                                                                          314.560 Terminatio n o f requirements
                                                               V L En v iro n m e n tal I m p act
w ith re cal l s an d p ro d u ct w ith d raw al s
                                                                  T h e ag e n cy h as d e te rm in e d u n d e r 2 1
                                                                                                                              Subpart H — Acce lera ted A p p r o v a l o f N sw
in d icate s th at th e m e th o d s o f
                                                                                                                              D rugs for Se riou s or U fa - T h r e a te n in g
n o tif icatio n th at h av e b e e n d e v e l o p e d        C FR 2 5 .2 4 (a )(8 ) th at th is actio n is o f a
                                                                                                                              lUneesee
f o r su ch circu m s tan ce s are ad eq u ate.                ty p e th at d o e s n o t in d iv id u all y o r
    44.       O n e co m m e n t re co m m e n d e d th at     cu m u l ativ e l y h av e a sig n if ican t ef f ect o n      § 3 1 4 .5 0 0   Scope .
FD A re q u ire p atie n t p ack ag e in s e rts               th e h u m an en v iro n m e n t. T h e re f o re ,                T h is su b p art ap p lie s to certain new
(PPI’s) f o r al l d ru g s p a n te d acce l e rate d         n e ith e r an e n v iro n m e n tal ass e ss m e n t          d ru g an d an tib io tic p ro d u cts that have
e p p ro v al th at w o u l d s tate th e s p e cif ic         n o r an e n v iro n m e n tal im p act state m e n t          b e en stu d ie d f or th e ir saf ety and
re s trictio n s p l ace d o n a d ru g p ro d u ct            is re q u ired .                                               e f f e ctiv e n e s s in tre atin g serio u s o r life-
a n d / o r th e re as o n f o r re q u irin g                                                                                th re ate n in g ill n e ss e s an d th at provide
                                                               V II.   P a p e rw o rk R e d u ctio n A ct o f 1 9 8 0
p o stm ark etin g stu d ie s . In ad d itio n , th e                                                                         m ean in g f u l th e rap e u tic b en ef it to
co m m e n t re co m m e n d e d th at FD A                       T h is ru le d o e s n o t co n tain n e w
                                                                                                                              p atie n ts o v e r e xistin g treatm en ts (e g.,
r equire th e m an u f actu re r to i n cl u d e an            co l l e ctio n o f in f o rm atio n re q u irem en ts .
                                                                                                                              ab ility to tre at p atie n ts unresp onsive to,
ad v e rse d ru g re actio n “ h o tl in e ” p h o n e         S e ctio n 3 1 4 .5 4 0 d o e s re f e r to re g u latio n s
                                                                                                                               o r in to l e ran t o f , av ail ab le therap y, or
n u m b e r in th e PPI al o n g w ith an FD A                 th at co n tain co l l e ctio n o f in f o rm atio n
                                                                                                                               im p ro v e d p atie n t re s p o n se over
p h o n e n u m b e r. T h e PPI s h o u l d in f o rm         re q u ire m e n ts th at w e re p re v io u sl y
                                                                                                                               av ail ab le th e rap y ).
th e p atie n t to re p o rt im m e d iate l y an y            su b m itte d f o r re v ie w to th e D ire cto r o f
ad v e rse d ru g re actio n e xp e rie n ce d to h is         th e O f f ice o f M an ag em en t an d Bu d g et               $ 3 1 4 .5 1 0 Approva l based on a surrogate
o r h e r d o cto r, th e m an u f actu re r, an d             (O M B) u n d e r s e ctio n 3 5 0 4 o f th e                   endpoint or on an effect on a clinical
FD A , an d th e m an u f actu re r sh o u ld b e              Pap e rw o rk R e d u ctio n A ct o f 1 9 8 0                   endpoint other then survival or irreversible
re q u ire d to co n tact FD A im m e d iate l y               (A d v e rs e D rug E xp e rie n ce R ep o rtin g ,             m orbidity.
af te r re ce iv in g a re p o rt o f a se rio u s             O M B N o. 0 1 9 0 - 0 2 3 0 ) .                                    FD A m ay g ran t m ark etin g approval
ad v e rse re actio n .                                                                                                        f o r a n e w d ru g p ro d u ct o n th e basis of
                                                               L is t o f S u b jects                                          ad e q u ate an d w e ll - co n tro ll e d clinical
   FD A co n cl u d e s th at p atie n t p ack ag e
in s e rts are n o t ro u tin e l y n e e d e d f or           2 1 C FR P ar t 3 1 4                                           trial s e stab lis h in g th at th e d rug product
d ru g s g ran te d acce l e rate d ap p ro v al ,                                                                             h as an ef f ect o n a su rro g ate endpoint
                                                                   A d m in is trativ e p ractice an d
al th o u g h i f ci rcu m s tan ce s m ad e o n e                                                                             th at is re as o n ab ly lik e ly , b ased on
                                                               p ro ce d u re , C o n f id e n tial b u sin e ss
ap p ro p riate , o n e w o u l d b e d e v e l o p e d                                                                        e p id e m io l o g ic, th e rap e u tic,
                                                               in f o rm atio n , D ru gs, R ep o rtin g an d
f o r a p articu l ar d ru g . A s w ith an y                                                                                  p ath o p h y s io l o g ic, o r o th e r evid ence, to
                                                               re co rd k e e p in g re q u irem en ts .
p re s crip tio n d ru g , th e ap p ro v e d lab elin g                                                                       p re d ict cl i n ica l b en ef it o r o n the basis
f o r a p ro d u ct g ran te d acce l e rate d                  2 1 C FR P ar t 6 0 1                                          o f an ef f e ct o n a cl in ical end p oint other
ap p ro v al w il l co n tain in f o rm atio n ab o u t            Bio lo g ies, C o n f id en tial b u sin e ss               th an su rv iv al o r irrev ersib le morbidity.
th e saf e an d ef f e ctiv e u s e o f th e p ro d u ct,       in f o rm atio n .                                             A p p ro v al u n d e r th is se ctio n w ill be
in cl u d in g al l n e ce s s ary w arn in g s an d               T h e re f o re , u n d e r th e Fe d e ral Fo o d ,        su b j ect to th e re q u irem en t th at the
th e e xte n t o f cl i n ical e xp o s u re . In               D rug, an d C o s m e tic A ct, th e Pu b li c                 ap p l ican t s tu d y th e d ru g f urther, to
ad d itio n , th e co n d itio n s o f u s e w il l b e         H eal th S e rv ice A ct, an d u n d e r au th o rity          v erif y an d d e scrib e its cl in ical benefit,
care f u ll y w o rd e d to re f l e ct th e n atu re o f       d e leg ated to th e C o m m is sio n e r o f Fo o d           w h e re th e re is u n ce rtain ty as to the
th e d ata s u p p o rtin g th e p ro d u ct’s                  an d D ru gs, 2 1 C FR p arts 3 1 4 an d 6 0 1 are             re l atio n o f th e su rro g ate en d p oint to
 ap p ro v al . Ph y s ician s h av e th e                      am e n d e d as f o ll o w s:                                  cl in ical b en ef it, o r o f th e observed
 re s p o n sib il ity to in f o rm p atie n ts ab o u t                                                                       cl i n ical b en ef it to u ltim ate outcom e.
 th e saf e an d ef f e ctiv e u s e o f an ap p ro v e d       PART 314— APPLI CATI ON S FOR FD A                             Po s tm ark e tin g s tu d ie s w o u ld usually be
 p ro d u ct. Lab el in g i n cl u d e s su g g e stio n s      APPR O V AL TO M AR KET A NEW DRUG                             s tu d ie s al re ad y u n d e rw ay . W hen
 to th e p h y s ician co n ce rn in g in f o rm atio n         OR AN ANTI BI OTI C D RUG                                      re q u ire d to b e co n d u cte d , su ch studies
 to b e p ro v id e d to p atie n ts.                                                                                           m u s t al so b e ad eq u ate an d w ell-
                                                                   1 . T h e au th o rity citatio n f o r 21 C FR
    T h e ag e n cy n o te s th at in th is f in al                                                                             co n tro l l e d . T h e ap p l ican t shall carry out
                                                                p art 3 1 4 co n tin u e s to re ad as f o llo w s:
 ru l e l im ite d e d ito rial ch an g e s h av e b ee n                                                                       an y s u ch stu d ie s w ith d u e diligence.
 m ad e to th e w o rd in g o f th e p ro p o se d                A uthority: Secs. 201,301, 501, 502, 503,
                                                                505, 506, 507, 701, 706 o f the Fed eral Foo d,                 $ 314.520 Approva l w Hh restrictions to
 ru l e . H i e ag e n cy h as d e te rm in e d th at
                                                                Drug, and Cosmetic A ct (21 U.S.C. 321, 331,                    a ssu re sa fe u se .
 th e s e ch an g e s d o n o t af f e ct th e in te n t o f
                                                                351, 352,353, 355, 356, 357, 371, 376).                            (a) If FD A co n cl u d e s th at a drug
 th e p ro p o s e d ru l e .
                                                                   2 . S u b p art H co n s is tin g o f § § 3 1 4 .5 0 0       p ro d u ct sh o w n to b e ef f ectiv e can be
 V.    Econom ic I m pact                                       th ro u g h 3 1 4 . 5 6 0 is ad d e d to re ad as               saf e ly u s e d o n l y if d istrib u tio n or use is
      In acco rd a n ce w ith E xe cu tiv e O rd er             f o ll o w s:                                                   re s tricte d , FD A w il l req u ire such        ,
 1 2 2 9 1 , FD A h as care f u l l y an al y z e d th e                                                                        p o stm ark e tin g re s trictio n s as are needs“
 e co n o m ic ef f e cts o f th is f in al ru l e an d         Subpart H— Acce lera ted Approva l o< New                       to ass u re saf e u se o f th e d rug      p ro d u ct,

 h as d e te rm in e d th at i t is n o t a m aj o r            D rugs tor Se riou s or Ufa- Threatening                        8U cll 88 «
                                                                I llnesses                                                             (1 )    D istrib u tio n re stricte d to certain
 ru l e as d e f in e d b y th e O rd e r. In d eed ,
                                                                                                                                f acil itie s o r p h y s ician s w ith special
 b e cau s e f irm s w il l n o t b e f o rce d to u se         Sec.
 th e acce l e rate d ap p ro v al m e ch an is m ,             314.500         Scope.                                          train in g o r e xp e rie n ce ; o r




                                                                 Alliance.App. 338                                                                     EX. 22 pg.17
                 Case: 23-10362                   Document: 95-4 Page: 94 Date Filed: 04/11/2023
         Case
           F e d2:22-cv-00223-Z
                e ra l R e g is te r / V o l . Document
                                               5 7 , N o . 2 3 9 1-23
                                                                 / F ri d aFiled    11/18/22
                                                                           y , D e ce m b e r 1 1 , 1 9Page
                                                                                                       9 2 / R19
                                                                                                               u l e of
                                                                                                                     s a20
                                                                                                                        n d R PageID
                                                                                                                              e g u l a tio n s5075 8 9 5 9


   (2)    D istrib u tio n co n d itio n e d o n th e          w il l b e p re se n t at th e h earin g . T h e                      w o u l d b e ap p ro p riate f o r ap p ro v al
p erf orm ance o f sp e cif ie d m e d ical                    co m m itte e w il l b e ask ed to re v ie w th e                     u n d e r trad itio n al p ro ce d u re s. Fo r d ru g
p roced u res.                                                 iss u e s in v o l v e d an d to p ro v id e ad v ice                 p ro d u cts ap p ro v e d u n d e r § 3 1 4 .5 2 0 , th e
   (b) T h e l im itatio n s im p o s e d w il l b e           an d re co m m e n d atio n s to th e                                 re s trictio n s w o u l d n o lo n g er ap p ly
co m m en su rate w ith th e s p e cif ic saf ety              C o m m is sio n e r o f Fo o d an d D rugs.                          w h e n FD A d e te rm in e s th at saf e u se o f
co ncerns p re se n te d b y th e d ru g p ro d u ct.             (2 ) T h e p re sid in g o f f icer, th e ad v iso ry              th e d ru g p ro d u ct can b e ass u re d th ro u g h
                                                               co m m itte e m em b ers, u p to th re e                              ap p ro p riate lab elin g . FD A als o re tain s
$314,539      W ithdraw s! p ro ced ures.
                                                               re p re s e n tativ e s o f th e ap p l ican t, an d u p              th e d is cre tio n to re m o v e sp e cif ic
  (a) Fo r n e w d ru g s an d an tib io tics                  to th re e re p re s e n tativ e s o f th e C en ter                  p o s tap p ro v al re q u ire m e n ts u p o n re v ie w
approved u n d e r § § 3 1 4 . 5 1 0 an d 3 1 4 .5 2 0 ,       m ay q u estio n an y p e rso n d u rin g o r at                      o f a p e titio n su b m itted b y th e sp o n so r
FD A m ay w ith d raw ap p ro v al , f o ll o w in g           th e co n cl u s io n o f th e p e rs o n ’s                          in acco rd an ce w ith § 1 0 .3 0 .
a hearing as p ro v id e d in p art 1 5 o f th is              p re se n tatio n . N o o th e r p e rs o n atte n d in g
chapter, as m o d if ied b y th is s e ctio n , if;            th e h earin g m ay q u estio n a p ers o n                           PA RT 601— LICENSING
  (1) A p o stm ark etin g cl in ical stu d y                  m ak in g a p re se n tatio n . T h e p re sid in g                      3 . T h e au th o rity citatio n f o r 21 C FR
fails to v erif y cl in ical b en ef it;                       o f f ice r m ay , as a m atte r o f d is cre tio n ,                 p art 6 0 1 co n tin u e s to re ad as f o llo w s:
  (2 ) T h e ap p l ican t f ails to p e rf o rm th e
                                                               p e rm it q u estio n s to b e su b m itted to th e
required p o stm ark etin g s tu d y w ith d u e                                                                                       A uthority: Secs. 201, 501, 502,503, 505,
                                                               p re sid in g o f f ice r f o r re s p o n se b y a
diligence;                                                                                                                           510, 513-516,518-520, 701, 704, 706, 801 o f
                                                               p e rs o n m ak in g a p re se n tatio n .                            the Federal Food, Drug, and Cosmetic A ct (21
  (3) U se af ter m ark etin g d e m o n s trate s
                                                                  (f)      Ju d ic ia l r e v ie w . T h e                           U .S.C 321, 351, 352, 353, 355, 360, 360c -
that p o stm ark etin g re s trictio n s are
                                                               C o m m is sio n e r’s d e cisio n co n stitu te s                    360f, 360h—360j, 371, 374, 376, 381); secs.
inadeq uate to ass u re saf e u s e o f th e d ru g            f in al ag e n cy actio n f ro m w h ich th e                         215, 301, 351, 352 o f the Public Health
product;                                                                                                                             Serv ice A ct (42 U.S.C. 216, 241, 262, 263);
                                                               ap p l ican t m ay p e titio n f o r j u d icial
    (4) T he ap p l ican t f ails to ad h e re to th e                                                                               secs. 2-12 o f the Fair Packaging and Labeling
                                                               re v ie w . B ef o re req u estin g an o rd er f ro m
postm ark eting re s trictio n s ag re ed u p o n ;
                                                               a co u rt f o r a stay o f actio n p en d in g
                                                                                                                                     A ct (15 U.S.C. 1451-1461).
    (5) T he p ro m o tio n al m ate rials are
                                                               re v ie w , an ap p l ican t m u st f irst su b m it a                    4 . S u b p art E co n sistin g o f § § 6 0 1 .4 0
false or m is le ad in g ; o r
                                                               p e titio n f o r a stay o f actio n u n d e r                        th ro u g h 6 0 1 .4 6 is ad d e d to re ad as
    (6 ) O th er e v id e n ce d e m o n s trate s th at
                                                               § 1 0 .3 5 o f th is ch ap te r.                                      f o llo w s:
the drug p ro d u ct is n o t sh o w n to b e saf e
or effective u n d e r its co n d itio n s o f u se .          § 3 1 4 .5 4 0   P o s tm a rk s t in g s a fe ty r e p o r tin g .   S u b p a r t E — A c c e le r a te d A p p r o v a l o f
    (b) N o t ic e o f o p p o r t u n it y f o r a               D rug p ro d u cts ap p ro v ed u n d e r th is                    B io lo g ic a l P r o d u c ts f o r S e r io u s o r U fa *
h e ar in g . T h e D ire cto r o f th e C e n te r f or       p ro g ram are su b ject to th e                                      T h r e a te n in g Illn e s s e s
D rug Ev al u atio n an d R e s e arch w il l g iv e           p o stm ark etin g re co rd k eep in g an d saf ety                   Sec.
the ap p lican t n o tice o f an o p p o rtu n ity             re p o rtin g ap p licab l e to al l ap p ro v ed                     601.40 Scope.
for a h earin g o n th e C e n te r’s p ro p o sal to          d ru g p ro d u cts , as p ro v id e d in § § 3 1 4 .8 0              601.41 A pproval based on a surrogate
w ithdraw th e ap p ro v al o f an ap p l icatio n             arid 3 1 4 .8 1 .                                                          endpoint o r on an effect on a clinical
approved u n d e r § 3 1 4 . 5 1 0 o r § 3 1 4 .5 2 0 .                                                                                   endpoint other than survival or
The n o tice, w h ich w il l o rd in aril y b e a              § 3 1 4 .5 5 0   P r o m o tio n a l m a te r ia ls .                      irreversible morbidity.
letter, w ill state g e n e rall y th e re as o n s f o r          Fo r d ru g p ro d u cts b ein g co n sid e re d                  601.42 A pproval w ith restrictio ns to assure
the action an d th e p ro p o s e d g ro u n d s f o r
                                                                                                                                          safe use.
                                                               f o r ap p ro v al u n d e r th is su b p art, u n le s s
                                                                                                                                     601.43 Withdraw al procedures.
the order.                                                     o th e rw is e in f o rm ed b y th e ag en cy ,                       601.44 Postmarketing safety reporting.
   (c) S u b m is s io n o f d a t a a n d                     ap p l ican ts m u st su b m it to th e ag e n cy f or                601.45 Promotional materials.
in fo r m at io n , ( l ) If th e ap p l ican t f ails to      co n sid e ratio n d u rin g th e p re ap p ro v al                   601.46 Terminatio n o f requirements.
file a w ritten re q u e st f o r a h e arin g                 re v ie w p e rio d co p ie s o f all p ro m o tio n al
w ithin 15 d ay s o f re ce ip t o f th e n o tice ,           m ate rials , in cl u d in g p ro m o tio n al                        S u b p a r t E — A c c e le r a te d A p p r o v a l o f
the ap p lican t w aiv e s th e o p p o rtu n ity f o r        lab elin g as w e ll as ad v ertise m en ts,                          B io lo g ic a l P r o d u c ts f o r S e r io u s o r U fa *
a hearing.                                                                                                                           T h r e a te n in g Illn e s s e s
                                                               in te n d e d f or d is se m in atio n o r
   (2) If th e ap p l ican t f iles a tim e l y                p u b licatio n w ith in 120 d ay s f o llo w in g                    § 6 0 1 .4 0    S cope.
request f or a h e arin g , th e ag e n cy w il l              m ark etin g ap p ro v al . A f ter 1 2 0 d ay s
                                                                                                                                        T h is su b p art ap p lie s to ce rtain
publish a n o tice o f h e arin g in th e                      f o ll o w in g m ark etin g ap p ro v al, u n le s s
                                                                                                                                     b io l o g ical p ro d u cts th at h av e b een
Fed eral R e g iste r in a cco rd an ce w ith                  o th e rw is e in f o rm ed b y th e ag e n cy , th e                 stu d ie d f or th e ir saf ety an d ef f e ctiv en ess
§ s 1 2 .3 2(e ) an d 1 5 .2 0 o f th is ch ap te r.           ap p l ican t m u st su b m it p ro m o tio n al                      in tre atin g se rio u s o r lif e- th re aten in g
   (3) A n ap p l ican t w h o re q u e sts a                  m ate rials at le ast 3 0 d ay s p rio r to th e                      ill n e ss e s an d th at p ro v id e m ean in g f u l
hearing u n d e r th is s e ctio n m u st, w ith in            in te n d e d tim e o f in itial d is se m in atio n o f              th e rap e u tic b en ef it to p atie n ts o ,rer
30 days o f re ce ip t o f th e n o tice o f                   th e lab elin g o r in itial p u b licatio n o f th e                 e xistin g tre atm e n ts (e.g ., ab ility to treat
o pp ortunity f o r a h e arin g , su b m it th e              ad v e rtise m e n t.                                                 p atien ts u n re sp o n siv e to , o r in to le ran t
data and in f o rm atio n u p o n w h i ch th e
                                                               S 3 1 4 .5 5 0   T e r m in a tio n o f r e q u ir e m e n ts .
                                                                                                                                     o f , av ail ab le th e rap y , o r im p ro v ed
ap p licant in te n d s to re l y at th e h earin g .
                                                                                                                                     p atie n t re s p o n se o v e r av ail ab le th erap y ).
  (d) S e p a r a t io n o f fu n c t io n s .                    If FD A d e te rm in e s af ter ap p ro v al th at
S ep aration o f f u n ctio n s (as s p e cif ie d in          th e re q u ire m e n ts e s tab lis h e d in                         § 6 0 1 .4 1    A p p r o v a l b a s e d o n a s u r r o g a te
§ 10 .55 o f th is ch ap te r) w il l n o t ap p l y at        § 3 1 4 ,5 2 0 , § 3 1 4 .5 3 0 , o r § 3 1 4 .5 5 0 are n o          e n d p o in t o r o n a n e f f e c t o n a c lin ic a l
&ny p oin t in w ith d raw al p ro ce e d in g s               lo n g er n e ce s s ary f o r th e saf e an d                        e n d p o in t o th e r th a n a u r v iv a l o r ir r e v e r s ib le
under th is se ctio n .                                        e f f ectiv e u s e o f a d ru g p ro d u ct, it w ill                m o r b id ity .
  (e) P r o c e d u r e s f o r h e a r in g s . H earin g s   so n o tif y th e ap p lican t. O rd in arily , f or                      FD A m ay g ran t m ark etin g ap p ro v al
neld u n d er th is s e ctio n w il l b e                      d ru g p ro d u cts ap p ro v e d u n d e r                           f o r a b io l o g ical p ro d u ct o n th e b asis o f
co nd u cted in acco rd an ce w ith th e                       § 3 1 4 .5 1 0 , th e s e re q u ire m e n ts w il l n o              ad eq u ate an d w e l l - co n tro l l e d cl in ical
p rovisions o f p art 1 5 o f th is ch ap te r,                lo n g er ap p ly w h e n FD A d e te rm in e s th at                 trial s estab lis h in g th at th e b io lo g ical
with the f o llo w in g m o d if icatio n s :                  th e re q u ired p o stm ark etin g stu d y                           p ro d u ct h as an ef f ect o n a su rro g ate
   U ) A n ad v iso ry co m m itte e d u ly                    v e rif ie s an d d e scrib e s th e d ru g p ro d u ct’s             e n d p o in t th at is re aso n ab ly lik el y , b ased
con stitu ted u n d e r p art 1 4 o f th is ch ap te r         cl i n ical b en ef it an d th e d ru g p ro d u ct                   o n e p id e m io lo g ic, th e rap e u tic,




                                                                      Alliance.App. 339                                                                                   EX. 22 pg.18
                Case: 23-10362                    Document: 95-4 Page: 95 Date Filed: 04/11/2023
58960   CaseF e2:22-cv-00223-Z
               d e ra l R e g i s te r / V o l .Document
                                                 5 7 , N o . 2 3 91-23
                                                                    / F ri dFiled
                                                                            a y , D e11/18/22
                                                                                      ce m b e r 1 1 , 1Page
                                                                                                         9 9 2 / 20
                                                                                                                 R u lof
                                                                                                                      e s 20
                                                                                                                          a n d PageID           508
                                                                                                                                R e g u l a ti o n s


p ath o p h y s io lo g ic, o r o th e r e v id e n ce , to      B io lo g ies Ev al u atio n an d R e se arch w il l            p e ti tio n f o r a s tay o f actio n u nd er
p re d ict cl i n ical b en ef it o r o n th e b asis            g iv e th e ap p l ican t n o tice o f an                       § 1 0 .3 5 o f th is ch ap te r.
o f an ef f e ct o n a cl i n ical e n d p o in t o th e r       o p p o rtu n ity f o r a h e arin g o n th e
                                                                                                                                 $601.44        Po stm arketing safety reporting.
th an su rv iv al o r irre v e rsib le m o rb id ity .           C e n te r’s p ro p o sal to w ith d raw th e
A p p ro v al u n d e r th i s s e ctio n w il l b e             ap p ro v al o f an ap p l icatio n ap p ro v e d                  B io l o g ical p ro d u cts ap p ro v ed under
su b j ect to th e re q u ire m e n t th at th e                 u n d e r $ 6 0 1 . 4 0 o r $ 6 0 1 .4 1 . T h e n o tice ,     th is p ro g ram are su b j ect to the
ap p l ican t s tu d y fire b io l o g ical p ro d u ct          w h ich w il l o rd in arily b e a l e tte r, w il l            p o stm ark etin g reco rd k eep in g and safety
f u rth er, to v erif y an d d e s crib e its                    state g en erall y th e re as o n s f o r th e actio n          re p o rtin g ap p licab l e to all ap p roved
cl in ical b en ef it, w h e re th e re is                       an d th e p ro p o se d g ro u n d s f o r th e o rd er.        b io l o g ical p ro d u cts .
u n ce rtain ty as to th e re l atio n o f th e                     (c) S u b m is s io n o f d a t a a n d
                                                                                                                                 $ 8 0 1 .4 6   Prom otional m aterials.
su rro g ate e n d p o in t to cl i n ica l b en ef it, o r      in fo r m a t io n . ( 1) If th e ap p l ican t f ails to
o f th e o b s e rv e d cl i n ical b en ef it to                f ile a w ritte n re q u est f o r a h earin g                     Fo r b io l o g ical p ro d u cts b eing
u l tim ate o u tco m e . Po stm ark e tin g                     w ith in 1 5 d ay s o f re ce ip t o f th e n o tice ,          co n s id e re d f o r ap p ro v al u n d er this
stu d ie s w o u l d u s u al l y b e stu d ie s                 th e ap p l ican t w aiv e s th e o p p o rtu n ity f o r       su b p art, u n le s s o th e rw is e inf orm ed by
al re ad y u n d e rw ay . W h e n re q u ired to b e            a h earin g .                                                   th e ag e n cy , ap p l ican ts m u st sub m it to
co n d u cte d , su ch s tu d ie s m u st al so b e                 ( 2 ) If th e ap p l ican t f iles a tim e l y               th e ag e n cy f o r co n sid e ratio n during the
ad eq u ate an d w e l l - co n tro l l e d . T h e              re q u e st f o r a h eari n g , th e ag e n cy w il l          p re ap p ro v al re v ie w p e rio d co p ies o f all
ap p l ican t s h al l c a n y o u t an y su ch                  p u b lish a n o tice o f h e arin g in th e                    p ro m o tio n al m ate rials , inclu d in g
stu d ie s w ith d u e d il ig e n ce .                          Fe d e ra l R e g iste r in acco rd an ce w ith                 p ro m o tio n al lab elin g as w el l as
                                                                 § § 1 2 .3 2 (e ) an d 1 5 .2 0 o f th is ch ap te r.           ad v e rtis e m e n ts , in te n d e d for
$ 6 0 1 .4 2   A p p r o v a l w tth r e s t r ic t io n s t o
                                                                    (3 ) A n ap p l ican t w h o req u ests a                    d is se m in atio n o r p u b licatio n w ithin 120
a s s u rs   safs   use.
                                                                 h earin g u n d e r th is s e ctio n m u st, w ith in           d ay s f o ll o w in g m ark etin g ap p rov al.
   (a) If FD A co n cl u d e s th at a b io l o g ical
                                                                 3 0 d ay s o f re ce ip t o f th e n o tice o f                 A f te r 1 2 0 d ay s f o llo w in g m ark eting
p ro d u ct sh o w n to b e ef f e ctiv e can b e
                                                                 o p p o rtu n ity f o r a h earin g , su b m it th e            ap p ro v al , u n le s s o th e rw is e inf orm ed by
saf ely u se d o n l y i f d is trib u tio n o r u s e is
                                                                 d ata an d in f o rm atio n u p o n w h ich th e                th e ag e n cy , th e ap p l ican t m u st submit
re s tricte d , FD A w il l re q u ire s u ch
                                                                 ap p l ican t in te n d s to re l y at th e h earin g .         p ro m o tio n al m ate rials at least 3 0 days
p o stm ark etin g re s trictio n s as are n e e d e d
                                                                    (d) S e p a r a t io n o f fu n c t io n s .                 p rio r to th e in te n d e d tim e o f initial
to as s u re saf e u s e o f th e b io l o g ical
                                                                 S ep aratio n o f f u n ctio n s (as sp e cif ie d in           d is se m in atio n o f th e lab eling o r initial
p ro d u ct, s u ch as:
   ( 1 ) D istrib u tio n re s tricte d to ce rtain              § 1 0 .5 5 o f th is ch ap te r) w il l n o t ap p ly at        p u b licatio n o f th e ad v ertisem e n t.
f acil itie s o r p h y s ician s w ith s p e cial               an y p o in t in w ith d raw al p ro ce e d in g s
                                                                                                                                 $601.46        Terminatio n o f requirements.
train in g o r e xp e rie n ce ; o r                             u n d e r th is s e ctio n .
   (2) D istrib u tio n co n d itio n e d o n th e                  (e) P r o c e d u r e s f o r h e a r in g s . H earin g s       If FD A d e te rm in e s af ter ap p ro val that
p e rf o rm an ce o f s p e cif ie d m e d ical                  h e ld u n d e r th is s e ctio n w il l b e                    th e re q u ire m e n ts estab lis h e d in
p ro ce d u re s.                                                co n d u cte d in acco rd an ce w ith th e                      § 6 0 1 . 4 2 , $ 6 0 1 . 4 3 , o r § 6 0 1 .4 5 are no
   (b) T h e l im itatio n s im p o s e d w il l b e             p ro v isio n s o f p art 1 5 o f th is ch ap te r,             lo n g er n e ce s s ary f o r th e saf e and
co m m e n s u rate w ith th e s p e cif ic saf e ty             w ith th e f o llo w in g m o d if icatio n s:                  e f f ectiv e u se o f a b io l o g ical p ro d u ct, it
co n ce rn s p re se n te d b y th e b io l o g ical                ( 1 ) A n ad v iso ry co m m itte e d u ly                   w il l so n o tif y th e ap p lican t. O rdinarily,
p ro d u ct.                                         .           co n s titu te d u n d e r p art 1 4 o f th is ch ap te r       f o r b io l o g ical p ro d u cts ap p ro v ed under
                                                                 w ill b e p re se n t at th e h earin g . T h e                 § 6 0 1 .4 1 , th e s e req u irem en ts w ill no
$601.43        Withdraw al         p ro c e d u re s .
                                                                 co m m itte e w il l b e ask ed to re v ie w th e               l o n g er ap p ly w h e n FD A d eterm ines that
   (a) Fo r b io l o g ical p ro d u cts ap p ro v e d           iss u e s in v o lv ed an d to p ro v id e ad v ice             th e req u ired p o stm ark etin g stu d y
u n d e r § § 6 0 1 . 4 0 an d 6 0 1 . 4 2 , FD A m ay           an d re co m m e n d atio n s to th e                           v erif ie s an d d e scrib e s th e b iological
w ith d raw ap p ro v al , f o ll o w in g a h earin g           C o m m is sio n e r o f Fo o d an d D rugs.                    p ro d u ct’s cl i n ical b en ef it an d the
as p ro v id e d in p art 1 5 o f th is ch ap te r,                 ( 2 ) T h e p re sid in g o f f icer, th e ad v iso ry       b io l o g ical p ro d u ct w o u l d b e appropriate
as m o d if ied b y th is s e ctio n , if:                       co m m itte e m em b ers , u p to th re e                       f o r ap p ro v al u n d e r trad itio n al
   ( 1 ) A p o stm ark etin g cl in ical stu d y
                                                                 re p re s e n tativ e s o f th e ap p l ican t, an d u p        p ro ce d u re s. Fo r b io lo g ical p ro d u cts
f ails to v erif y cl in ical b en ef it;
                                                                 to th re e re p re s e n tativ e s o f th e C en te r           ap p ro v e d u n d e r § 6 0 1 . 4 2 , th e
   ( 2 ) T h e ap p l ican t f ails to p e rf o rm th e
                                                                 m ay q u es tio n an y p ers o n d u rin g o r at               re s trictio n s w o u l d n o lo n g er ap p ly
req u ired p o s tm ark etin g s tu d y w ith d u e
                                                                 th e co n cl u s io n o f th e p e rs o n ’s                    w h en FD A d e te rm in e s th at saf e use of
d il ig e n ce ;
                                                                 p re se n tatio n . N o o th e r p e rs o n atte n d in g       th e b io l o g ical p ro d u ct can b e assured
   (3) U se af te r m ark etin g d e m o n s trate s
                                                                 th e h earin g m ay q u estio n a p e rs o n                    th ro u g h ap p ro p riate lab elin g. FD A also
th at p o s tm ark e tin g re s trictio n s are
                                                                 m ak in g a p re se n tatio n . T h e p re sid in g             re tain s th e d is cre tio n to rem o v e specific
in ad eq u ate to e n su re saf e u se o f th e
                                                                 o f f icer m ay , as a m atte r o f d is cre tio n ,            p o s tap p ro v al re q u ire m e n ts u p on review
b io lo g ical p ro d u ct;
                                                                 p e rm it q u estio n s to b e su b m itted to th e             o f a p e titio n su b m itted b y th e sponsor
   ( 4 ) T h e ap p l ican t f ails to ad h e re to th e
p o stm ark etin g re s trictio n s ag reed u p o n ;            p re sid in g o f f icer f or re s p o n se b y a               in acco rd an ce w ith § 1 0 .3 0 .
   (5 ) T h e p ro m o tio n al m ate rials are                  p erso n m ak in g a p re se n tatio n .                            Dated: December 7,1992.
f alse o r m isl e ad in g ; o r                                    (f) Ju d ic ia l r e v ie w . T h e
                                                                                                                                 D avid A . K essler,
   (6 ) O th er e v id e n ce d e m o n s trate s th at          C o m m is sio n e r’s d e cisio n co n s titu te s
                                                                                                                                 C o m m is s io n e r o f F o o d an d   Drugs.
th e b io l o g ical p ro d u ct i s n o t sh o w n to           f inal ag e n cy actio n f ro m w h ich th e
                                                                                                                                 Louis W . S ullivan,
b e saf e o r ef f e ctiv e u n d e r its co n d itio n s        ap p l ican t m ay p e titio n f o r ju d icial
                                                                                                                                 S e c r e t ar y o f H e alt h a n d H u m an S erv ices.
o f u se.                                                        re v ie w . Bef o re req u estin g an o rd e r f ro m
    (b) N o t i c e o f o p p o r t u n it y f o r a             a co u rt f or a stay o f actio n p en d in g                   [FRD o c. 92-30129 Filed 12-9-92; 9:51 ami
h e a r in g . T h e D ire cto r o f th e C e n te r f or        re v ie w , an ap p l ican t m u st f irst su b m it a          BI U JM a COD E 41* 0-01- F




                                                                    Alliance.App. 340                                                                      EX. 22 pg.19
    Case: 23-10362   Document: 95-4 Page: 96 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-24 Filed 11/18/22 Page 1 of 8 PageID 509




                 Exhibit 23
 FDA Letter to Population Council re: NDA (Feb. 18,
                       2000)




                         Alliance.App. 341
    Case: 23-10362   Document: 95-4 Page: 97 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-24 Filed 11/18/22 Page 2 of 8 PageID 510




                         Alliance.App. 342                        EX. 23 pg. 01
    Case: 23-10362   Document: 95-4 Page: 98 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-24 Filed 11/18/22 Page 3 of 8 PageID 511




                         Alliance.App. 343                        EX. 23 pg. 02
    Case: 23-10362   Document: 95-4 Page: 99 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-24 Filed 11/18/22 Page 4 of 8 PageID 512




                         Alliance.App. 344                        EX. 23 pg. 03
   Case: 23-10362    Document: 95-4 Page: 100 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-24 Filed 11/18/22 Page 5 of 8 PageID 513




                         Alliance.App. 345                        EX. 23 pg. 04
   Case: 23-10362    Document: 95-4 Page: 101 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-24 Filed 11/18/22 Page 6 of 8 PageID 514




                         Alliance.App. 346                        EX. 23 pg. 05
   Case: 23-10362    Document: 95-4 Page: 102 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-24 Filed 11/18/22 Page 7 of 8 PageID 515




                         Alliance.App. 347                        EX. 23 pg. 06
   Case: 23-10362    Document: 95-4 Page: 103 Date Filed: 04/11/2023
Case 2:22-cv-00223-Z Document 1-24 Filed 11/18/22 Page 8 of 8 PageID 516




                         Alliance.App. 348                        EX. 23 pg. 07
